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THE UNIVERSITY OF TEXAS AT AUSTIN



                                        RECOMMENDATION                            FOR CHANGE IN ACADEMIC                                       RANKSTATUS



Name           Tiwari Mohit                 EID             mt28295          Present Rank              Assistant Professor



Years of Academic               Service     Include          Al 201819 in each count

At UT Austin since              912013                monthdayyear Total Years at UT Austin                                  6



In   Present     Rank since          912013            monthdayyear Total Years in Present Rank                                  6



Tenure track          only
Number of Years in Probationary                        Status     6



Additional       information          NA


Primary Department                Electrical          and   Computer Engineering


CollegeSchool             Engineering Cockrell                  School of



Joint   Department              NA

CollegeSchool             NA

Other     Departments             NA

        Recommendation                actions



             By Budget CouncilExecutive Committee                                     Promote



             Vote2       for promotion           32     Against    O Abstain               Absent 0       Ineligible to          vote 2



             By Department             Chair           Promote



             By CollegeSchool Advisory Committee                                   Promote



             Vote2       for promotion           7      Against    0     Abstain       0     Absent       0        Ineligible     to    vote 0



             By Dean            Promote




Administrative           Action                        Promote         to   Associate            Professor


Date Action Effective                 September        12019

To be submitted to the Board of Regents                            as part      of the annual        budget




By                                                                                                                    Date            February 15 2019
                                      FOr the        President




See Chatt        of   Reconunended       Actions        for eligible   recommended         actions                     to               conditions      and administrative    levels
                                                                                                      applicable            specific




                                                                                                                                                                                       P's 147
2Record    all   votes    for   and    against       promotion    abstentions    by   eligible   voting   members           and the    number of absent       eligible   voting   members   The number of

committee      members ineligible       to vote      should also be recorded          Enter zero     where    it   1 ould    °them     ise   be blank



EVPP415
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T   The   University of   Texas   at   Austin

VY Cockrell School of Engineering



                                                                 Deans Assessment
                                                                       Mohit Tiwari
                                         Department of Electrical and Computer Engineering
                                                           Cockrell     School of Engineering




    Dr Mohit Tiwari received                his   BTech     in computer          science and engineering in 2005 from the Indian

    Institute    of Technology           Guwahati and            his   MS and PhD in computer science from the University of
    California Santa        Barbara in 2010 and               2011       respectively      He was a postdoc            at the   University        of

    California Berkeley for two years                  before      joining      the Department of Electrical and Computer

    Engineering        ECE as an assistant professor                     in   September 2013         If   promoted to associate professor
    in   September 2019 he will have accumulated                          six years of probationary            service



    Dr Tiwaris research                focuses on developing secure computer systems                          The     proliferation of

    computer systems including                    social   and cloud computing             has exacerbated           security vulnerabilities

    Traditional        techniques       of patching        vulnerabilities       as   they are   identified    is   no longer a sustainable
    approach      to   building secure computer systems that are needed for the healthcare                                      election      and
    mobile computing systems of the future                         Dr Tiwari has made important advances toward
    developing the hardware and software systems necessary to protect data                                           Important developments
    include     architectural          mechanisms that enable information leak free hardware enclaves
    containerized data for web services and anomaly detection                                mechanisms              His work     is   directly

    related to one        of the Cockrell         Schools four priority research             areas        advancing      intelligent        systems
    and man machine             symbiosis


    Ten external letters were submitted                     as   part of the promotion           dossier with six letter writers

    selected    by the budget council                Nine letter writers are current or previous faculty members at peer

    universities       in the   US and one is a principal research                    scientist at Visa      Research



    Several connections            exist between           the letter writers and         Dr Tiwari but        I    consider    all    of them to be

    arms length         reviewers



               John Kubiatowicz             UC Berkeley           is   technically     not arms length as he is a coauthor on a

               2013 conference             paper     As explained in the dossier Dr Tiwari was a postdoc                               at   Berkeley
               when the research was conducted                         and Dr Kubiatowicz was the co advisor of one of the

               graduate students with whom                    Dr Tiwari collaborated directly However Dr Tiwari did not
               collaborate directly with              Dr Kubiatowicz
               In his letter      Onur Mutlu         ETH Zurich and Carnegie                Mellon        refers to a   2016      invited     paper
               that summarized             the topics      presented          during a conference         session    that   he coauthored           with

               Dr Tiwari          This paper was a compilation                   of information     presented        by others and

               represents an editorial rather than technical collaboration

               David Brooks Harvard Scott Mahlke Michigan Moinuddin Qureshi Georgia Tech and
               Dr Tiwari are associated with C FAR Center for Future Architectures Research at the
               University       of Michigan         The center engages faculty at many universities Michigan
               Columbia Duke Georgia Tech HarvardIllinois MIT Princeton Stanford UCBerkeley
               UCLA UCSan Diego UT Virginia and Washington and     does not appear that Dr Tiwari   it



               has collaborated directly with any of the letter writers
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Teaching
While    in    rank Dr Tiwari taught one required undergraduate course and one graduate                                             elective    He
also   organized a Freshman Research Initiative                             stream through the College of Natural Sciences                     and
served as a mentor The CIS data from the FRI courses                                  will   not be addressed because              Dr Tiwari
was not directly responsible for teaching the courses


Dr Tiwaris instructor                ratings       have oscillated between            35 and 46 in the undergraduate course                     In

his teaching       statement          Dr Tiwari addressed the challenges he has faced                             in   teaching   the embedded

systems course and the changes that he has made to improve the student satisfaction                                                 He solicits
feedback       from the students throughout                      the semester and appears           to    be receptive        to their

suggestions         His most challenging semester Spring                         2017 also corresponded to the largest number
of students       78 in the class He seems to have addressed the students primary concerns as his
average        instructor      rating       was much higher in Spring 2018


Dr Tiwaris teaching                at the    graduate level has been consistently strong


Research

Dr Tiwari has established a very strong externally                              funded       research    program at UT            Key metrics
include



              12 peer reviewed              proceedings         at highly selective      conferences         in   rank   22 total        He

           published 8 conference                   papers with        his studentspostdocs             at   UT
           2 archival journal publications                      in   rank   6 total    He published one journal paper with his

           studentspostdocs                   at   UT
           He has published papers in highly selective conferences related to computer architecture
           and computer security including International Conference on Architectural Support for

           Programming Languages and Operating Systems                                  ASPLOS ACM Conference                     on Computer
           and Communications Security CCS IEEE International Symposium on Hardware Oriented
           Security and Trust         HOST International Symposium on High Performance Computer
           Architecture            HPCA International Symposium on Computer Architecture ISCA
           International           Symposium on Microarchitecture                     MICRO and USENIX Security Symposium
           An h index of 19 Google Scholar                           and 1271 citations2


While    in    rank Dr Tiwari has secured 15 research grantsgifts totaling more than $5 million in
external funding his share      is $35 million from a wide variety of sources including three federal

agencies3 and industry                 He is the        PI on   14 of the grants Three of his current grants extend beyond
the end of the          201819 academic year including two from NSF and one from DARPA


The letters from the external reviewers were positive and addressed                                       the impact of Dr Tiwaris

work and        his reputation          as   an emerging leader One reviewer                   made comments that can be
considered to be critical               but he qualified his observation and recommended promotion




1
    Refereed    conference         papers    in   highly selective     conferences  are the primary mechanism for disseminating

research      results   in   the   fields   of computer     architecture      and cyber security
2
    Dr Tiwaris most highly cited paper has 165 citations and is based on work completed during his graduate
studies at UCSanta   Barbara His most highly cited paper published in rank at UT has 78 citations
3   Defense    Advanced       Research       Projects    Agency       DARPA      National Science       Foundation       NSF and National
Security Agency         NSA
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           John Kubiatowicz                 Electrical        Engineering and Computer Science                UC Berkeley   expressed
           some concerns about Dr Tiwaris                          publication     record his last 5 years have been fairly

           productive               Mohits paper count may be a bit lower than others in a similar position but
           Id say that         it   is    more than sufficient


Advising and Student                 Mentoring
Dr Tiwari graduated one PhD student and three MS students                                      He comentored        one postdoctoral
fellow        He is currently advising seven PhD students one co supervised and one MS student                                          He
has also integrated undergraduate students into his research                                  team with three to five students

participating         each year



University          Service

Dr Tiwaris service              to   the university           has primarily been related to faculty recruiting and graduate

student recruiting              He has also been              actively   engaged   in curriculum       reformdevelopment within
ECE


Professional Service

Dr Tiwari is a member of several                         professional societies      and    actively   serves on the program

committees for top conferences                       in computer         architecture   and cybersecurity         He also serves   as   an

associate         editor for the          ACM Transactions         of Code Optimization4



He contributes          to    the central Texas community by serving as a cybersecurity                           advisor for startups

and    Dell       Childrens    Hospital


Other Evidence of Merit or Recognition

Dr Tiwari received              a CAREER          award from NSF in 2015 and he has received                    faculty   research awards

from Google           2014 and Qualcomm 2017                             Several of his papers    have been recognized        with best

paper awards


Overall Assessment

Dr Tiwari has established an outstanding                           reputation      in computer    architecture and cyber security

He has been extremely                    successful      in   securing external funding to sustain his research             efforts   His

teaching          record is solid and he            is   mentoring a large research          group He has provided          excellent

service    to      UT and professional communities                       within his field



Overall       I   believe    that    Dr Tiwaris performance                 meets expectations      in   the area of teaching   and
exceeds expectations                 in   the areas of research and service             Accordingly       I   am pleased to provide my
strong recommendation                      that   Dr Tiwari be promoted to associate professor with tenure




Sharon     L Wood Dean
10 November 2018




4
    The editorial board for ACM TACO includes 22 associate                       editors    from around the world
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             ELECTRICAL AND COMPUTER ENGINEERING DEPARTMENT
             Cockrell   School of Engineering




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              httpuuweceutexasedu




September 25 2018




Chairs letter in support of the promotion of Prof Mohit Tiwari                                             to   the rank of associate

professor with               tenure



Prof Tiwari joined the Department of Electrical                             and Computer Engineering                 in August     2013         If


promoted to associate professor                     in   September of 2019 he will have served as an assistant
professor at the University of Texas                       at Austin for six        years

Mohit is a recognized innovative researcher                             in secure   and trustworthy         computer systems The
Budget Council               recognized his strong accomplishments                     and   potential      and determined        that he

meets   all    expectations for promotion                   at the     premier departments of Electrical               and Computer

Engineering          in the    nation by a vote           of 32    YES 0 NO and 3 ABSTAIN and 2 INELIGIBLE TO
VOTE The ineligible votes are Prof Mark Smiths and mine Our associate professors voted                                                            10

YES 0 NO and 0 ABSTAIN in support of promotion My colleagues expressed considerable
support for Mohit during the promotion                           discussion and in the anonymous comments submitted

with the vote           I   therefore assume that the abstentions are due to a lack of familiarity                              with his

case

Third Year Review

The committee               that conducted        the third year review         of Prof Tiwari concluded                that   he had       a
solid record in             research    teaching         and service there were no concerns                      regarding his

performance and productivity                       and    felt   that Prof Tiwari exceeds expectations                    I    concurred

with the committee The committee was particularly impressed by his teaching skills                                               and

especially      by his efforts          to create    a new Freshman Research                 Initiative     course on security         in

collaboration           with the Department of Computer Science                        in the   College of Natural            Sciences       The
committee was also very impressed by his publication                                 record and ability          to raise funding      for his

research


Teaching        Load         of Assistant Professors


The normal teaching load for a tenure track                             assistant   professor   is   two courses per academic                year

plus supervision             of a senior design team for two semesters One of the courses must be an

undergraduate course                  This requirement            is   waived only under exceptional circumstances                     if   the

department has unmet needs at the graduate                              level Faculty in the department are routinely given

modified instructional                duties     upon the birth of a child

Teaching

Mohit is a dedicated               instructor      He regularly teaches our freshman required introduction                           to

embedded         systems EE319K His instructor score in that course                              started        low at 38 and rose to 46
last semester           with a drop during           the spring 2017 semester to              35     I   attribute   the low score in

2017    to   several        factors including        the fact that Mohit missed the               first    few weeks of class        after


encountering            long delays in getting a US visa while visiting India over the winter break                                 and
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using online as opposed             to   paper course           surveys and not requesting students                    to    fill    the   form His
graduate     teaching instructor              scores are all above       40
Mohit does an excellent job of helping freshman students understand                                          that the field          of embedded

computing      is   rapidly changing             He regularly manages                 to   convince    students    that       they need to

master the fundamentals presented                    in the class      and apply them creatively                 to   remain relevant               In

his unrelenting      quest to form future innovators                    he encourages            students to get involved                   in

research opportunities         at   UT and helps them secure internships in marquee companies                                               In two of

the four years that he has taught the course a team from his section                                     won the best game
competition     across   all   EE319 K sections

As mentioned above Mohit also designed                             a freshman Research              Initiative    course            on security     in

collaboration       with the Department of Computer Science                                He took the initiative           to create        the

stream and was involved              in delivering         it   on an overload basis             He selected and made
assignments for the three semester courses                         in the stream           chose papers to be read and trained the

Research     Educator    who delivered the lectures Mohit attended                               the lectures occasionally

interjecting   in    discussions and providing                  guidance        to   the Research       Educator           The CIS scores by
the two or three ECE students                   who were allowed to take the stream do not reflect Mohits
teaching     abilityrather they reflect the confusion                           of the students        did not understand               why they
are were required to complete CIS forms about                           Mohit when            he was not the          in class        lecturer


     yet another example of Mohits teaching skills and the high esteem in which
In                                                                                                                            his colleagues

hold him one of our more senior professors who struggled in teaching went to Mohit seeking

help Mohit quickly        realized that the              problems that our colleague faced stemmed from the                                       way he
created questions on his assignments and                         exams     It   is    interesting to    note that the feedback

provided by Mohit was the only effective feedback                                that our     colleague received            from faculty

members within and outside the department who had observed                                       him in the classroom and looked

at his assignments       With Mohits advice                     our colleague was able to substantially                         increase his

instructor    scores in undergraduate courses


Mohit also took the       initiative           to create   a truly unique course              on security with our information

security office       A heavy reliance on manipulation                      and examination             of actual data              in realtime

collected by our information security office                        sets this        course apart from other security courses

taught across       the nation      It   provides students           a solid grounding           in theory       and practice

Mohit is also playing a leadership role in creating an interdisciplinary portfolio of security

courses taught by Electrical                  and Computer Engineering and Computer Science                                  faculty        members

The student comments clearly                    indicate that      Mohit cares about the students                     is   very passionate
about   what he teaches and              is   approachable          Some EE 319 K students complain                          about         inadequate

coverage     of material from the laboratories and the course being not well structured                                               EE 319 K is
team taught and these shortcomings                       reflect   the choices         made by the team This of course                           does

not absolve the individual instructors of using the student                                 feedback    to    improve       the course

delivery Mohits peers            commend him for his engaging                           lecturing     style   and like the students
have encouraged        him to improve              his   handwriting


Mohit graduated        one PhD student              in rank        The student joined a mobilephone and                              home
automation startup        Essential            His Masters advisees               joined Apple Nvidia             and       ARM
Research

Recurring high visibility           data breaches underscore the importance of Mohits area of research                                                  in

secure and trustworthy         computer systems Many of these breaches caught experts by surprise as
no one foresaw the vulnerability of several techniques                                that researchers        had developed and
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designers deployed           to   improve the performance of computer architectures                                    For example Intel

and processor manufacturers found                    that features      built into their chips             over the last two decades

have introduced subtle vulnerabilities                  that subvert      all   software security mechanisms                      Mohits

work    is   undoubtedly     one of the most successful                and highly visible efforts                 to   address the

vulnerability in        modern computer architectures                   He was one of the pioneers of a data centric
                                               on securing            aspects of memory and computational
approach       to security   that relies                        all                                                               units


design access and control

In   the data centric paradigm promoted by Mohit users                               own their data and applications                 run inside

a usercontrolled                       A secure enclave
                          secure enclave                   a section of a computational system that
                                                                                is


is   segregated from the rest of the system  A secure enclave  may use a separate processor boot
separately from the rest of the system and run a microkernel                                 that   is   not directly accessible          by the
general operating system or any programs running on the system It can run programs without

generating clues that an attacker                can observe      to   guess what programs were running and
reconstruct the data that was processed The paradigm proposed by Mohit exploits                                                 several

hardware software primitives that he proposed in rank i containers that can enclose untrusted

applications      inside    and run on untrusted cloud providers on the outside ii                                  a programming          model
that enables      developers       to   write feature rich applications                that   can be data containerized               and       iii   a

machine learning system that identifies new attacks                         as computational               anomalies on each device

and tracks these anomalies as they propagate                      across a network


Mohits work on secure enclaves                     has garnered extensive visibility                 and     is   mentioned      in all   his

reference      letters    Previous research          has shown that information about data or programs can be

inferred     by monitoring power consumption and electromagnetic admissions and most
importantly       the sidechannels               that are   embedded        within the operating
                                                                                                 system or
                                                                                                           hardware

architecture     and are conventionally              used to enhance         performance by monitoring the execution of

a program        In a series of ground breaking and award winning papers Mohit showed                                             how one
can use properly          designed      static   control and data flow to eliminate any information leakage His

work    establishes       a formal design process with performance guarantees                                to   construct information

leak free enclaves          This   is   to   be contrasted     with the     band aid response                     to specific   attacks    and

other ad hoc security methods that prevail today Each                                iteration   of the systems proposed by

Mohit is moving us closer to practical implementation                                of the concept Mohits work                  in this   area

is   comprehensivecovering                   instruction    sets compilers and programming                         annotations       Four of
his
      papers    in this   area from 2014 to this year won distinguished                          recognitions           including   a top 10

applied security paper a top pick architecture paper                            a best paper and a best paper nomination

Prof Kubiatowicz           UC Berkeley describes the work as fascinating Prof Devadas MIT
characterizes         some of the papers         that Mohit      wrote in this area as groundbreaking                           and notes        that

the work motivated his             own research Prof Mahlke Michigan                             states that       he is impressed by
this work      because of both the difficulty              of the problem sold as well as the rigor and completeness

of the solution


His more recent work on programming                         largescale      web services on data container                      systems has
also achieved         widespread recognition             As several high profile data breaches Target Equifax

etc     have recently shown              data can be exposed           by breaching largescale                    web services
infrastructures         Mohits brilliant         insight   was   to    design access control rules that break any
database into smaller sections               and    restrict
                                                               any instance          of a given application             to   a single data

section      at any   given time This          strategy effectively        eliminates the ability of any malicious

application      to   leak an entire database to an attacker                 The approach                has been dubbed        DATS       by
Mohit Prof Kruegel            UCSB describes the work as an interesting mix of hardware capability
enhanced       containers and two            new primitives and notes                 that   Mohits evaluation                 where he

applies the     new techniques           to real world      programs such as get Gitlab convincingly                            addresses
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these concerns             and shows          that the      approach        has cleared    world potential             Prof Kubiatowicz

states that     it   seems like a very interesting                        future direction      to   help prevent data breaches                an

notes    that   this work            is   already being adopted               in industry        a   clear   sign    that   it   addresses and

industry visible           need           Indeed several cloud providers such as CenturyLink and Rackspace                                             are

piloting the approach                to    prevent by Equifax like breaches                     Mohit       is   also collaborating         with Visa

Research        to transition         this    work     into financial         services


To complement his work on secure                             enclaves        and web services            based on data container systems

Mohit introduced anomaly detectors                                that   can preemptively detect             a wide class of attacks            This

work     is   based on another clever observation                            Hypervisors       and operating systems are not designed

to   monitor microarchitecture                      usage Hence             malware and other attacks               can hide hardware level

computations from operating systems                                 To defeat malware and attacks Mohit proceeded                             to


expose and analyze the                    instruction       set of running applications and microarchitecture                              behavior

By modeling hardware structures as communication                                       channels          he converts    the detection of

malicious       behavior to the well understood                            problem of detecting interference                  in communication

channels Prof Mutlu                   ETH           notes that first         such treatment that I           know of This work               has been

showcased         at   several       meetings sponsored                   or organized by      NSF NIST NSA and several
universities         and companies              The work was also transitioned                      to   Qualcomm I attribute the two
Qualcomm             faculty    awards that Mohit received                     last
                                                                                      year and      this  month to this work I note that

the   Qualcomm             Faculty        Award      is   based on internal           Qualcomm           assessment     of academic         research

with no external input application                          or nomination


Prof Tiwari is very well funded by highly competitive                                     peer reviewed grants and industry                        I


expect    his funding           to   increase        even    further because          of his   new discoveries and increased
awareness        of his inventions

Our department has adopted                      the practice of comparing                 each colleague with his or her most

prominent        peers at the         first   tier departments in Electrical                   and Computer Engineering such as

MIT Stanford               the University of California Berkeley the University of Illinois                                       Urbana

Champaign            UIUC Georgia Tech                        Caltech and Princeton             I    selected      Associate Profs Edward

Suh Cornell Daniel Sanchez         MIT and Simha Sethumadhavan                                              Columbia             to   be the peer

comparison group for Mohit Suh and Sethumadhavan                                          were promoted to the rank of associate

professor with tenure in                   2013 while Sanchez was promoted to associate                               professor in 2017
Mohit compares              very favorably             to   all   three associate       professors         While Suh has a current citation

count and h index that are higher than                             all   three other professors            including    Mohit Mohit has
more papers           in   the top ranked conferences                      than any of the other three professors except                     for

Sanchez and has the                  largest    number of award winning papers Industry and the research

community            have recognized the potential impact of his work All reviewers recognized                                               his


accomplishments                the impact of his work and promise relative to his peers Their

recommendations are best summarized by the following statements                                                  by Prof Devadas           In the
field   of secure architecture                 in    my opinion Mohit has done the best work of anyone in his age
group or pre tenure over the past several years Mohits work stands out because he builds
the   right kind           of systems where at least the specification                           of the system can be proven to have

strong security guarantees                    that   are convincing           to   system security and cryptography                     researchers

alike and Myers Cornell His work                                   is    consistently creative           and he is connecting            the security

and hardware communities                       in             that are                    for the    intellectual      health of these

                                                                                                I
                                                     ways                   important

communities and                that show       he is a master of both domains                            would say that Dr Tiwari is

probably the top faculty                   member of his approximate academic                            age at the increasingly           important

hardwaresecurity               boundary
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                                                                 blications

                                                                 top

                                                              nferences
                                                                                      H Index         Citations



                                                                 promotion




 Edward Suh
                            2005          2013                                        27              6650
 Cornell



 Simha
 Sethumadhavan              2007          2013                                        11              2221

 Columbia


 Daniel Sanchez
                            2012          2017              15                        16               1532
 MIT


 Mohit Tiwari
                            2011                            12                        17               1037
 UT Austin



Service


Mohit has provided excellent service to the department                         I   will   note   in particular   that Mohit


played a key role several times on our faculty                recruiting       committees          These committees are labor
intensive as they require proactive              outreach   and    recruiting       efforts   across the multiple areas

spanned by the department               He has played key leadership roles in promoting                       several   large

partnerships with companies              Despite being the most junior faculty                   member in cybersecurity            at

UT   he has and continues          to   play a leadership role in the joint computer                  science and electrical

and computer engineering cybersecurity                 initiative      that   aims at attracting additional         star

researchers   to   our faculty     and    establish   a comprehensive              curriculum in cybersecurity


Summary

Mohit is a dedicated        teacher     and a highly creative researcher                  credited with inventing       several     new
breakthroughs      in cybersecurity        despite his young age              One of my colleagues           summarizes the case

by stating that This        is   a very strong case      We are fortunate to have Mohit as a colleague                          I


strongly endorse      his   promotion      to   associate   professor with tenure



Sincerely




Prof Ahmed     H Tewfik
Cockrell Family Regents Chair in Engineering

Chairman Department of Electrical and Computer Engineering
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                                                                       Third Year Review 2015

                                                                                Mohit Tiwari



Prof Tiwari            graduated       with a Bachelor                 of Technology               in    2005 from the Indian                      Institute       of Technology            in


Guwahati           He received         his   MS and PhD                   in    Computer Science                      from the University                  of California at

Santa      Barbara in         2010 and 2011 respectively                          From 2011               to   2013        he was a post doe                  at   the University           of

California at          Berkeley        He joined our faculty                   as an Assistant Professor in 2013



Teaching


Over the          last   25 years           Prof Tiwari has                   taught    two graduate                  and        two undergraduate                       courses      At the

graduate         level       he    twice     taught         the   new     course        he         introduced          on       Security           at   the    Hardware Software

Interface         His    instructor        ratings     over the two offerings                        have been very high                      4045 which                       is    near the

             for the graduate              courses       in Electrical          and Computer Engineering                                 The student           comments             for these
average
classes are very positive                  At the undergraduate                  level        he taught the Introduction                           to   Embedded             Systems and
his instructor           rating was        38 slightly            below the average                  for   this   course           40         The students                 comments are

positive         praising      Prof Tiwaris            enthusiasm              and interest              Considering              that    this     was    his      first    time teaching

the    course      the rating        does not cause a concern                     We expect                Prof Tiwari to continue improving                                  his    lecture

hall skills       and become           an outstanding lecturer over a short period of time


Prof       Tiwaris          interest    in   undergraduate                teaching           is    further       evidenced               by   his       efforts      to     create    a new

Freshman Research                   Initiative     course         on security          in    collaboration             with       the    Computer Science                     Department
of the College               of Natural           Sciences             Through        this        activity       Mohit            has     contributed              to      making      UTs
Freshman           Research Program the Nations largest such program



Research



Prof Tiwaris             research      focuses         on computer architecture and the design of secure systems His                                                           interests in

this   area are        unusually       wide        ranging from tracking                      the flow         of information                 in   the    computing            systems to
determine potential                 vulnerabilities          to   side channel          attack           analysis      to       privacy preserving                   algorithms Prof
Tiwari      is    technically         outstanding            and       brings    to    his        research        a    combination                 of theoretical             rigor    and a

passion      for solving            practically critical               problems         In    the        short period            of time he has already established
himself as         one of the leaders              of the systems security area There                                      is   plentiful      evidence             in     support    of that

assessment             He    has     received       multiple            awards     including               the    NSF CAREER                        Award           in     2015      Google
faculty     award NYUPoly                    Top       10    applied security paper                       of the year two Best Paper                               Awards       at   leading

conferences            ASPLOS PACT and the IEEE Micro Top Picks mention He has also been invited to join
a multi university                computer architecture research center


Since joining            UT       Austin     Prof Tiwari                has    been very productive                         lie    has    produced             8 journal or highly

selective         conference           publications               In    the     area        of     computer            architecture                and     security           conference

publications           are     considered         to   be     the       primary publication                    vehicles            Prof       Tiwaris              papers      have        been

published         in   the leading         conferences He has secured over                                 $177M in research                       grants      in   the     last    25 years
his share           from       diverse sources              including          the National              Science       Foundation                  Department of Defense                      a

DARPA funded                 multi university            research        center and various companies                               Google Samsung Huwaei                                   He
has several        proposals that           have been submitted                   mostly           to    NSF and are in the process of being evaluated

Advising         and Student          Mcntoring


In   the   20132014               academic        year      Prof Tiwari           started          supervising             two PhD            students             During     his    second
academic         year
                         his
                                  group    rose   to   six    PhD students He anticipates                             in   the    20142015 academic                         year    that   five

of these students            will    be supported by grants and one                               will   be supported              by a TA or fellowship He has not
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graduated     any    PhD       students      yet    The       committee         feels     since     he    is   currently        supervising           six   PhD
students    he is well positioned to have a strong tenure promotion case


Professor Tiwari        supervised       a   senior     lab    group    in    security      on     smart       automobiles           He       has   recruited    8

undergraduate       students      outside of the FRI            class     and       the senior      design       project        to   conduct        research    in

mobile malware analysis and cloud security projects



University    Service



Prof Tiwari       was an active         leader     in   the   Freshman Research                  Initiative      FRI This            is   a   three   semester

sequence for a cohort of 17 students               participating        in   openended research


During the 20142015            year Professor Tiwari             was on the          ECE Faculty recruitment committee                              focusing    on

security    and     computer      architecturesystems             He         was     on    the    Computer           Architecture             and   Embedded
Processor    graduate     admissions         committee        He helped       host the graduate            student      visit    day


Professional Service



Prof   Tiwari     served    on    the   Program committees                for       top   architecture         and    security       conferences            ISCA
2014 2015 HPCA 2015 Oakland Security and Privacy 2015 He was on the external review
committee for ASPLOS 2015 He was also on the PC for CGO 2014 2015 ISPASS 2014 and

HASP 2014 He served on an NSF Panel for Secure and Trustworthy Cyberspace


Overall    Assessment


Prof   Tiwari     has   a solid    record     in   research     teaching           and service           There    arc   no concerns             regarding      his


performance and productivity The Committee                        feels      that    Prof Tiwari         exceeds      expectations
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                                                  THE UNIVERSITY OF TEXAS               AT AUSTIN
                                                     Cockrell   School     of Engineering

                                                              Standard Resume


FULL    NAME                                   Mohit Tiwari                      TITLE                                   Assistant      Professor



DEPARTMENT               Electrical    and Computer      Engineering


EDUCATION


  University       of California                         Computer Science                           PhD             July 2011

  Santa      Barbara


  University       of California                         Computer Science                           MS              July 2010

  Santa      Barbara

  Indian     Institute    of Technology                  Computer Science              and          B Tech          June 2005

  Guwahati                                               Engineering



PROFESSIONAL             REGISTRATION

CURRENT AND PREVIOUS ACADEMIC POSITIONS


  University       of Texas    at   Austin               Assistant      Professor                         Aug 2013

  University       of California Berkeley                NSF    Computing         Innovation              Aug 2011 July 2013
                                                         Post doctoral       Fellowship



OTHER PROFESSIONAL EXPERIENCE

  University       of California Santa        Barbara    Graduate Research Assistant                      June 2006 July 2011




  Naval      Postgraduate School             Monterey    Research       Visitor                           Aug 2008        Sept   2008




  NEC     Laboratories        Princeton      NJ          Research       Intern                            June 2007 Aug          2007


  University       of California Santa        Barbara    Teaching       Assistant                         Sept    2005 May 2006




CONSULTING

  Intel    Hillsboro      OR                                                                              April   2018

  Privasera       Inc   Austin TX                                                                         June 2015




HONORS AND AWARDS

2018       Best   Paper Award Runnerup               International     Symposium on Hardware Oriented                  Security

           and Trust      HOST
2018 Plenary Speaker                  National Science   Foundation workshop                 on Side and Covert Channels

             Security     Washington         DC
2017 Qualcomm               Faculty Award for technology              transfer    of   MICRO16 paper on hardware based
           malware detection

2017       AMD Chair UT ECE Department




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2017 Invited to teach              at   the International          Summer School on Advanced               Computer        Architecture

         and Compilation            for High Performance              and Embedded Systems               ACACES Fiuggi Italy
2016 Keynote speaker Workshop                         on Computer Aided               Design      and Implementation         for

             Cryptography          and Security       CADICS at the International                  Conference on Computer Aided

             Design      ICCAD
2015 Best Paper Award International                         Conference on Architectural              Support for Programming

             Languages        and Operating          Systems ASPLOS

2015     National        Science    Foundation            CAREER award
2015     IEEE    Micro Top        Picks of the Year in            Computer Architecture             Honorable     Mention

2014 Google Faculty Research Award
2013 NYUCSAW Best Applied Security Paper of the Year top 10

2011    2013      National        Science    Foundation Computing                Innovation        Postdoctoral    Fellowship

2011     Outstanding          Dissertation        Award      Department         of   Computer Science        UC    Santa     Barbara

2010     IEEE    Micro      Top   Picks    of the    Year    in   Computer      Architecture

2009     Best    Paper Award            International       Conference on        Parallel    Architectures      and Compilation

             Techniques        PACT
2006     Outstanding          Teaching      Assistant        Dept of Computer           Science        Engineering     UC Santa
             Barbara




MEMBERSHIPS            IN   PROFESSIONAL AND HONORARY                          SOCIETIES



             Institute   of   Electrical    and   Electronics       Engineers        IEEE
             Association of       Computing          Machinery       ACM


UNIVERSITY COMMITTEE                    ASSIGNMENTS




                                  2013ECE
  Departmental                    ECE Junior Faculty          Search   Committee                                  201415 201718
                                  ECE Senior Faculty          Search     Committee                                201516 201617
                                  ECE Graduate Admissions for ACSESSES

                                        Curriculum         Reforms Committee                                      2016



PROFESSIONAL SOCIETY AND MAJOR GOVERNMENTAL                                           COMMITTEES


       Program committee            member          for   architecture   systems conferences

         o     International       Conference on Architectural                 Support      for   Programming      Languages       and   Operating

               Systems ASPLOS               2015          2018 2019
         o     International       Symposium on Computer Architecture                          ISCA     2014 2015
         o     International       Symposium on             Microarchitecture         MICRO 2015            2018

         o     International       Symposium on             High    Performance Computer                        HPCA 2015
                                                                                                      Architecture                         2017

         o     International       Conference on Code Generation and Optimization                           CGO 2015
         o     International       Conference on            Performance Analysis of Systems and Software ISPASS                            2015


       Program committee            member          for   computer     security conferences

         o     International       Conference on Computer                    and Communication          Security   CCS 2015            2016 2017
               2018

         o     International       Symposium on Security and Privacy                     SP Oakland 2015 2016


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           o    International         Symposium on           Hardware Oriented               Security and     HOST 2016 2017 2018
                                                                                                                   Trust

    Associate         Editor    for   ACM        Transactions      on Architecture           and Code Optimization TACO 2017

     present

     NSF proposal            panel       reviewer for the       Secure    and Trustworthy              Computing           SaTC      program           2014 2015
     2016 2017 2018
     Guest Editor        IEEE       Micro    Magazine Special            Issue      on Security            Sept Oct        2016

     Paper Reviewer            for IEEEACM            Conferences        and Journals           ISCA       MICRO ASPLOS HPCA CGO ISPASS
     SP CCS PLDI CAL TACO TOCS

COMMUNITY ACTIVITIES

     Setting      up a cybersecurity operations                    laboratory       with the    CISO of UT Austin             Cam Beasley to enable
     research        using    UTs network           as    an experimental           testbed         Spring        2018



     Contributing        to starting         a   cybersecurity      curriculum        for   ECE students            with    undergraduate             and

     graduate        systems security courses                as well as    a    course      on cybersecurity operations that uses live data

     from UTs         network



    Taught       a   Freshman Research                Initiative   FRI    stream      on cybersecurity              in   collaboration         with   Dr Calvin

     Lin   CS department 2015 2016


PUBLICATIONS            in rank publications                shown in bold

Google Scholar          link    httpsscholargooglecomcitationsuser=FukOricAAAAJh1=en



Mohit Tiwaris studentsadvisees                      are    italicized    The students          in   this   list   include

                  Graduate student PhD advisees                        funded as       GRAs         Mikhail       Kazdagli    Casen Hunger              Austin

                      Harris     Ashay      Rane

                  Undergraduate             advisees       funded as undergraduate                   RAs Manuel             Philipose         Youssef Tobah

                  Visiting     graduate student              researchers       in   my lab     Lluis   Vilanova          funded      by   a   fellowship         to

                      work     in   my lab
                  Post doctoral            scholars       who worked with me and funded                           by grants   I    am the      PI   on Aydin
                      Aysu
                  Graduate students unfunded                       who worked on             project    in    my graduate class Matthew                      Halpern

                      advisor Vijay Janapa                 Reddi    Hardik Jain        advisor        Sriram       Vishwanath



A    Refereed        Archival Journal            Publications




1    Mohit Tiwari        Xun        Li   Hassan Wassel          Bita    Mazloom Shashidhar Mysore                         Frederic       Chong      and Timothy

     Sherwood          Gate Level           Information      Flow Tracking            for   Secure Architectures                  IEEE   Micro      Top Picks from

     Computer         Architecture          Conferences January February 2010                          httpsdoLorg101109MM201017


2   Wei        Hu Jason Oberg Ali                Irturk   Mohit Tiwari         Timothy Sherwood               and     Ryan    Kastner Theoretical

     Fundamentals of Gate Level                     Information        Flow Tracking          IEEE     Transactions          on Computer Aided                   Design
     of Integrated           Circuits     and Systems TCAD August 2011 httpsdoiorg101109TCAD20112120970



3    Hassan Wassel             Daoxin       Dai Luke Theogarajan                Jennifer     Dionne        Mohit Tiwari Jonathan Valamehr

     Frederic        Chong      and Timothy Sherwood                   Opportunities          and Challenges of Using                    Plasmonic

     Components          in    Nanophotonic              Architectures         IEEE Journal         on Emerging and Selected                    Topics      in


     Circuits     and Systems June 2012 httpsdoiorg101109BETCAS20122193934




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     Wei     Hu Jason Oberg Ali Irturk Mohit Tiwari                 Timothy Sherwood            Dejun    Mu and    Ryan Kastner          On the
     Complexity      of Generating         Gate Level Information          Flow Tracking     Logic IEEE      Transactions      on
     Information     Forensics and Security TIFS                June 2012      htt   psi eeex ploreieeeorgdo cum ent6159079


     Bita    Mazloom Shashidhar Mysore                   Mohit Tiwari     and Timothy Sherwood            Dataflow Tomography

     Information     Flow Tracking          for Understanding        and Visualizing     Full   Systems     ACM Transactions             on
     Architecture        and Code Optimization TACO September 2012

     httpsdoiorgil           0114521333822133385


     Wei     Hu Dejun Mu Jason Oberg Baolei Mao Mohit Tiwari                           Timothy Sherwood            Ryan Kastner Gate

     Level Information           Flow Tracking       for Security   Lattices   ACM Transactions          on Design Automation of
     Electronic    Systems TODAES Volume 20 November 2014 httpsdolorg1011452676548



     Pavel    Lifshits    Roni Forte Yedid Hoshen Matthew                  Halpem Manuel           Philipose   Mohit Tiwari and Mark

     Silberstein Power to              peep all    Inference   Attacks    by Malicious Batteries on Mobile           Devices        in


     Proceedings on Privacy Enhancing          Technologies PoPETs July 2018

    httpswwwpetsym                posi umorg2018fl lespa persissue4po pets 20180036                         pd f



     Refereed     Conference Proceedings in rank publications                    shown in bold


     Mohit Tiwari        Banit    Agrawal       Shashidhar Mysore         Jonathan K Valamehr           and Timothy Sherwood             A
     Small Cache         of Large      Ranges    Hardware Methods          for Efficiently   Searching     Storing    and Updating Big

     Data flow    Tags      Proceedings of the International              Symposium on Mkroarchitecture               MICRO
     November 2008             Lake     Como Italy httpsdoiorg101109M                    ICR020084771782


     Mohit Tiwari        Hassan Wassel           Bita   Mazloom Shashidhar Mysore               Frederic Chong      and Timothy

     Sherwood       Complete            Information      Flow Tracking    from the Gates        Up Proceedings of the 14th
     International       Conference on Architectural            Support for Programming            Languages and Operating

     Systems ASPLOS               March    2009 Washington          DC     httpsdolorg10114515082441508258


     Mohit Tiwari        Shashidhar Mysore              Timothy Sherwood       Quantifying the Potential for Program Analysis

     Peripherals Proceedings of the International                    Conference on Parallel Architecture             and Compilation

     Techniques      PACT September 2009                   Raleigh NC Best Paper Award

     httpsdoiorg101109PACT200938


     Mohit Tiwari        Xun     Li   Hassan    M G Wassel Frederic T Chong Timothy Sherwood                       Execution    Leases        A
     Hardware Supported Mechanism for Enforcing Strong Non Interference                                    Proceedings of the

     International       Symposium on Microarchitecture                  MICRO December 2009 New York NY
     httpsdoiorajl           0114516691121669174


     Jason Oberg Wei             Hu Ali Irturk Mohit Tiwari         Timothy Sherwood and Ryan Kastner Theoretical

     Analysis of    Gate Level Information              Flow Tracking      Proceedings of the 47th Design Automation

     Conference DAC June 2010 Anaheim                          CA httpsdoiorgil 0114518372741837337


     Jonathan Valamehr                Mohit Tiwari      Timothy Sherwood       Ryan Kastner Ted Huffmire Cynthia Irvine

     Timothy     Levin     Hardware Assistance for Trustworthy Systems through                          3D Integration      Proceedings
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Electrical    and Computer           Engineering                                                                Revised   September 17 2018




     of the Annual Computer Security Applications                         Conference      ACSAC December 2010 Orlando FL
     httpsdoiomil 0114519202611920292


     Xun     Li   Mohit Tiwari        Jason Oberg Vineeth Kashyap Frederic T Chong                       Timothy Sherwood            and Ben

     Hardekopf           Caisson      A Hardware Description            Language        for Secure    Information    Flow Proceedings of
     the     ACM Conference on Programming                       Language Design and Implementation                 PLDI June 2011           San

     Jose CA httpsdoiorq10114519933161993512



     Jason Oberg Wei              Hu Ali lrturk        Mohit Tiwari     Timothy Sherwood            Ryan Kastner Information             Flow

     Isolation      in   I2C   and   USB Proceedings of the 47th Design Automation Conference DAC June 2011
     San Diego           CA httpsdolorg10114520247242024782


     Susmit Biswas Mohit Tiwari                   Luke Theogarajan         Timothy Sherwood           and Frederic T Chong Fighting

     Fire    with   Fire   Modeling        the   Data Center Scale        Effects    of Targeted Superlattice       Thermal     Management
     Proceedings of the International                   Symposium of Computer Architecture                ISCA June 2011         San Jose

     CA httpsdoiora10114520247232000104


10    Mohit Tiwari          Jason Oberg Xun             Li   Jonathan K Valamehr Timothy Levin Ben Hardekopf                     Ryan Kastner
     Frederic T      Chong Timothy Sherwood                     Crafting    a Usable     Microkernel     Processor and      IO System with
     Strict   and Provable           Information       Flow Security       Proceedings of the International           Symposium of
     Computer Architecture                 ISCA June 2011            San Jose   CA httpdoiorg10114520000642000087


11   Martin       Maas     Eric   Love Emil Stefanov            Mohit Tiwari    Elaine    Shi Krste Asanovie John Kubiatowicz

     Dawn Song PHANTOM Practical Oblivious Computation in a Secure Processor Proceedings of the
     ACM Conference on Computer and Communications Security C CS November 2013 Berlin Germany
     NYUCSAW               Best   Applied Security Paper of the Year top                10
     hittpscioiora10114525038502516092



12   Xun Li Vineeth            Kashyap Jason Oberg Mohit Tiwari                     Vasanth Rajarathinam         Ryan Kastner Timothy

     Sherwood            Ben Hardekopf           and Frederic Chong Sapper               A Language     for Hardware Level       Security

     Policy Enforcement               Proceedings of the 14th International                Conference on Architectural          Support      for

     Programming Languages and Operating                           Systems ASPLOS March               2014     Salt Lake City   UT    IEEE

     Micro Top       Picks of the Year           in   Architecture    Honorable        Mention
     11
          tipsLido orq 10 11452641565                    2541947



13   Casen Hunger              Mikhail Kazdagli         Ankit   Rawat Alex Dim akis         Sriram   Vishwanath      Mohit Tiwari

     Understanding             Contention driven Covert Channels and Using                     Them     for Defense       Proceedings of the
     International         Symposium on High Performance Computer Architecture                            HPCA February 2015 San
     Francisco       CA httpsdo             01g101109HP CA20157056069


14   Chang        Liu Austin Harris         Martin      Maas    Michael    Hicks Mohit Tiwari         Elaine   Shi GhostRider        A
     Hardware Software System for Memory Trace Oblivious Computation                                      Proceedings of the 15th

     International         Conference on Architectural               Support for Programming Languages and Operating

     Systems ASPLOS March                    2015      Istanbul    Turkey    Best Paper      Award
     harscrgp 0114526943442594385

15   All   Shafiee Akhila Gundu              Manjunath          Shevgoor    Rajeev     Balasubramonian          Mohit Tiwari    Avoiding
     Information          Leakage     in   the   Memory       Controller with       Fixed Service    Policies    Proceedings of the 48th
             Case 1:19-cv-00877-RP Document 69-7 Filed 02/23/22 Page 17 of 134



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     International       Symposium on Microarchitecture               MICRO December 2015 Waikiki                          HI

     httpsdoiorg10114528307722830795


16 Ashay Rane            Calvin   Lin   Mohit Tiwari     Raccoon       Closing       Digital   Side Channels       through      Obfuscated

     Execution        Proceedings of the 24th USENIX Security Symposium August 2015 Washington                                             DC
     httpswwwusenixorgnode190909


17 Ashay Rane            Calvin   Lin   Mohit Tiwari     Secure     Precise     and Fast Floating Point Operations on x86

     Processors Proceedings of the 25th Usenix Security Symposium August 2016 Austin                                             TX
     httpswwwusenixorgconferenceusenixsecurity16technicalsessionspresentationrane



18 Mikhail Kazdagli           Vijay Janapa      Reddi Mohit Tiwari          Quantifying          and Improving       the    Efficiency      of

     Hardware based Mobile               Malware Detectors          Proceedings of the 49th International                   Symposium on
     Microarchitecture            MICRO       October 2016 Taipei Taiwan Transitioned                      to   Qualcomm Malware
     Research team led to Qualcomm                  Faculty Award       2017 httpsdoiorg101109MICR020167783740


19   All   Shafiee Rajeev         Balasubramonian        Mohit Tiwari       Feifei    Li   Secure    DIMM        Moving     ORAM         Primitives

     Closer to      Memory         Proceedings of International         Symposium on High Performance Computer
     Architecture        HPCA February 2018 Vienna Austria httpsdoiorsill 01109H PCA201800044

20 Aydin Aysu          Michael      Orshansky     Mohit Tiwari       Binary RingLWE              Hardware with Power Side Channel

     Countermeasures Proceedings of Design Automation and Test in Europe DATE                                              March        2018
     Dresden Germany              httpsdoiorg1023919DATE20                       88 42207

21    Casen Hunger          Lluis   Vllanove Charalampos Papamanthou                        Yoav Etsion Mohit Tiwari             DAIS       Data

     Containers for        Web Applications         Proceedings of Architectural                Support    for Programming Languages

     and Operating Systems ASPLOS March 2018 Williamsburg VA
                                  114511731623173213
     Lluis    Vilanova    worked on this paper as a            visitor in
                                                                            my lab in Fall 2014

22 Aydin Aysu Youssef Tobah                   Mohit Tiwari     Andreas Gerstlauer              Michael   Orshansky        Horizontal Side

     Channel Vulnerabilities            of Post Quantum        Key Exchange          Protocols       Proceedings of IEEE Internation

     Symposium on Hardware Oriented                     Security and    Trust   HOST           May 2018 Washington              DC USA Best
     Paper Award Runnerup                   qtpsparIceceutexas              eciupubsHOSI                 pcJa      pdf




C    Other Major Publications in rank               publications     shown      in   bold

     Technical      Workshop Proceedings            Nontechnicaleducationrelated                     documents
     Note not all publications           have   00 entries please contact tiwarigaustinutexasedu or                             visit


     httpsparkeceutexasedu                  to access     the documents




     Ashish       Sharma Mohit       Tiwari     Haitao   Zheng    Madmac         Building a Reconfigurable                Radio Testbed          using

     Commodity 80211              Hardware       IEEE    Workshop on Networking                Technologies       for Software          Defined

     Radio Networks          September 2006 Reston              VA httpsdoiorq101109SDR20064286329

     Xun     Li   Mohit Tiwari      Ben Hardekopf        Timothy Sherwood            and Frederic Chong            Secure       Information       Flow

     Analysis for Hardware              Design Using     the   Right Abstraction           for the   Job    Proceedings of the Fifth              ACM
     SIGPLAN        Workshop on Programming               Languages and Analysis for Security                   P LAS June 2010
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3    Xun     Li    Mohit       Tiwari       Timothy         Sherwood               Frederic         Chong       Function         Flattening       for    Lease Based

     Information        Leak Free Systems 21st                        IEEE        International       Conference on Application specific Systems

     Architectures        and Processors ASAP Poster July 2010 Rennes                                           France



4    Ted     Huffmire Timothy               Levin    Michael          Bilzor Cynthia Irvine                Jonathan Valamehr              Mohit     Tiwari      Timothy

     Sherwood           Ryan     Kastner      Hardware               Trust    Implications           of   3D Integration            Workshop            on Embedded

     Systems Security            WESS        October 2010 Scottsdale                       AZ


5    Hassan       Wassel        Mohit       Tiwari    Jonathan              K Valamehr              Luke Theogarajan             Jennifer      Dionne      Frederic     T
     Chong         Timothy           Sherwood          Towards               Chip Scale             Plasmonic       Interconnects              Workshop         on     the

     Interaction        between Nanophotonic                     Devices          and Systems WINDS                   December 2010 Atlanta                GA

6    Wei      Hu    Jason        Oberg       Ali    Irturk       Mohit        Tiwari       Timothy         Sherwood         Dejun       Mu     Ryan      Kastner      An
     Improved       Encoding           Technique          for   Gate     Level        Information          Flow Tracking          International         Workshop on

     Logic and Synthesis               IWLS        June 2011



7    Janet    Kayfetz      Henning           Schulzrinne             Timothy           Sherwood           and   Mohit      Tiwari       Your    Desktop        or   Mine

     Extending      the    Reach        of Writing         Instruction                Ubiquitous      Learning        An   International       Journal     Volume 3

     No 3 September 2011


8    Mohit Tiwari         Prashanth          Mohan Andrew                   Osheroff        Hilfi    Alkaff     Elaine     Shi   Eric   Love    Dawn Song            Krste

     Asanovic       Context centric Security                      Proceedings of the 7th USENIX Workshop on Hot Topics                                     in   Security

     HotSec             August         2012        Bellevue            WA             httpswwwusenixorgconferencehotsec12workshop
     programpresentationtiwari



9    Martin       Maas    Eric   Love Emil Stefanov                   Mohit Tiwari          Elaine        Shi Krste Asanovic            John Kubiatowicz            Dawn

     Song         A High Performance                   Oblivious             RAM        Controller         on   the      Convey         HC2ex      Heterogeneous

     Computing           Platform           Workshop            on   the Intersections               of Computer Architecture                and Reconfigurable

     Logic CARL December 2013 Davis CA


10 Mikhail Kazdagli                  Ling   Huang         Vijay      Reddi         Mohit    Tiwari         Morpheus          Benchmarking           Computational

     Diversity     in   Mobile Malware               Workshop on Hardware and Architectural                                Support for Securhy and Privacy

     HASP June 2014 Minneapolis MN held                                       in      conjunction      with     ISCA


11   Akhila    Gundu       Gita       Sreekumar           Ali   Shafiee Seth              Pugsley         Hardik Jain Rajeev            Balasubramonian             Mohit

     Tiwari       Memory Bandwidth                   Reservation             in   the   Cloud to Avoid             Information          Leakage    in    the    Memory
     Controller Workshop                    on Hardware and Architectural                            Support       for Security     and Privacy HASP June

     2014 Minneapolis                 MN held        in   conjunction              with   ISCA




ORAL PRESENTATIONS                    oral presentations               in   rank are shown            in   bold


1     Mohit Tiwari         A Small Cache of Large Ranges                                Hardware Methods              for Efficiently      Searching       Storing

      and Updating             Big    Dataflow      Tags MICRO November 2008                                Lake    Como Italy




                                                                                  7
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      Mohit Tiwari      Complete      Information         Flow Tracking      from the Gates         Up ASPLOS March 2009
      Washington       DC USA

      Mohit Tiwari      Complete      Information         Flow Tracking      from the Gates         Up August 2009 Naval
      Postgraduate School          Monterey       USA        Invited talk




     Mohit Tiwari      Quantifying      the Potential for Program Analysis                  Peripherals PACT       September 2009

      Raleigh    NC USA

     Mohit Tiwari      Execution     Leases      A Hardware Supported                Mechanism for Enforcing Strong            Non
      interference      MICRO December 2009 New York USA


6    Mohit Tiwari      Crafting    a Usable      Microkernel       Processor and    IO System with Strict and             Provable

      Information      Flow Security      ISCA June 2011 San Jose               CA USA


7    Mohit Tiwari      Context centric Security               HotSec August 2012 Bellevue              WA USA

8    Mohit Tiwari      Practical    Oblivious     Computation         in a   Secure    Processor UT Austin

     Computer Science        Systems Seminar September 2013 Austin                          TX USA Invited talk


9    Mohit Tiwari      Practical    Oblivious     Computation         in a   Secure    Processor      UMD   CS Seminar

     September 2013 College Park MD USA Invited                         talk




10 Mohit      Tiwari   Hardware support           for systems security          UT Austin Programming          Languages

     Lunch April 2014 Austin          TX USA


11 Mohit     Tiwari    Protecting User Data            from Breaches         Seton    and   Dell   Childrens Hospital     May
    2015 Austin TX USA             invited     talk




12 Mohit TiwanData           Security     Beyond        Encryption    and HIPAA Regulations             Exponential     Kansas

    City September 2015 Kansas City                   MO USA invited talk

13 Mohit     Tiwari    Securing    Data   in   Use     Faster Innovation       Better    Security     HIMSS   Privacy    and

    Security Forum November 2015 Boston                        MA USA invited talk

14 Mohit     Tiwari    °Cybersecurity     for Embedded          Systems Lockheed             Martin   Aerospace group
    November 2015 Austin TX USA


15 Mohit     Tiwari    Christine Julien      Context centric Security            Laboratory        for Telecommunication

    Sciences    January 2016 College Park                MD USA invited talk

16 Mohit     Tiwari    Michael    Orshansky Andreas Gerstlauer Cybersecurity for Embedded

    Systems UT Austin and Lockheed                    Martin   Aerospace and Missile Systems April 2016

    Austin TX USA



17 Mohit     Tiwari    Towards     Trustworthy         and   Robust   Behavioral       Malware Detectors       Center for

    Future Architectures      e Workshop              April 2016
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18 Mohit      Tiwari        Data Security Beyond          Encryption      and HIPAA Regulations               HIMSS        Privacy     and

    Security    Forum May 2016                Los Angeles      CA USA invited talk


19 Mohit      Tiwari        Future proofing        loT   Security ACMIEEE Workshop                  on Internet of Things              at


    Design     Automation           Conference      DAC      June 2016 Austin          TX USA invited talk


20 Mohit      Tiwari        Software    defined     Defenses    against      Hardware Side channels                in   Workshop
    titled   Who       is   the   major threat to tomorrows security              You the hardware designer                      June

    2016 Austin TX USA invited                   talk



21 Mohit      Tiwari        Future proofing        loT   Security   at    ARM   Research       July 2016      Austin TX         USA
    invited talk




22 Mohit      Tiwari        Software defined        Hardware Security           Keynote      at   Workshop on Computer
    Aided Design            and    Implementation        for Cryptography       and Security        CADICS November 2016
    Austin TX      USA invited talk


22 Mohit     Tiwari         Systems Security Research          in   the   Spark Lab    at   UT Austin UT Austin and
    General     Dynamics Meeting January 2017 Austin                        TX USA


23 Mohit     Tiwari         Software defined        Security Against       Lowlevel     Attacks        National         Institute     of

    Standards and Technology                  NISI       February 2017 Gaithersburg               MD USA invited talk

24 Mohit     Tiwari         Software defined        Hardware Security Texas            AM          University     ECE Seminar

    March     2017      College Station        TX USA invited talk


25 Mohit     Tiwari         Composable Primitives for Systems Security                      Thirteenth      International

    Summer School             on Advanced       Computer       Architecture      and Compilation            for   High Performance
    and Embedded Systems ACACES 915 July 2017 Fiuggi Italy                                        invited   instructor



26 Mohit     Tiwari         Michael    Orshansky Andreas Gerstlauer Power Modeling                          for Cybersecuri

    UT Austin and Lockheed                Martin    Annual Review         September 2017 Austin               TX USA


27 Mohit     Tiwari         Data centric Secure Systems             Visa   Research     October 2017 Palo Alto CA

    USA invited talk


28 Mohit     Tiwari         Michael    Orshansky Andreas Gerstlauer Power Modeling                          for Cybersecuritr

    Lockheed      Martin          MFC Office January 2018           Dallas   TX USA


29 Mohit     Tiwari         Software defined        Hardware Security           CS Department          and Huawei          Systems
    Lab UT Austin March                2018 Austin TX USA invited               talk



30 Mohit     Tiwari     Mobile         Data   Containers UT Austin and General                    Dynamics Meeting March

    2018 Austin TX USA


31 Mohit     Tiwari     Side and         Covert Channels        Notes on Research            Lifecycle       Plenary Talk        at


    National    Science           Foundation Workshop         on Side and Covert Channel                 Security        March      2018
    Washington         DC USA invited talk
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Electrical   and Computer   Engineering                                        Revised   September 17 2018




32 Mohit     Tiwari   A Security Plane for Enterprise Systems UT Austin and General Dynamics
    meeting April 2018 Austin      TX USA


33 Mohit     Tiwari   A Security Plane for Enterprise Systems CS Department Arizona State
    University    May 2018 Tempe     AZ USA invited talk




                                                  10
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Electrical   and Computer    Engineering                                         Revised   September 17 2018




PATENTS


    Issued   patents




1    Ryan Kastner Jason Oberg Sarah Meiklejohn           Timothy Sherwood   Whit Wart Method     and systems

    for detecting      and isolating hardware timing channels   US patent number US 20140259161 Al
    issued    September 11 2014 licensed



     Based on work Whit Tiwari did as graduate       student at UC Santa Barbara All research Whit Tiwari

     conducted    at   UT Austin is in the public domain




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Electrical   and Computer        Engineering                                                                  Revised     September 17 2018




GRANTS AND CONTRACTS                        Total    funding     $5049282           at   UT
                                            My share $3558282                at   UT


Acronyms      in   table   below in order of appearance               in   table

                    NSF     National Science       Foundation

                    SaTC Secure and Trustworthy Cyberspace
                    NSA National        Security Agency

                    UMD University of Maryland
                    CAREER     Faculty Early Career          Development           Program
                    C FAR     Center for Future Architectures               Research          httpswwwfuturearchsorga
                    I
                        Corps NSF Innovation Corps
                    DARPA      Defense    Advanced       Research          Projects      Agency

                    SSITH    System Security Integrated           Through          Hardware and Firmware

                    NSF CSR     National     Science    Foundation           Computer Systems Research



Co Investigators                           Title                                  Agency                  Grant Total            Period




None                            Digital    Insertion    and                       NSF SaTC                $416000               080113
                                Observation        Resistant                      program                                       073117
                                Execution     DIORE
None                            Human       Reasoning       about                 NSA Lablet         at   $62726                020714
                                Privacy and Security                              UMD                                           073117


VJ Reddi                        Power     Signatures for Mobile                   Google                  $50000                2014

                                Malware Detection                                 Research      Award     $25000
                                                                                                          total   PI   share



None                            ExoCore An Architecture                to         NSF CAREER              $522000               030115
                                Detect    Malware as                              award                                         022920
                                Computational        Anomalies



None                            Architectures       to Protect      Data          C FAR Center            $485000               050715
                                in   Motion                                       UMichigan                                     123117


None                            I Corps Trustworthy                               NSF    I
                                                                                             Corps        $50000                090115
                                Cyberspace        through      Data                                                             022916
                                security as   a    Service

M Orshansky                     Cybersecurity        Research     on              Lockheed      Martin    $500000               103116
A Gerstlauer                    Power     Models                                                          $166000               081518
                                                                                                          total   PI   share



S Shakkottai                   Anomaly       Detection for Cloud                  Huawei                  $100000               2016

C Caramanis                     Radio    Access    Network      Cloud                                     $30000
                                RAN                                                                       total   PI   share




                                                                  12
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None                        Hardware      Introspection               Samsung                 $100000                      013116
                            Mechanisms       for   Debugging                                                               060117
                            and Security



S Shakkottai                SaTC CORE Medium                          NSF SaTC                $1200000                     030117
C Caramanis                 Guarding Noisy                                                    $400000                      022921
                            Neighborhoods          with   Weak                                total      PI   share

                            Detectors



None                        Malware Detection                         Qualcomm       gift     $125000                      2017

                                                                      Faculty   Award




None                        Mobile   Data    Containers               General                 $166000                      063017
                                                                      Dynamics                                             083119


None                        Ensembles     of Moving       Target      DARPA SSITH             $748556                      103117
                            Defenses                                  program                                              011521




PI   C Julien               CSR Medium Extensible                     NSF CSR                 $400000                      090117
                            Distributed     Systems Solutions         1703497                 $200000                      083119
                            for   Community        Supported                                  total      PI   share

                            Child Independent         Mobility




Mattan Erez                 Finegrained      Contention               Huawei    CS            $124000                      080118
                            Detection     and Mitigation              Systems Lab             $620000           total


                                                                                              PI   share                   073119




PHD SUPERVISIONS       COMPLETED


Kazdagli             June 2018          Robust      Behavioral     Malware           Electrical    and            The University

Mikhail                                 Detection                                    Computer                     of Texas at

                                                                                     Engineering                  Austin




                                                            13
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MS SUPERVISIONS COMPLETED

Santa     Maria                   June 2017      Identifying         post silicon                     Electrical   and              The University of

 Daniel                                          bugs and their root causes                           Computer                      Texas at Austin

                                                 through         a   hardware                         Engineering

                                                 introspection             engine



                                                                                                                                    The University of

Sankaranayanan                    June 2018      Security evaluation               of                 Electrical   and              Texas at Austin

 Naveena                                         Linux Containers                                     Computer

                                                                                                      Engineering

 Prakash Rohith                   June 2018       Course based              MS                        Electrical   and              The University of

                                                  Research           side channel                     Computer                      Texas at Austin

                                                  privacy through                input                Engineering
                                                  indistinguishability


PHD IN PROGRESS

A      Students     admitted       to   candidacy



      Ashay     Rane   CS Department            co advised           with    Dr Calvin      Lin Started PhD        in Fall   2012 and
      working with Dr Tiwari in Spring 2014




B      Post     MS students preparing to take PhD qualifying exam

      Austin     Harris    Started      MSPhD in Fall 2013
       Sarbartha       Banerjee Started     MS in Fall 2016 at UT ECE and PhD in Fall 2018 with Dr Tiwari
      Willy     Ray Vasquez Started PhD                in Fall   2017


C      PhD      students     preparing       to take    PhD qualifying              exam



       Casen Hunger             MSPhD in Spring 2015
                             Started


       Shijia   Wei         MSPhD in Fall 2016
                       Started

       Prateek    Sahu Started MSPhD in Fall 2017




MS IN PROGRESS
       Pranav     Kumar      Started     MS in Fall 2017

POSTDOC COMPLETED


      Aydin Aysu 08222016                     6292018            Starting         as tenure track     Assistant    Professor in

                          ECE Department            North Carolina State                 University   NCSU from Fall 2018

VITA Mohit Tiwari            received    a   Bachelor     of Technology              degree in Computer Science              and Engineering from

the   Indian     Institute   of   Technology        Guwahati          in   2005 and the        MS and PhD degrees in Computer Science




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from the University of California            at   Santa   Barbara      UCSB         in   2010 and 2011 respectively            His research       at


UCSB    received      the    Outstanding     Dissertation    Award and has subsequently                     been commercialized           by    his


mentees through             an NSF funded      corporation     Tortuga            Logic    He then won the NSF           Computing
Innovation      Fellowship      2011        2013   to work    as   a   post doctoral        scholar with      Prof    Krste   Asanovic        and Prof

Dawn Song        at   University of California         Berkeley Mohit Tiwari joined the faculty of UT Austin ECE in August

2013    as   an assistant professor where he currently                  is   a   Fellow of the    AMD Chair His research           focuses       on

computer       architectures     and systems for cybersecurity and privacy                        His research    awards      include    the

Qualcomm        Faculty      Award    the   National Science       Foundation            CAREER award        Best     Paper Awards       at


ASPLOS15 PACT09 and runnerup at                           HOST18            Top
                                                                         IEEE     Micro
                                                                                        year
                                                                                               Picks   of
                                                                                                computer         in                architecture


2010 2015 Honorable Mention                    and the     CSAW top 10 Best Applied security Paper in Cybersecurity in
2013    while   his    undergraduate        research    students       have received        the   Marjorie    Morales and       NSFSRC          awards

for   excellence      in   research




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                                                      Candidates Summary of Activities
                                                                              Mohit Tiwari
                                                Assistant Professor                               ECE Department
                                                                                   UT Austin

                                                                       Metric                                                                            Value

 Peer reviewed journal publications                       in rank and total                                                                         2+1            6+1

 Peer reviewed conference                     proceedings        in rank and total                                                                       12        22

 Number ofjournal papers
 coauthors
                                               in   rank with supervised students andor postdocs                                 rom UT as
                                                                                                                                                         1    +
 Number of journal papers                     in rank   with supervised             students        from      UT as coauthor                             1             1




 Total   citations   of all publications                career         from ISI Web of Knowledge                                                             178

 Largest   number of citations for a single paper based on work at UT ISI Web of
                                                                                                                                                              29
 Knowledge
 h index   career from ISI Web of Knowledge
 Total   citations   of all         publications        career from Google Scholar as of July 28 2018                                                    1150

 Largest   number of citations for a single paper based on work                                         at    UT Cowie Scholar                               145

 h index   career from Google Scholar                                                                                                                         18

 Total   external    research funding                 raised     in   rank                                                                           $ 5051v1

 Total   external    research funding                 raised     in   rank   candidates share                                                        $   356M
 Total   number of external grantscontracts                           awarded       in rank                                                                   15

 Number of external grantscontracts                           awarded        in   rank   as PI                                                                14



 PhD students completed sole supervisions                               and co supervisions                                                               I        0
 MS students completed                      sole supervisions          and co supervisions                                                               3         0

 PhD students in pipeline sole supervisions                             and co supervisions                  as   of 8312018         t                   6         1

 MS students in pipeline sole supervisions                              and co supervisions as of 8312018                        t                       10

 Number of courses taught

 Total   number of students taught                     in organized          courses                                                                         29    I




 Average       instructor         rating for     undergraduate           courses                                                                         405
 Average       instructor         rating for     graduate courses                                                                                        425
 Average course rating for undergraduate courses                                                                                                         385
 Average       course   rating          for   graduate courses

 Number of teaching awards



 Student organizations                 advised

 Undergraduate          researchers supervised                                                                                                           13   +            1




 Service   on    journal editorial boards

 Number of symposia organized


NOTES
    +1 invited  paper to Transactions on Computer Science     TOCS based on ASPLOS15 Best Paper Award
Ghostrider    A hardware software system for memory trace oblivious computation The paper has been invited
and pre accepted but     in preparation
                                  it    and hence not listed in the CV
                                       is




         ISI   Web of Knowledge                  is
                                                      missing crucial papers                  2   and   8 from Google Scholar ordered by           citation                count
and likely others            it   has   far lower citation            counts than Google            Scholar        for the   same papers and has a different set of

papers when ordered by                  citation      count



           Undergraduate                researchers       list
                                                                 comprises of            11   funded    summer and school year positions 2 unfunded

students and +1         is   an undergraduate             from Rice          University
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            Complete reverse chronolo2ical                 list    of publications and scholarlycreative                 works
                                                            Mohit Tiwari




Title of Dissertation         Design and Verification                  of Information    Flow Secure Systems

Dissertation Advisor           Dr Timothy P Sherwood



Section     1 Works       published     or in an equivalent status in press accepted                   or under   contract     while in

current rank at     UT Austin


Note my adviseesstudents                are highlighted           in   italic   Please see   my CV for a complete            list   and

criteria    used   to   identify my students



Refereed archival          journal publications in rank



    Pavel    Lifshits Roni Forte Yedid              Hoshen Matthew Halpern Manuel                     Philipose Mohit Tiwari and

    Mark     Silberstein Power to peep all               Inference Attacks by Malicious               Batteries   on Mobile

    Devices        in Proceedings        on Privacy Enhancing Technologies                 PoPETs          July 2018

           Coauthors       Pavel    Lifsh its Research       Engineer at Technion Israel Institute of Technology

           Roni Forte student Technion              Israel Institute         of Technology      Yedid Hoshen       doctoral student

           Hebrew University Matthew                Halpern doctoral student             UT Austin Manuel Philipose                 BS
           UT Austin Mark Silberstein faculty peer at Technion Israel Institute of Technology
           Qualitative     statement of contribution          I    started the project   on using programmable            batteries


           more generally the power draw of a system on chip to leak sensitive data with Matthew
           Halpern and Manuel Philipose             in   UT Austin as graduate          course projects in 2013 and 2014 fall

           We focused      on information leaks through web browsers and leak prevention using dynamic

           voltage frequency scaling while 2015                    fall    onwards Technion and Hebrew University

           colleagues     focused   on keystroke recognition                and camera detection       I   co designed    the studies

           and co wrote the paper along with last author Mark Silberstein while our students                                carried        out

           the experiments



2   Wei Hu Dejun           Mu Jason Oberg Baolei Mao Mohit Tiwari Timothy Sherwood Ryan Kastner
    Gate Level          Information Flow Tracking           for        Security Lattices     ACM Transactions on Design
    Automation          of Electronic    Systems    TODAES                 Volume 20 November 2014
           Coauthors       Wei Hu post doctoral            scholar         UC San Diego      Dejun Mu faculty peer
           Northwestern      Polytechnical     University Jason Oberg graduate                   student      UC San Diego           Baolei

           Mao graduate       student     Northwestern        Polytechnical        University Timothy Sherwood faculty

           peer UC Santa Barbara Ryan Kastner faculty peer UC San Diego

           Qualitative     statement of contribution          I    introduced     the precise information flow tracking

           algorithm for general lattices in         my dissertation            My colleagues    in   San Diego evaluated           this


           algorithm for a range of hardware designs                      and wrote this journal paper




Refereed conference           proceed ins      in   rank


1 Aydin Aysu Youssef Tobah Mohit Tiwari Andreas Gerstlauer Michael Orshansky Horizontal
                                         Key Exchange Protocols Proceedings of IEEE
Side Channel Vulnerabilities of Post Quantum




                                                                                                                       Tiwari Page         1   of 5
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Internation   Symposium on Hardware Oriented Security and Trust                   HOST May 2018 Washington
DC USA Best Paper Award Runnerup
        Coauthors      Aydin Aysu post doctoral scholar UT Austin Youssef Tobah undergraduate
        student UT Austin Andreas Gerstlauer faculty                  peer UT Austin Michael              Orshansky faculty

        peer UT Austin
        Qualitative    statement of contribution      I   co designed       the study of information leaks in quantum

        computing     resistant   cryptographic   key exchange        algorithms    together with Andreas Gerstlauer

        and Michael     Orshansky      We share with our post doctoral scholar Aydin Aysu the credit for
        designing experiments developing           countermeasures           and writing the paper Youssef Tobah            and

        Aydin Aysu implemented the countermeasures                  in hardware    and did all the experiments


2 Casen Hunger Lluis Vilanova Charalampos Papamanthou Yoav Etsion Mohit Tiwari DATS
Data Containers for Web Applications Proceedings of Architectural Support for Programming

Languages     and Operating Systems ASPLOS March 2018 Williamsburg                            VA Awarded NSF I
Corps award to evaluate           commercialization       opportunities piloted by cloud               providers
        Coauthors      Casen Hunger graduate         student      UT Austin Lluis Vilanova             post doctoral
        scholar   Technion        Charalampos Papamanthou           faculty     peer University of Maryland            Yoav
        Etsion faculty    peer Technion

        Qualitative    statement of contribution      I   and   my student     Casen Hunger developed         the    DATS
        design pattern for web applications         designed      experiments to test the security programmability

        and performance of DATS and wroterevised                   drafts   the paper    Casen   is   the lead developer of

       the    DATS    system Lluis Vilanova       visited
                                                             my   lab in Fall 2014        he helped implement the first

       version during Fall 2014        and since then co wrote drafts of the paper Drs Papamanthou                      and
        Etsion gave feedback        on the design and paper drafts of the DATS              system


3 Aydin Aysu Michael       Orshansky      Mohit Tiwari Binary RingIWE                    Hardware with Power Side

Channel Countermeasures Proceedings               of Design Automation          and Test   in Europe      DATE March
2018 Dresden Germany
        Coauthors      Aydin Aysu post doctoral scholar UT Austin Michael Orshansky faculty                             peer
       UT Austin
        Qualitative    statement of contribution      I   co designed       the study of information leaks in quantum

        computing     resistant   cryptographic   encryptiondecryption           algorithms co designed        the

        algorithms to mitigate these leaks and co wrote the paper together with Aydin Aysu and
        Michael    Orshansky       Aydin Aysu implemented the algorithms                in hardware




4 Ali Shafiee     Rajeev Balasubramonian          Mohit Tiwari       Feifei   Li Secure DIMM Moving              ORAM
Primitives Closer to    Memory Proceedings of International                 Symposium on High Performance
Computer Architecture      HPCA February 2018 Vienna Austria
        Coauthors      Ali Shafiee    graduate    student       University of Utah Rajeev         Balasubramonian

        faculty peer University of Utah Feifei Li faculty peer University of Utah

        Qualitative    statement of contribution      I   helped with the design of Secure            DIMM and with
        writing paper drafts Ali Shafiee         and Rajeev Balasubramonian             led the design and

        implementation     of the system



5 Mikhail Kazdagli      Vijay Janapa Reddi Mohit Tiwari Quantifyiny and Improvimy the Ffficiency                              of

Hardware based Mobile Malware Detectors                   Proceedings    of the 49th International        Symposium on
Microarchitecture     MICRO October 2016 Taipei Taiwan                       Transitioned to Qualcomm Malware
Research team led to Qualcomm Faculty Award                       2017

                                                                                                             Tiwari Page 2 of 5
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        Coauthors      Mikhail Kazdagli         graduate         student   UT Austin Vijay Janapa Reddi faculty                          peer
        UT Austin
        Qualitative   statement of contribution            I   and   my student        Mikhail Kazdagli designed                 the

        Sherlock system introduced            in the
                                                       paper and co wrote drafts of the paper Mikhail                          built   the

        system Dr Reddi is an expert in mobile computing and provided extensive feedback                                          on the

        system design and paper drafts Mikhail                 transitioned         ideas   from this paper       to   Qualcomm        over

        an 8 month internship was awarded a patent                     with them and was responsible for my Qualcomm

        Faculty    Award   in   2017


6 Ashay Rane       Calvin Lin Mohit Tiwari              Secure Precise and Fast Floating Point Operations on x86
Processors Proceedings of the 25th Usenix Security Symposium August 2016 Austin                                            TX
        Coauthors      Ashay Rane graduate              student      UT Austin         Calvin     Lin faculty peer         UT Austin
        CS Department

        Qualitative   statement of contribution            I   and   Dr Lin co designed               and co wrote the Escort system
        described in the paper with Ashay              Rane      our co advised student               Ashay Rane       built   the compiler

        transformations     and ran the extensive evaluations              for this         project



7 Ashay Rane       Calvin Lin Mohit Tiwari              Raccoon        Closing Digital Side Channels through

Obfuscated      Execution Proceedings           of the 24th USENIX Security Symposium August 2015

Washington       DC
        Coauthors      Ashay Rane graduate              student      UT Austin Calvin Lin faculty peer UT Austin
        CS Department
        Qualitative   statement of contribution            I   and   Dr Lin co designed               and co wrote the Raccoon

        system described in the paper with Ashay                  Rane our co advised              student    Ashay Rane         built   the

        compiler transformations            and ran the extensive evaluations                for this   project



8 All Shafiee      Gundu Manjunath Shevgoor Rajeev Balasubramonian Mohit Tiwari
                  Akhila

Avoiding Information Leakage in the Memory Controller with Fixed Service Policies Proceedings
of the 48th International       Symposium on Microarchitecture               MICRO December 2015 Waikiki                               HE
        Coauthors      Ali Shafiee      graduate       student       University of Utah Akhila               Gundu graduate
        student    University of Utah Manjunath                  Shevgoor graduate             student    University of Utah

        Rajeev    Balasubramonian           faculty peer University of Utah

        Qualitative   statement of contribution            I   co designed      the Fixed Service          memory controller
        described in the paper and co wrote the paper                   Ali Shafiee         and   his advisor   Rajeev
        Balasubramoniam          led the    design implementation and paper writing with assistance                               from

        Akhila and Manjunath           in   running the experiments



9 Chang Liu Austin Harris Martin Maas Michael                         Hicks Mohit Tiwari Elaine Shi GhostRider                                   A
Hardware Software System for Memory Trace Oblivious                         Computation Proceedings                     of the 15th

International    Conference on Architectural            Support for Programming                Languages      and Operating

Systems ASPLOS March 2015 Istanbul Turkey Best Paper Award
        Coauthors      Chang Liu graduate              student    University of Maryland                 Austin Harris graduate

        student    UT Austin Martin Maas graduate                     student       UC Berkeley Michael Hicks faculty
        peer University of Maryland Elaine Shi faculty peer University of Maryland

        Qualitative   statement of contribution            In this paper        I   and my student        Austin Harris introduced

        the idea of a processor whose micro architectural timing external                               memory access          trace and

        cryptographically       oblivious     memory      ORAM          banks are explicitly controlled                by software
        Austin Harris built the processor hardware with advice                        from Martin Maas on              integrating



                                                                                                                         Tiwari Page         3   of 5
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        ORAM hardware with the processor                        I       worked with DrHicks and           Dr Shi whose student             Chang
        Liu wrote the software             to   expose the processor and                  memory     controller    to   a compiler The

        GhostRider hardware software paper was invited as a fast track publication to the

        Transactions on              Computer Systems journal


10 Casen Hunger Mikhail Kazdagli                       Ankit    Rawat Alex Dimakis Sriram Vishwanath Mohit Tiwari
Understanding Contention driven                     Covert Channels and Using  Them for Defense Proceedings of the
International     Symposium on High Performance Computer Architecture                                   HPCA February 2015 San
Francisco     CA
        Coauthors                               UT Austin Mikhail Kazdagli graduate student
                             Casen Hunger graduate              student

        UT Austin Ankit Rawat graduate student UT Austin Alex Dimakis faculty peer UT
        Austin Sriram Vishwanath faculty peer UT Austin
        Qualitative          statement of contribution              I   and Casen Hunger generalized a large number of
        information leaks in shared processors                          as being contention driven        channels        Together with Dr

        Vishwanath            we    started explicitly    evaluating contention channels                  in processors        as

        communication               channels    Dr Dimakis led the formal modeling                      of contention channels           Mikhail

        Kazdagli           helped   implement these channels                on   Intel   x86 hardware      and Ankit Rawat helped

        measure channel              capacity   I   co designed          the experiments and co wrote the paper with all                   co
        authors       while Casen and Mikhail were responsible for the implementation



11 Xun Li Vineeth Kashyap Jason Oberg Mohit Tiwari Vasanth Rajarathinam Ryan Kastner
Timothy Sherwood Ben Hardekopf and Frederic Chong Sapper A Language for Hardware Level
Security Policy Enforcement                Proceedings         of the 14th International             Conference on Architectural

Support for Programming Languages and Operating Systems ASPLOS March 2014 Salt Lake City

UT IEEE Micro Top Picks of the Year in Architecture Honorable Mention
        Coauthors                          UC Santa Barbara Vineeth Kashyap graduate student
                             Xun Li graduate          student

        UC Santa Barbara Jason Oberg graduate student UC San Diego Vasanth Rajarathinam
        graduate student UC Santa Barbara Ryan Kastner faculty peer UC San Diego Timothy
        Sherwood faculty peer UC Santa Barbara Ben Hardekopf faculty peer UC Santa Barbara
        Frederic Chong faculty peer UC Santa Barbara

        Qualitative          statement of contribution              I   introduced       the Sapper hardware design language               for


        dynamic information flow                control    as a graduate           student    in   UC Santa Barbara wrote the paper
        for its    first    submission I worked with Xun Li who led the Sapper compiler implementation                                           and

        Ben Hardekopf               who led the type system specification                    Xun and Ben led the writing              for the

        final   submission Subsequently                  Vasanth Rajarathinam incorporated a floating point                           unit into

        the processor          Drs Kastner Sherwood and Chong provided                              close feedback       for   the design and

        paper drafts



12 Martin Maas Eric Love Emil Stefanov Mohit Tiwari Elaine Shi Krste Asanovie                                                  John

Kubiatowicz        Dawn Song PHANTOM                       Practical        Oblivious       Computation     in a   Secure Processor

Proceedings       of the    ACM Conference on Computer and Communications                                 Security      CCS November
2013 Berlin Germany NYUCSAW                             Best Applied             Security Paper of the Year top                10
        Coauthors            Martin Maas        UC Berkeley Eric Love graduate student UC
                                                graduate       student

        Berkeley Emil Stefanov graduate student UC Berkeley Elaine Shi research scientist UC

        Berkeley Krste Asanovie faculty peer UC Berkeley John Kubiatowicz faculty peer UC
        Berkeley Dawn Song faculty peer UC Berkeley

        Qualitative          statement of contribution              I   introduced       the idea of cryptographic        obfuscation of

        memory traces           previously          studied as a theoretical primitive to be used with remote servers



                                                                                                                               Tiwari Page 4 of 5
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          over the internet to the domain of hardware processors       I   led   the design of the   memory
          controller   its   implementation   on the Convey Computers field programmable gate array

          FPGA server and wrote the paper Martin Maas implemented the memory controller and
          ported SQLite to RISC      V   Eric Love helped   run the performance experiments Emil Stefanov

          and Elaine Shi consulted with us on the Path      ORAM algorithm that we adapted for hardware
          implementation and Drs Asanovic          Kubiatowicz   and Song    all   gave feedback     on paper drafts




Section   2 Works published or in equivalent status while in current rank at other institutions              if

applicable



Not applicable




Section   3 Works published or in equivalent status while in previous ranks at UT Austin if
applicable



Not applicable




Section   4 Works published or in equivalent status while in previous ranks at other institutions if
applicable



Not applicable




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                                                                                   Table           1 Research Summary

                                                                                        Metric                                                                           Value

             Peerreviewed             journal     publications          in rank and total                                                                              2+1          6+1

             Peer reviewed journal equivalent                           conference             proceedings        in rank and total                                      12         22

             Number of journal papers in rank with supervised students                                              andor postdocs            from UT
                                                                                                                                                                             1+1
             as   coauthors
             Number of journal papers in rank with supervised students                                              from UT as coauthor                                      1+1

             Number of journal equivalent conference papers in rank with supervised students                                                         andor post
             does from UT as coauthors

             Number of journal equivalent conference papers in rank with supervised students                                                         from UT as
             coauthor

             Total      citations     of all publications            career from ISI Web of Knowledge                                                                        178

             Largest      number of citations             for    a single paper based                 on work       at   UT ISI Web of
                                                                                                                                                                              29
             Knowledge
             hindex career from ISI Web of Knowledge
             Total      citations     of all    publications         career from Google                      Scholar     as ofJuly I 2018                                 1119

             Largest      number of citations             for    a single paper based                 on work       at   UT Google           Scholar                         143

             hindex career from Google                        Scholar                                                                                                          18

             Total      external      research funding           raised      in   rank personaltotal                for   UT                                       $356M$505M

             NOTES
                      +1 invited        paper to Transactions on Computer Science TOCS based on ASPLOS15 Best Paper Award
             Ghostrider               A hardware software system for memory trace oblivious computation

                         ISI    Web of Knowledge                is   missing crucial            papers        2   and     8 from Google Scholar ordered by          citation    count
             and likely others             it   has    far lower citation              counts than Google                Scholar   for the    same papers and has a different set of

             papers       when ordered by citation                   count


             Table        2 Current External Grants and Contracts

      Role of Candidate         and                                                                                                                      Project   Candidates
                                                                                           e                                                    cy                                        Grant Petiod
        Co Invest iga tors                                                                                                                                Total       Share

                                                CAREER        ExoCore An           Architecture to Detect         Malware
Pl Mohit     Tiwari                                                                                                                NSF CAREER            522000      522000               2015          2020
                                                as Computational Anomalies

                                                SaTC CORE Medium                  Guarding Noisy Neighborhoods
PI Mohit     Tiwari                                                                                                                NSF                   1200000     400000               2017          2021
                                                with   Weak   Detectors

     CoPis     Sanjay    Shakkottai

         Constantine       Caramanis

                                                CSR Medium           Extensible     Distributed Systems          Solutions
PI Christine Julien                                                                                                                NSF                   400000      200000               2017 2019
                                                for   Community      Supported      Child Independent          Mobility

     CoPI    Mohit Tiwari

PI Mohit     Tiwari                             Cyber Security Research           on    Power Models                               Lockheed    Martin    500000      166000               20162018
     CoPls     Michael     Orshansky
     Andreas    Gerstlauer

PI Mohit     Tiwari                             Mobile   Data Container                                                            General   Dynamics     166000     166000               2017   2019
PI Mohit     Tiwari                             Ensembles     of Moving Target           Defenses     for   Scalable    and        DARPA
                                                                                                                                                         748556      748556               20182021
                                                Composable      Hardware        Security

PI Nfohit    Tiwari                             Fine Grained     Contention       Detection        and Mitigation                  HuaweiCS
                                                                                                                                                          124000     62000                2018   2019
                                                                                                                                   Systems    Lab

     CoPI      Mattan    Erez

PI Mohit     Tiwari                             PSigns   Power       Channels     for   NIalware     Detection                     Google    award        50000      25000                       gift


     Co PI Vijay        Reddi

PI   Mohit Tiwari                               hardware based        N1alware Detection            Faculty   award                Qualcomm award         125000     125000                      gift


PI Mohit     Tiwari                             Anomaly     Detection     for Cloud        Radio    Access    Network              HuaweiWNCG             100000     30000                 WNCG gift
     CoPLs     Sanjay    Shakkottai

         Constantine       Caramanis

Total                                                                                                                                                    3935556    2444556
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                         Table 3 External Grants and Contracts Awarded                                                  in Rank        and Completed


      Role of Candidate      and                                                                                                     Project           Candidates
                                                                      Title                                        Agency                                           Grant Period
         Co Investigators                                                                                                             Total              Share
                                         TWC      Medium         Collaborative Research

PI Mohit      liwari                     DIORE         Digital   Insertion    and Observation                 NSF                    416000             416000      20132017
                                         Resistant      Execution

                                         Establishing a Science           of Security Research

PI Mohit      Tiwari                     tablet   at   The   University of Maryland               Human       NSA                    62726               62726      20142017
                                         Reasoning       about Privacy       and Security

                                         Hardware       Introspection        Mechanisms       for
PI Mohit      Tiwari                                                                                          Samsung                100000              100000     20162017
                                         Debugging       and Security

                                             Corps     Trustworthy Cyberspace             through
                                                                                                                                                                           2016
                                         I

PI Mohit      Tiwari                                                                                          NSF                     50000              50000      2015
                                         Data security       as a Service

                                                                                                              CFAR
                                                                                                              Center at
PI Mohit      Tiwari                     Architectures       to Protect      Data   in   Motion                                      485000             485000      2015   2017
                                                                                                              University    of

                                                                                                              Michigan

TOTAL                                                                                                                               1113726        I    1113726




                                                 Table       4 Pending External Grants and Contracts

      Role of Candidate      and                                                                                                                       Candidates
                                                             Title                                     Agency                    Project   Total                    Grant Period
         Co Investigators                                                                                                                                Share

PI Mohit      Tiwari                     Intel   ISRA     Oblivious
                                                                                            Intel                                  300000               300000      2018   2021
     1111JC Co   PI Chris Fletcher       Instruction     Set Architectures

                                         Salt CORE Small
PI Mohit      Tiwari                     Collaborative       Oblivious       ISAs
                                                                                            NSF                                    500000                250000     2018   2021
     UIUC CoPI Chris Fletcher            for   Secure and     Efficient      Enclave

                                         Programming
Il   Nlohit   Tiwari                     Mobile      Data Containers         Year 2         General    Dynamics                    217000               217000      20182019
PI Mohit      Tiwari                     Cyber Security          Research    on             Lockheed      Martin
                                                                                                                                   250000                83000      20182019
                                         Power    Models

     CoPIs Michael     Orshansky
     Andreas   Gerstlatier


TOTAL                                I                                                                                             1267000              850000
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Mohit Tiwari




         Budget Council Statement                    on Teaching                for Faculty Promotion Candidate

                                                       Mohit Tiwari


This assessment         of Assistant Professor Mohit Tiwaris teaching contributions                                         was

prepared by Budget Council               Member         Professor Jonathan                 Valvano



Principal      area of teaching
Dr Tiwaris principal              area of teaching         is   in   computer engineering               in general         and

architecture      security and embedded                systems in specific                 As an assistant professor he has
taught three different            courses two lower division required undergraduate                                     classes   and one
advanced       graduate     class



Evaluation process

I   based this statement on review                of Dr Tiwaris teaching                   statement and portfolio

personal experiences              in class                                      student   courseinstructor              evaluations for
                                             peer evaluations

the last five years as well as my own firsthand                                 experience working            together teaching

different   sections       of the same       class   and    my understanding of curricular matters because
of my role on the          ECE curriculum            committee and as undergraduate advisor I also

personally observed          his class       on 362017 and 3192018                           I   have co taught EE319K with

Professor Tiwari three times and in so doing                           I   have     sat in   EE319K planningTA

meetings with him dozens of times



Teaching       Evaluation Procedures                 and Measures

The department uses course evaluation surveys and peer evaluations                                            It   is   normal    practice

to   conduct    official    course    evaluations at the conclusion                       of every class In spring

semesters      EE319K        is   a large enrollment            class      with 5 sections         I   was one of the
instructors     Spring 2015 Spring 2016 and Spring 2018 along with Professor Tiwari

Since    we have shared homework shared                         labs    and shared exams I can attest                      that

Professor Tiwaris students              were well taught each of these three semesters I think                                         his


teaching evaluations capture             an accurate            representation of his teaching



Peer evaluations are conducted                nominally once per academic                         year Peer evaluations are
made by tenured professors after a visit                    to the classroom                 The times and dates of these

visits   are agreed to beforehand so that there are no surprise visits

          Professor Valvano observed                  EE319K Embedded Systems during Spring 2015
          Professor Akinwande                observed      EE319K Embedded Systems during Spring 2016
          Professor Valvano observed                  EE319K Embedded Systems during Spring 2017
          Professor Valvano observed                  EE319K Embedded Systems during Spring 2018


Summary of Teaching                 Evaluations

The main indicator on the Course Evaluation                            Surveys used to evaluate                    teaching

performance       is   the Overall Instructor          Rating His in rank instructor ratings are
summarized        in   Table      1 The GPA for EE319K                      the undergraduate required class                      is


purposely      adjusted to        be about 30 for all sections Also this GPA                             is   consistent with other

classes at this     level Therefore           I   believe there            is   no bias in evaluation scores caused by




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Mohit Tiwari




perceived    grade expectations              The average     size of his graduate          class   is   14 students

slightly less   than equal to the department average                of 176


His weighted average          undergraduate instructor rating           is   398 out of 5 and his weighted
average    graduate   rating    is   422 out of 5 His performance              is   less   than the department

average    for undergraduate         courses     Spring 2018      ECE average = 422 and slightly below
the department average         for    graduate     courses     Spring 2018 ECE average = 446 In

summary his undergraduate ratings are acceptable                     and     his graduate          instructor     ratings    are

excellent



                                                                                                                        erall   course

                                                                                                                    Ming




                        11



                        LE 319K

 Spring 2018            II    319K                  4261                     46

   pring 2015           LE309                       1516                     36

 Fall 2013              EE 382V                     99                       45                                    45

 Fall 2014              EE 382V                     1018                     40                                    39

 Fall 2015              EE 382V                     1319                     42                                    38

 Fall 2017              EE 382V                     2326                     43                                    38

Table   1 CIS results for undergraduate and graduate                   teaching        EE319K            is   Introduction      to

Embedded Systems EE309K                 is   System Security       and EE382V is Security Hardware
Software Interfaces



Example negative comments from his CIS undergrad EE309K
    Rarely showed up          for class       EE309K was team taught

EE309K was not a traditional lecture course EE309K was the number that ECE students
usedwhen taking the freshman research initiative stream involving system security Dr
Tiwari was involved          in organizing       this   effort but was not the lead teacher                   The CIS
numbers reflect that the students              felt positive   about the opportunity           but may have been

confused               Dr Tiwari as the instructor Including
            on how to rate                                                             just his         EE319K     courses

                                          average is 401
his weighted undergraduate instructor CIS




Typical positive      comments from his CIS undergrad EE3I9K
    learned a lot

    constantly challenged            us with class problems

    awesome
    lectures were great and well organized

    super approachable




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Mohit Tiwari




   very approachable
   knowledgeable          and   excited   about     course material

   encouraged       to take control       of my own learning
   cares about      his    students

   extremely passionate about both the course                         material and          helping students learn



Typical negative comments from his CIS undergrad                                  EE319K
   covering more material from labs would be beneficial
   not well structured

   put more emphasis on lab related course material
   he has bad handwriting
   the first    lectures   were good the quality continually declined do not regret skipping



Typical positive    comments from his CIS grad                        EE382V
   Enthusiastic
   Learned a lot

   Explains very clearly
   was very effective
   enjoyed the discussions
   one of the best teachers so far


Example negative comments from his CIS grad EE382V
   Much      of the material went over my head
   This course was incredibly difficult                 and time consuming

   Labs were disorganized             but I learned from them

   could be more structured
   need to be more organized


Summarizing quotes from Professor Valvanos                                      Spring 2015         visit        exact date unknown
   Lectures      are extremely      engaging       He gives a highlevel                overview          of what they            will   be

   leaming and how the educational                 components             fit   together        During lecture he can get
   lost in the calculations       and would        benefit     by working out the details                        in   advance


Summarizing quotes from Professor Akinwandes                                       in class      visit      April          6 2016
   He spoke in a very casual sense that was very interactive with the students and
   approachable      The     instructor     repeated         student      questions        to   ensure      it   was       clear to all   The
   lecture   was often very       interactive      in that
                                                              many students            could       respond            to   or ask

                without     the   need to raise hands            It   was a very engaging                lecture           on Analog to
   questions

   Digital   conversion      and Sampling theorem Examples were solved together                                             in class    There

   were also in class practice programming functions Afterward the programming

   concepts    and methods were discussed collectively



Summarizing quotes from Professor Valvanos                                      in class   visit    March 6 2017
   He used a mixture of PowerPoint slides and blackboard The students were very
   engaged     with the game example and later they were engaged                                   with the prospect

   of creating    sound Students          felt   safe   to   ask and answer questions Negatives




                                                             Page     3
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Mohit Tiwari




       Write     things    on the board you want them to copy                       into their   notes Your

       message on the blackboard             can      be scattered



Summarizing quotes from Professor Valvanos                                     in class   visit    March 19 2018
       He was very positive responding to students great great great that                                        is


       wonderful smiling great                                                                 His delivery was
                                                            very good question
                                                that is a

       articulate    He used PowerPoint               slides for    structure        but wrote a lot on the white

       board He paused frequently and asked                     for questions          He did an in class short
       quiz   to see if   students understood the key concepts                       Oust 5 minutes The

       professor and TAs walked            around answering             questions Negatives                White
       board management            and   size of writing        From the weekly           meetings     I   see he

       teaches    more basic fundamentals              rather     than delve into the details of how to

       execute lab assignments Consequently                     his   students       may learn more but require
       more effort to figure out stuff on their own and may have contributed                                   to   the

       lower     scores


Response to Student                and Peer Evaluation Leads to Continuous Improvement
There are not a lot of negative comments about Professor Tiwaris teaching                                             but one

theme that exists is his lecture organization                      Both peer review and student                  evaluations

suggest       he work on organizing             his   lectures     When he made adjustments to his lecture                        the

response was positive


One of the difficult            concepts   in   EE319K       is   teaching          C programming      to     students     with no

prior programming               experience other than         EE306BME303                  Basically       the problem       is


there are some students             with extensive programming                      experience and others             who just have
this   one prerequisite          class   EE306BME303 on assembly programming                                   and computer

architecture        Professor Tiwari approaches                   teaching software            design first    by example and
then by having students              work exercises         in class      His students appreciated              his desire to

make them think beyond the details of the course


Teaching         Portfolio

There are three aspects of Professor Mohit Tiwaris teaching                                    portfolio that       demonstrate

he is an effective and passionate                 educator        First   it   is   clear he   cares about his students

individually        He demonstrates a sincere               desire that they learn and rejoices                     when   they   do
Second he is willing to experiment with his teaching                                 style He not only tries new

approaches        but also evaluates         the outcomes          of the effort to       know what works and what
doesnt work Third he has a fundamental grasp of both the level of our student

population and what our students                   need to be successful              in their    careers     He uses these
incites to     design an effective         approach         when      teaching his courses



Comparison to Other Assistant Professors                              in the        Department
The CIS scores            for   Dr Tiwari are slightly lower than the other assistant professors
However          his teaching      service   new course on security and the freshman research
initiative     stream place him on or above                  efforts    from other assistant professors in the

department




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Mohit Tiwari




Describe participation         on graduate          committees
Professor Mohit Tiwari has one PhD student                  who passed the defense He has one PhD
student   in   candidacy He has eight PhD bound students                    in the   pipeline   He supervised
three   MS thesis students      in   rank that have graduated



Conclusions
There are many dimensions            to   the teaching    contributions         of a professor some measurable

quantitatively some measurable qualitatively                    On every dimension Professor Tiwaris
contributions     put him well above           the bar   his approach      to   teaching   not only what but why

his passion     for getting   students    to   learn his mentoring         of individual    students   his desire to


improve    his classroom      teaching     skills   and   his   constant   desire to   innovate his teaching

Professor Tiwari demonstrates the excellence that clearly                       supports this promotion




Summary prepared by Budget Council Member Professor Jonathan Valvano




Jonathan    Valvano




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Mohit Tiwari                                                                 Teaching Statement                                                                              June 2018

      I   have been          immensely inspired by great teachers                                 I   know      firsthand       that a great                  teacher      can bring a

subject alive            and at the same time impart values to do research                                       and live by As a professor                          at   UT Austin       I



have the privilege to grow as a teacher                                 and a mentor both by working with students and by team teaching a

course with some of the best teachers                                   in our department             In this   statement        I   will     discuss the key principles

and results from my teaching experience                                       and close with the plan for a four semester cybersecurity course

sequence          that   I   am helping              to establish at          UT Austin
1         Undergraduate                       teaching              Embedded Systems
Course Description                        I    teach      the      undergraduate          freshman course EE 319K                          Introduction               to    Embedded
Systems            This course                is   taken by students              in their      second     semester and              it    ties    computer               organization

imperative programming   and signal processing together into an extremely fast paced lab based course

The students             end with
                       competition   where they design a game from scratchincluding
                                               a                                          the graphics

sounds user inputs game logic and UART networking for multiboard gamesand evaluate their peers
games to decide the best games The                                      top two       teams in each section  4080 students compete with the top
teams from the overall class of about 350 students                                          This class is uniqueinstead of boards like Raspberry

Pi that         hide the hardware                   through        libraries     and emphasize either programming or sensor interfacing EE

319K keeps both of these in scope and adds human users who play the games and award points for games

being fun to play into consideration    EE 319K thus gives students their first end toend system building

experience
Teaching           goals          The     primary theme                 I
                                                                            emphasize      is   that   computer         engineering                is   undergoing            a   radical

transformation and               EE 319K concepts are at the heart of it CMOS technology scaling is slacking off new

computational                media mesh storage and computation in fundamental ways and computers are being used
in national         elections           and self driving carsclearly                       engineers       who can change                  everything            from human             ab
stractions         and algorithms to compilers and hardware will fuel our societys                                               future            Hence         I
                                                                                                                                                                     emphasize that

simply learning EE 319K material to solve exam problems will only get them a good gradeif they want
to have impact and have my entire research   lab help them with internships or undergraduate research

they have          to use     fundamental                 concepts          creatively    For example they can structure                               their game engine as a

principled state machine                           instead        of spaghetti        logic make interesting computation                               vs memory tradeoffs
                              software development
use professional                         processes put motion sensors to creative uses for their game or
iterate                   and implementation enough times that the game is
                their games design                                                  to play I bring in stu                                 fun
dents from previous
                    years to give tips on how  to design and engineer games institute awards for technical

achievement and code quality in addition to the best overall                                                 game and run several additional working
sessions with            TM and myself outside of lecture hours
      Furthermore                 I
                                      specifically        aim to train students             who are new to programming reach                                     the productivity

levels of students                    who have programmed                      in high   school        The key idea is to get students comfortable                                  with

abstractions         network                 layers are          a great      case   study      to    emphasize         the    importance                of    principled         control

flow state machines in 319K and data structures                       to structure programs vs       thinking in loops and con

ditionals as imperative                       languages encourage and  to explicitly write correctness   invariants for functions

and loops as opposed to writing quick and dirty code that is intended to be cleaned up using debuggers
To really learn fundamental concepts I use several small in class problems that access prior concepts in

new situations                I       am encouraged                to see that        every year one of the top two teams from my section that

goes       to   inter section           super finals has                    students    who had no serious programming experience beyond the
          to Computing EE 306 course
Introduction

Outcomes The outcome of these teaching techniques                                                is   that several       undergraduates                   want        to sign      up   for

researchI advise                      35 extremely motivated                      students      on undergraduate               research
                                                                                                                                                  every summer based                    on
their      performance                in EE        319K     I
                                                                 give   strong    writtenverbal           references          for several students                    who intern at
top       companies          Google             ARM Qualcomm etc and national labs Over time as                                                    I    have    become        better     at

                                                       and labs are merely starting
communicating                 that lectures                                                             points      my student feedback                         scores      have    risen

from 38 in          my first            stint      to 46 in        my fourth and most recent                    stint   the averagemedian90th                                percentile

ratings for EE 319K                    are    394143 In two out of four years student projects from my section have been
rated the best           game across all five sections
Students comments               and their impact on teaching                                 I
                                                                                               periodically survey students to adapt my teaching

Following my first                    midterm in Spring15 the first                       time I taught the course students suggested that using

old       exams and          lecture notes             is       insufficient     to   prepare well for exams                  Each instructor                  mix in 319K pro
duces exams that cover                         the   same fundamentals                  but in ways that sometimes                        differ
                                                                                                                                                       wildly from preceding
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Mohit Tiwari                                                  Teaching Statement                                                                June 2018

                                                             with sometimes timed problems during
years     I   Ience   I   started testing         students
                                                                                                                         my lectures            In the next

midterm over 50 of my students scored                          a 100       on the exam and credited the in class problems for their im

provement For the following year Spring16 I noted from CIS comments                                             that the difficulty       of the in class

problems could be tuned better and have refined the problems every year    I do not
                                                                                    get this feedback now
Instead my current  focus is on making sure  my board  work is clearer and  helps those who take detailed
notes based       on what         is   written    on the board
    In Spring17
                           my    section       went from 40 to over 70 and walking around in the class peering into students

computers did not scale well I heard from students that sometimes those who are further along must wait
longer while students who were learning programming for the first   time might be missed by my scans

Note      that   this     feedback       is   not in the CIS scores from Spring17                 these    were efiled out of class and hence
do not contain feedback                  from the entire class To address this limitation my graduate students and I built

software that creates workspaces that instructors                            have access    and each student can program This will allow

me to track everyones                   progress conduct surveys or watch and debug any students work collaboratively
in real    time during lectures                 We are piloting this with my graduate class                     this semester      and will use it        for

319K next semester

    More conceptually                   given the extremely limited time to cover 319K                     topics     there   is   a tension      between

focusing       on fundamentals              and teaching how to solve lab assignments                       I
                                                                                                                strongly believe         that    given    the

stepbystep         lab instructions             and the large number            of   TM that support EE 319K students should learn to
solve the labs primarily on their    own initiative Instead I try to use lectures to dive deeper into concepts
through        problems and discuss connections with other subjects they will learn in ECE I make it clear that
their primary responsibility is to acquire                    skills       in the lab that will   enable them to make a great final project

the game           While      this      leads to some complaints              in CIS comments       I    have   had several students thank                me
for this project          mode training once they have done some internships
Capstone design project                       Every year I advise a team of seniors in their year long capstone                          design project

My first       319K     students        are    now seniors and have            begun signing      up for capstone        projects     with      me After
two years of ambitious projects on building vehicle tovehicle networking                                    testbeds     we focused        on a simpler

project       a home surveillance system with several different                           sensors that we could polishthis projectwon
the best      Capstone project award in Spring18                       I   am also extremely satisfied that the team that won the best
project in the HonorsEntrepreneur                       category also had 4            of 5 students from my first 40 person 319K                    class

and that every one of the six award winning teams had students that I wrote                                        letters   for or recommended

based on their 319K performance

Undergraduate Research   I have advised 14 undergraduate students over the last 5 years primarily as
funded summer research interns The students have been coauthors in top tier papers HPCA15 PETS18

and HOST18 Best Paper runnerup they have                                   won SRC Semiconductor            Research Corporation fellowship

and the UT College of Natural Sciences Marjorie Morales Award                                     for undergraduate           research and four of
the ten       graduated      students         have gone on to graduate school

2   Graduate               Teaching             Secure Architectures

Course description                My graduate computer
                                             security course EE 382V introduces students to how sytems

can be attacked      how to architect secure systems The key theme is to specifically tease out security
                           and

concepts and demonstrate how they come up in hardware software and distributed systems The course
is taught through research
                           papers where we discuss                                   a
                                                           examples of complex but critical systems being
hacked           eg cars medical devices voting                        machines        mobile phones        and the clouddatacenters                     ana

lyzing the       systems vulnerabilities across computer            engineering socioeconomic    and human factors                                        b
formal models for security                including access control models information flow policies anonymity through

quasi identifier          based        policies   or differential   privacy and examples of applying these policies to different
scenarios        c mechanisms from VLSI design computer                       architecture operating systems and compilers to

generate randomness                and identities and to ensure isolation and enforce authorization                           rules      and finally      d
back to examples            to   see    how to compose the mechanisms
Teaching goals and methods                        The coursework            currently includes     8 weeks       of   assignments on basics           such

as applied       cryptography metadatabased                    information leaks           and fixes exploiting errors in applications                   and

                 systems and constructing                                                      system OS techniques                Two                    as
operating                                               defenses       using operating                                                    of the five

signments involve student competitionsspecifically                                   to extract secret    keys from power traces drawn from
FPGAs and to construct covert channel attacks                               across   virtual   machines    Students found          these   openended
assignments significantly more exciting than standard ones The course then launches into a 7 week                                                   project
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Mohit Tiwari                                                                  Teaching Statement                                                               June 2018

where students build a new                              artifact      and write a report at the level of a workshop                           paper      Prior projects

have used new architectures                             like       Intel   SGX to improve OS defenses new VLSI design tools to protect se
cret keys         eg from power channels and distributed blockchainbased                                                   smart contracts More generally
the   students goal isextend a top tier systems security paper to write a new one The students write for
                                          to


mal reviews for one research paper per class and discuss others reviews online before the corresponding

lecture      The class also includes remote attendees                                     from companies           who we invite to virtual lab sessions               and
office     hours and              precocious            undergraduates                  who   have      done extremely          well in other       computer        systems
courses
Outcomes Top                    students         from this course have subequently                        published      top tier     papers in security and archi
tecture conferences                   based on their course projectsbeyond                                the students     I   recruited   into     my research group
MS students have used their course projects to get fulltime and internship positions on related topics                                                                 The

course gets an average                         student rating of 425 in a typical class size of 2025 students




workduring
skillsreading
3         Freshman Research                         Initiative                Stream
      I   introduced            a Freshman Research                        Initiative     FRI streamie a 3 semester coursesequencefrom
January 2015 through                           December 2016 Our systems security stream trained                                    freshmen in research

             papers writing critiques conducting experiments using                                               systems tools        and presenting their

             Spring semester and had the students work on live research                                               projects with graduate             students      dur

ing Summer and                   Fall      semesters               Thus FRI         truly accomplishes both teaching and research                       objectives     in a

uniquely integrated                   way        FRI has been in existence                    for almost        a decade       and longitudinal tracking            data in

dicate that          FRI has multiple important effects                                 35 more FRI students graduate than a matched sample of
their peers          and        32 of FRI students go on                      graduate or professional schools vs
                                                                               to                                    of nonFRI students    9
Teaching          methods             and goals               The      primary objective of FRI is to involve undergraduates in conduct

ing science          research             from the outset of their college careers                            This course was a simplified version of our

graduate security course but with                                   my graduate student                as the   FRI streams research educator                   ie lead
instructortogether                         we set up concepts                                      paper and discussed them as in
                                                                              before reading a top tier research

the   graduate EE 382V course                            worked on almost the same assignments but with a whole semester devoted
to them      instead of 8 weeks for graduate students                                         Some of the students             stayed over the summer to do re

search while              all   returned         in fall to work with                graduate        students    on a variety of research projects in security
While  2015 stream had only 2 women in a class of 155 of 16 students in 2016 were women
            the

Outcomes Several of the 2015 students did their undergraduate honors thesis on systems securityhaving
finished        the stream            in their      second           year of undergraduate                 studies they came           back    to   do research      in the

201718 academic                   year          We are conducting                   a survey    to see    how the stream affected             their studies     and final
choice      of jobs        after      college           Of the 25 total streams in the College                        of   Natural Sciences            our stream was
chosen       as    one of the 6 spotlight streams in a 10 year anniversary                                          event       The   research      educator    RE role
in an      FRI stream            is   a    unique opportunity for a senior graduate                              student       or post doctoral scholar to learn
how to teachAshay Rane                                  our RE did a fantastic job and will                         apply for academic positions               in   Fa1118

Our undergraduate                     TA        Manuel Philipose continued                           to work    with us on research           and won     the Marjorie

Morales award for undergraduate                                    research        at   UT Austin
4   Computer Security Courses and Operations Lab
    Beyond my graduate course     am working to set up a 4 course sequence in computer security culmi
                                                               I



nating in a capstone course where students learn by securing UT Austins network of 150000 machines
      The    first       course is a meaty introduction targeted                                at   senior   undergraduates          and first year graduate stu

dents The goal of this course is to ensure that students understand                                                  the basics       of cryptography  and system

security        well      enough           to write      and operate web applications                         securely     The    next   two courses are intended

for serious security                  researchersone                      course will dive into security topics in programming languages op

erating      systems and architecture                              in a    systems focused course with the second course focusing on topics
in distributed             systems such             as    cryptographic                 protocols anonymity              and privacy       Clearly      concepts      cross

over between the two courses                              but                                   the difference                        by security work in
                                                                                     reflects                        in tools
                                                                    this    split                                                 employed
the       PLDI SOSP and ISCA communities                                      vs    those     used by     CRYPTO         and PETS communities even if both

communities               overlap          substantially            with the core         SP CCS and Usenix security community
      The    fourth         capstone             course will          be co taught            with the Chief Information Security                    Officer   CISO of
UT Austin Students will                           put   all   conceptsincluding                      data science    techniques learnt         from complementary


    1Reacling     list    httpswwwcsutexaseduusersfrisecurityoldspring15papers
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Mohit Tiwari                                            Teaching Statement                                                     June 2018

courses       in   ECEto defend the 150000            node UT Austin network               This network    generates   4TB of network
traffic      logs per   day allows       students   to bring in arbitrary       machines     vs     the locked   down devices     that are

used in commercial             enterprises   like   Google and have        to   run several    UTwide web services          ranging from
employee records to laboratory                web sites This course will provide              students   with a live testbed      instead

of a passive data set to          apply theoretical concepts        learnt      in the   previous   security courses   In   addition    this


Cybersecurity        Operations   Lab will serve as an evaluation          platform       for several research    and commercial       tools

that   all   claim   incredible   results on closed data sets

    This course sequence            is   part of a broader   initiative   in   UT Austin to build wellrounded          security   profes
sionals        For example students can take Robert Chesneys                      Law and     Policy courses that specifically      target

cybersecurity issues Overall               my goal is to help set up the Cybersecurity              Operations Lab and these courses
as the backbone                                           program at UT Austin
                        of a
                               vigorous    cybersecurity
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                                         Table 1 Summary of CourseInstructor                          Ratings


                                                           Metric                                                    Value

                    Total     number of students taught         in   organized courses                                   291

                    Average        instructor   rating for undergraduate        courses                                  405

                    Average        instructor   rating for graduate     courses                                          425

                    Average        course rating for undergraduate        courses                                        385

                    Average        course rating for graduate courses




                                                 Table 2 Course Schedule by Semester



   Course                F13           S14         F14          S15            F15          S16        F16           S17            F17           S18

                                   Teaching
  EE 319K                                                        41                         39                           78                        61
                                     relief


                                                                                                      Parental
  EE 382V                 9                          18                         19                                                  26
                                                                                                       leave




                 Table        3 Summary of Graduate Students Currently Supervised                                   at    UT Austin


  Student    NameDegree
                 Co
                                Supervisor
                                                                       Start

                                                                       Date
                                                                                     Date   Reached

                                                                                      Candidacy
                                                                                                         Date    Expected
                                                                                                         Reach Candidacy
                                                                                                                               to         Expected
                                                                                                                                    Graduation       Date

  Austin Harris                                      MS PhD           082013                                    Fall 2018                Spring   2019

   Ashay     Zane             Calvin   Lin CS             PhD         082012            042017                                           Spring   2019

  Casen Hunger                                            PhD         012015                                Spring   2019                Spring   2020

    Shiiia Wei                                            Phi         082016                                Spring   2019                Spring   2021

Sarbartha    Ban eriee                               MS Phi           082016                                Spring   2020                Spring   2022

  Willy   Vasquez                                         Phl         082017                                Spring   2020                Spring   2022

   Prateek   Sahu                                    MS PhD           082017                                Spring   2020                Spring   2022

  Pranav    Kumar                                         MS          082017                                Spring   2020                Spring   2022




   Ashay Rane and              I   started      working together in Spring 2014


Graduated        PhD Mikhail Kazdagli Spring 2018
Graduated        MS research assistants Daniel Santa Maria Spring 2017 Naveena                                        Sankaranarayan              Spring
2018 Rohith Prakash                Spring     2018
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                                                           Mohit Tiwari

                             Department of Electrical            and Computer Engineering

                                                    Course Rating Averages




Mohit Tiwari m128295 Assistant Professor                 ECE Department
What source was used to complete     this   chart   My CIS




EE319K Introduction         to   Embedded       Systems

                                             Number of
      Semester          Class Size           Responses              Instructor     Ratin         Course Rating

     Spring 2015           41                       26                       38                        36

     Spring 2016            39                      30                       43                        42

     Spring 201 7           78                      18                                                  33

     Spring 2018           61                       42                       46                        43
        Mean               55                       33                      405                        385
 CIS forms completed       electronically     outside     of class Hence   the   low turnout compared to other

years



EE 382V     Security at the Hardware Software Interface

                                             Number of
      Semester          Class Size           Responses              Instructor Rating            Course Rating

      Fall 2013             9                       9                        45                        45
      Fall 2014             18                      10                       40                        39
      Fall 2015             19                      13                       42                        38
      Fall 2017            26                       23                       43                        38
        Mean                18                      14                      425                        400


EE309K CS 378          Systems Security Freshman Research               Initiative   Fill   Stream
                                             Number of
      Semester          Class Size           Responses              Instructor     Rating        Course Rating

     Spring 2015            16                      IS                       36                        40
      Fall 2015             15                      3                        30                        33
      Fall 2016             10                      2                        50                        45
         lean               14                      7                       387                        393


Note FRI courses are taught by Research Educator                   RE with me
as   a mentor     My CIS scores here are thus not representative of my
undergraduate teaching
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                                                                               1




Course Instructor      Survey   Results



NameEID         TIWARI MOHIT       mt28295
Department      Elec      Computer Engr
Report   Date 07102018
                                                                                            Instruction   Enroll       of   Surveys       Avg   Overall             Avg   Overall

Semester               Unique    Course          Course Title                               Type          ment        Returned            Instructor   Rating       Course Rating

Fall   2013            17315     E E      382V   SECURITY       HRDWRESFTWRE       INTERF   Organized            9                    9                     45                  45
Fall   2014            17445     E E      382V   SECURITY       HRDWRESFTWRE       INTERF   Organized            18               10                            4               39
Spring   2015          15763     E E      309K   SYSTEM SECURITY                            Organized            16               15                        36                      4

Spring   2015          15980     E E      319K   INTRO TO EMBEDDED SYSTEMS                  Organized         41                  26                        38                  36
Fall   2015            16905     E E      382V   SECURITY HRDWRESFTWRE     INTERF           Organized            19               13                        42                  38
Fall   2015            50920     CS 378          SYSTEM SECURITYFRI                         Organized            15                   3                         3               33
Spring   2016          16145     E E      319K   INTRO TO EMBEDDED  SYSTEMS                 Organized         39                  30                        43                  42
Fall   2016            51675     CS 378          SYSTEM SECURITY IIFRI                      Organized            10                   2                         5               45
Spring   2017          16195     E E      319K   INTRO TO EMBEDDED  SYSTEMS                 Organized            78               18                        35                  33
Fall   2017            16890     E E      382V   SECURITY HRDWRESFTWRE     INTERF           Organized         26                  23                        43                  38
Spring   2018          15415     E E      319K   INTRO TO EMBEDDED  SYSTEMS                 Organized         61                  42                        46                  43
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Teaching         Evaluation of                Mohit Tiwari Spring 2015                   EE319K



This evaluation               is   performed by Jonathan Valvano and                         is   based    on EE319K team meetings individual

conversations            and interviews                      with   TAs and students



EE319K 44 students                        Lecture            RLM 6104        MW 300 to 430p

Positives        Lectures are extremely engaging                                Student attendance          is
                                                                                                                 very   high about     80 He gives            a    high

level    overview         of what             they       will   be learning and how the educational                 components        fit    together

Furthermore he gives                          low       level   details so   students learn not only why but how to develop embedded

systems He             has a clear interest                     and respect for     his   students    and    his   students have       a    respect      of him




Negatives         During lecture                    he can get        lost in   the calculations     and would          benefit    by working out the details

in   advance           When         I

                                        say   he sometimes             goes off on a tangent          it   could   also   be a positive However               it   is




always good to make the connection                                    between      the    major themes       of the lecture        to the     tangents From a

practical    aspect            he should work to return                      graded exams back to           his class     faster   because        students    are


anxious and            will    learn      more from their mistakes when exams are returned                                  promptly Also when teaching

a    lab class   like     EE319K              students benefit            from in class demonstration              of the tools      and the hardware So                  I




suggest     he try more class demos



Discussion         I   met         with       Professor Tiwari          multiple    times to discuss         teaching      in   general     and EE319K       in



specific    The dates and times of these meetings were                                      April   13 April 20         and April 27        all   at   9am


Summary Professor Tiwari                                is
                                                             just starting   out teaching     undergraduates              and has the       skills     and desire to

become      a    great educator                     I   was happy to team teach             with    him and look forward            to teaching with          him

next    spring
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                                                  Peer Evaluation             for Professor           Mohit Tiwari

1 Instructors name Mohit Tiwari

2 Evaluators name Deji Akinwande

3 Date that the evaluator                      visits   the class April 6 2016


4 Course number               and title          EE319k




5 Evaluators           signature


6 Date that the evaluator                      discusses      the findings with the instructor                    April      6 2016




                                                                       Peer Observation


EE319k        or Introduction              to    Embedded Systems               is   a   4 credit   hours lecture plus lab course taken mostly

by freshmen           2nd     semester           is    most   common          and     is   a   core course required           for   all   ECE undergraduates

The goal       is   to provide        a handson           introductory experience                   with    both CE and EE parts of the curriculum

 eg building digitalanalog converter blocks and writing software to interface with such devices                                                                      and

LCD screens directly


This    year there are 5 concurrent                       sections     Besides        Dr Tiwari the other sections                   are taught           by    Dr

Valvano        Dr Yerraballi and Dr Reddi                       All   the sections share homework                      sets exams one            official        set of

lecture       slides and      labs     everything excluding                  lectures      themselves            There are 10 labs one homework                            per

week      2   mid terms and                a   final



In   the course lecture of the peer review                            the instructor focused on recapping important concepts from

previous       lectures     surrounding                analog to digital       conversion           Nyquist      sampling theorem              etc There were

about 55 students of which around 1520 were students from other sections interested                                                              in   attending

Prof Tiwaris section                  Most of the students arrived on time


The instructor started the lecture by opening the floor for questions                                             and reviewing highlights from the

last   lecture       He spoke         in   a   very casual     sense that was very interactive                       with    the students and

approachable            Many     students              conversed      in   discussing the highlights from previous lecture and recent in

class   problem        sets The instructor repeated student                              questions     to   ensure      it   was    clear to   all    The recap            of


previous       lectures     and problem                 sets lasted    about 18min followed                 by   a   more detailed review and                    lecture

The lecture was often very interactive                          that many          students could respond to or ask questions without the

need    to raise      hands      It   was a very engaging                  lecture       on Analog to Digital conversion                  and Sampling

theorem         Examples were solved                     together     in   class


In   terms of teaching technique the instructor combined                                         powerpoint          presentations        with   blackboard

analysis to         enhance    the learning experience                      of the    students Since the class involves quite                         a   bit   of

programming in understanding                            embedded systems many students had their laptops open                                         so       they could

examine their codes              as    the programming issues and details were under discussion                                           Some of the students
appeared to be adjusting their code                           as class      lecture      progressed        There were also in class practice

programming functions Afterwards the programming concepts and methods were discussed

collectively
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Instructors           name Mohit Tiwari

Evaluators           name       Jonathan    Valvano


Date that the evaluator visits the class March                           6 2017

Course number and                title   EE319K       Introduction        to   Embedded Systems


Review
1     Describe       the course        eg required course lower or upper division EE319K                           is   a required
freshman level lab class



2 Describe           the topics of the particular lecture                  Today Professor Tiwari taught how to solve
finite   state   machines in       C using struct strings and arrays He used the example of building a
game to make the topic more interesting Next he introduced interrupts I like when he snapped
his fingers to get their attention At the end he introduced the creation of sound He did a great

job explaining         creating sound       output and sensing input


3 Discuss class attendance                  eg number of students and whether the students arrive on
time      Attendance          was 64 students out of 79 registered                and they arrived on time ready to learn


4 Discuss the instructors presentation                      skills       eg speaking clearly the pace of lecture
Professor Tiwari began with a review                   of the   last class      and an overview      of the current lecture      He
used a mixture of PowerPoint slides and blackboard                             The students were very engaged with the

game example and               later   they were engaged        with the prospect          of creating sound     He wrote a lot
of C code on the board talking                about   what he was thinking              about   while he was coding      He gave
them a program he wanted them to write and gave them time to work on                                   it   Then he solved the
program on the board Students felt safe to ask and answer questions


5 Discuss the instructors interaction with the students eg encouraging                                         questions He
stopped       five   times during the 75 minute lecture and asked for questions                        He had nice pauses after
asking a question             giving students    time to think           Does    that   make sense He was very positive
when     answering questions



6 Describe           students reactions         to the lecture           eg engaging Students paid attention Even
the students         in the   back row were taking notes             I   interviewed      four students after class     All four

were very positive             referring to  how engaging his lectures are how respectful he is to students
eg when getting               their focus   back onto lecture and how well he explains



Suggestions for improvement Look                       at board      from back row maybe adjust the blinds                to   make
it   darker    Write things on the board you want them to copy into their notes                             One trick other
professors use is to write out notes on paper                   organize the papers and then transcribe the paper
notes onto the board             This way     when you write on the board what you write on the board will be
more organized            Think of students two ways they are blind and can only hear you you are good

at explaining         with your voice         2 they are deaf and can only see what you write your message
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on the blackboard can be scattered Think of ways to make your boarding writing more

organized




Remember to repeat the question           so other students    will   better   understand   your answer        There

were two     slides that   hard to read   1   suggest   we zoom in the slides that are hard to read Draw                 the

stack before and after interrupt Consider printing the  question you plan                      to   ask in class   and

then pass it out This      way everyone knows exactly what you want them to it Some of the
students    in   the back did not fully understand       what being asked




Date that the evaluator discusses             the findings with the instructor          It could be the same day as
the visit    We met after class on March 6 430pm to discuss the review




Jonathan    W Valvano
Engineering       Foundation Centennial Teaching          Fellowship    in Electrical    Eng    No
Professor        Undergraduate Advisor

Department of Electrical       and Computer Engineering          C0803

University of Texas at Austin

Austin     TX 78712
voice       5124715141
email       valvanomailutexasedu
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                   Peer Evaluation           of Prof Mohit Tiwari by Prof Jonathan                    Valvano


Course Number and Title                       EE319K Introduction            to Embedded           Systems
Semester             Spring 2018             Type of Course    Required Freshman level
Enrollment           50         Lecture hoursweek     3     LabRecitation hoursweek                                       1




I Pre Observation            Meeting


What      is   the course content           A class that bridges software design and hardware design
involving       microcontrollers     On the software side students program in assembly and C On the
hardware side students           design circuits to interface I0 components like LEDs switches sensors

displays and networks            The analog to digital converter and the            digital   to    analog converter

provide the bridge between             the hardware and software worlds



Where does the course fit              in   the program   of study        EE319K     is   freshman     level   lab   required for

all   ECE students        and some BME students


Date of Meeting            The pre observation       occurred   Monday March 5


Observations         His biggest concern         was organization        of lecture In other words he wants                   to


improve the       structure    of each class




2 Classroom Teaching              Observation
Enrollment         50        Attendance        42      Classroom          EER1518              Start   Time          130p


Date of Observation             Monday 19 2018 130245


Places of excellence

           Class started     on time He introduced        class    with informal discussion about class

concerning past and future labs               Next he reviewed fundamental concepts from last time He
exposed both theory and practice               What is the key insight He showed                    slides and   also wrote on

the white board         He was very positive        responding      to   students   great     great great that                is


wonderful smiling great that is a very good question


His delivery      was     articulate   He used PowerPoint          slides   for structure     but wrote a lot on the white

board He paused frequently and asked for questions                       He used a number of techniques              to   capture
attention       changing    voice intonation this will be 20 points on the next                 exam walking back and
forth waving        his   arms polling the audience He makes frequent and appropriate eye contact                                  with

students       He was confident and enthusiastic


           He used the PowerPoint            slide to transition   topics The slides had a mixture of figures text
and software        The slides were informative organized                and   instructive    for   the purpose of the

lecture
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                He did an in class short quiz to see if students                 understood the key concepts              just 5

minutes The professor and TAs walked around answering questions


                He ended      class      with an extra problem students          should work on for next time



Places for improvement

                The   size of his writing           on the whiteboard could be larger so it would be easier to read He
should try black             or blue markers          The   contrast   of red   is   hard to read     When    he writes on the

board he should have gone from left                         to   right when he gets to the end of the board he should

have gone back              all    the   way left and erase


3 PostObservation                    Meeting with Peer Evaluator and Instructor
Date of Post Observation                       Meeting      Monday 19 2018 3pm However                     because      we were team
teaching         EE319K           spring    2018 we met most Mondays at 11am to discuss                      teaching



I   told   him how to get the darker glass markers We discussed                              organizing his writing on the

board       I   suggested         he look at students notes         after class to    see what they think they learned             from
his board         writing



Instructor Strengths

                Enthusiasm

                Communication              skills


                Willing to be innovative             in teaching

                Interactive


                Respectful



    uggestions for Improvements

                White board management and                  size of writing

                Color and contrast of markers



4 Interpretation                  of trends in course instructor           survey scores for the instructor

    Tiwari Mohit                               2015 Spring              38
    Tiwari Mohit                               2016 Spring              43
    Tiwari Mohit                               2017 Spring              35
His CIS scores are below average                       of EE319K       instructors    42 However             his   enthusiasm and

willingness           to   put the effort into teaching  is good He desires to teach this course on a regular
basis      and    desires to        improve   From the weekly meetings I see he tries new approaches to
teaching          evaluates        the student response From the weekly meetings I see he teaches more basic

fundamentals rather than                    delve into the details of how to execute            lab   assignments         Consequently
his students
                      may     learn
                                         more but require more effort to figure out stuff on their own                     and may
have contributed             to    the lower scores



Peer Evaluator                                                                           Date       5 31           2018
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PROGRAM      AFPDFGC2                                                   OFFICE     OF    THE  PROVOST
                                                            COMMITTEE   REPORT         MASTERS  AND DOCTORAL
                                                      FOR   TIWARI    MOHIT


                                                      LAST                MAST
                                                      CCYYS      COMM         OR             1ST                                            2ND
           STUDENT        NAME                Eli     ENRL     POSITION   °OCT             DEGREE              FIELD               CCYYS   DEGREE   FIELD   CCYYS


ANGEPAT          HARI     DAAS              hda73     20189    MEMBER     D


BANERJEE          SARBARTHA                 sD52324   20189    MEMBER     M        MSE                  ELECTRICAL     AND   CON   20182


CHEN       JIA                              jc64546   20189    MEMBER


CHO       SAMUEL        SUNGMIN             sc45274   20169    MEMBER     0        PHD                  ELECTRICAL     AND   CON   20168



CHOUKSE          ESHA                       ee27876   20169    MEMBER     0


GUVENILIR           FARUK     ALFREDO       fa9245    20189    MEMBER



HALPERN          MATTHEW      FRANKLIN      mh33338   20172    MEMBER              MSE                  ELECTRICAL     AND   CON   20162



KALBARCZYK              TOMAS2     S        tk7679    20189    MEMBER     0



KAZDAGLI          MIKHAIL                   mk32582   20182    CHAIR      0        PHD                  ELECTRICAL     AND   CON 20182


K HASAWNEH          SHADI     TURKI         Stk255    20189    MEMBER


LEBEANE          MICHAEL      WAYNE         mw1558    20186    MEMBER     0        PHD                  ELECTRICAL     AND   CON 20186


LI MENG                                     m138246   20186    MEMBER     0        PHD                  ELECTRICAL     AND   CON   20186



LIU       CHENGUANG                         c137533   20189    MEMBER     D



MAXFIELD          COLIN     GREGORY         cga2263   20182    MEMBER     M        MSE                  ELECTRICAL     AND   CON   20182



NIU       YICHUAN                           yn958     20159    MEMBER     0        PHD                  ELECTRICAL     AND   CON   20159


P   ANE    ASHAY                            asr596    20189    COCHAIR    0


SAMYNATHAN              BALAVINAYAGAM       bs33373   20189    COCHAIR    D


SANKARANARAYANAN                  NAVFENA   ns28754   20182    CHAIR               M    SE              ELECTRICAL     AND   CON   20182


SANTA      MARIA         DANIEL     RUIZ    drs2486   20176    CHAIR               MSE                  ELECTRICAL     AND   CON   20176



SAYILAR          GOKHAN                     gs23475   20149    MEMBER              MSE                  ELECTRICAL     AND   CON   20149



WANG       YEZHOU                           yw4528    20192    MtMBER     O        PHD                  ELECIRICAL     ANU   CON   20152



ZHENG       TIANHAO                         122293    20162    MEMBER     O        PHD                  ELECTRICAL     AND   CON 20182



ZHU       HAISHAN                           1123399   20182    MEMBER     0        PHD                  ELECTRICAL     AND   COM   20182
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List of   Post Doctoral    Scholars Supervised




          Aydin Aysu      Fall 2016     Summer 2018
              o   Co supervised with Michael Orshansky and Andreas Gerstlauer

              o       employment Tenure track Assistant
                  First                                        Professor North   Carolina State

                  University Starting Fall 2018

              o   PhD     institution   Virginia   Tech

              o   PhD advisor Dr        Patrick    Schaumont

              o   PhD date Summer 2016 July

              o   URL httpsresearchecencsueduaavsu
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 Budget      Council Assessment of Research                                  Publications             Other Evidence               of       ScholarshipCreativity

                                                                             Dr Mohit Tiwari


Summary


During his tenure as Assistant Professor Mohit Tiwari has established a stellar research program in secure

and trustworthy           computer          systems distinguished                     by   its    focus    on fundamental               security            vulnerabilities in


emerging        applications              and        architectures        and       the    development           of     mechanisms                   for     their    mitigation

Specifically he has created                      architectural         mechanisms that enable                  information leak              free hardware enclaves

containerized          data    for        web        services    and anomaly detection                    mechanisms            Prior to his                arrival    at    UT        he

created    oblivious           computation                  mechanisms         for    a    secure    processor          architecture                 while      working           as       a


postdoctoral          researcher at the University of California                           at    Berkeley At       UT he built upon prior work to solve
many of the security challenges and vulnerabilities in current computer hardware and software                                                                              He has a

very strong record of publication                             in the    highest quality           venues        with    14    archival           journaljournalquality

conference        articles      published             in rank    29     in   career and has been highly successful in raising substantial

extramural        funds to support his research                          Professor         Tiwaris research accomplishments                                   publication          and

funding    record and honors make him highly deserving of promotion                                                to Associate Professor                          with tenure



Research Area and Contributions

Dr Tiwaris research                  is   broadly           concerned     with improving security of emerging                               computing              hardware and

software     paradigms The                  proliferation             of social and cloud            computing          combined             with the quest                 for   high

performance in the past decades has exacerbated security vulnerabilities in modern computer hardware and

software In recent years severe vulnerabilities have been exposed in advanced                                                           processors including                      Intel


AMD       and    ARM processors Several of these vulnerabilities are not patchable in existing systems which
leaves    essentially         all   computers today vulnerable                       to certain      attacks       and motivates                 a   deep     overhaul of the

processor       design         Software              vulnerabilities         have    been       similarly       destructive            with          compromised             data      at


Facebook        and     data        breaches           at   Equifax      Target       and       Anthem         Health    proving            to       be    expensive         for the


companies and harmful for people whose data was breached                                             It   is   becoming increasingly                       clear that patching

vulnerabilities as they arise is not a sustainable                             approach         to building      computer systems that serve healthcare

elections and similar sensitive arenas of modern life                                      and arguably for any computer                              system in general



Tiwari and his group have                   made critical              advances      toward fundamentally                    rethinking              hardware and system

software to protect            data       His longterm goal is to move computing                               to a privacy first                model where users own

their data      while the cloud and applications                             only provide         computing        as a      utility    to the             users His research

approach     centers      around building enclaves as a primitive that users can                                             utilize    to ensure security                   of their

data   An enclave         is    a distributed               sandbox that enables            users data to be placed inside                            it    such    that    both the

infrastructure         eg      a cloud or a mobile device                      and applications            that compute          on the data are fully contained
within    the    enclave            A hardware software                   system that implements                   enclaves            as    a    primitive          will    greatly

simplify security         by taking             it   out of the       hands of cloud software and applications                              and associating            it   directly

with the     users data              The    challenge            is    to build enclaves            that are      indeed secure                  and       private     while       still




providing       all   the functionality                and performance              of current systems Tiwaris research thrust on Software

defmed Hardware Enclaves addresses                               these    challenges            A further challenge is to enable large internetscale
services to be run            on enclave based                 systems Tiwaris research                   thrust   on Containerized                        Data addresses          this
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issue        Together             these     thrusts are        important           first        steps     towards a full system stack                   where users work            with

modern web services while retaining                                   full    control           over both their data and privacy



Security           is        often    compromised              because         emerging                economies           such      as   mobile applications                and    new
hardware            systems such as sensors or persistent                                            memory technologies                  introduce          new    ways     in   which

systems can be hacked                          Hence       in a complementary                         thrust to      enclaved       data     Dr Tiwari has been working
on building anomaly detection                              techniques           that detect               hardware level abuses                 that   modern      attacks    rely    on
His work           on this theme has informed the design and evaluation of Qualcomms anomaly detector                                                                             He has

subsequently                  collaborated         with his colleague                  at       UT ECE Dr Shaldcottai                       on    protecting       a population        of

devices          specifically              by encoding            system level insights                      about attacks           into    machine learning algorithms

This approach of bringing systems and data science                                                    together results in increased transparency                          of security

alerts       and        is    a   stepping        stone    towards           Dr      Tiwaris vision                  of a       semi autonomous              security plane           for


enterprise scale                  systems



Software Defined                      Hardware Enclaves

A big           challenge            in    building        secure           enclaves            is   that    despite        encryption          and     access     controls        secret

information leaks                    through what are called side channels which can be any software or hardware signature

via which           attackers         use to infer information about the program Sidechannels                                                   include      various    system state

                                                                   emissions Side channels
       power draw
its                                or electromagnetic                                                                 are       typically    eliminated           by modifying        the


applications                 or the    hardware to normalize algorithm execution                                           or   add noise to the execution                 trace    One

major limitation of prior work                            is   that    it    almost exclusively                    focuses       on protecting         cryptographic         programs

and uses algorithm specific techniques to prevent the disclosure                                                           of cryptographic             keys These        techniques

are not directly applicable                        for protecting             data    inside          generic       programs such            as those        used for data mining

and machine learning on private data Another major limitation                                                         is   that prior work        defends each vulnerability

as    it   is   discovered             leaving defenders with many solutions                                       that are tricky        to put       together into a       complete

defense In fact a solution                          to one      vulnerability              can often end up weakening defenses                                deployed       to protect

other vulnerabilities




Dr         Tiwaris research has defined principled defenses                                                 that   can     close    a broad class of side channels                    for


arbitrary programs                     One technique used by Dr Tiwari relies on the insight that                                                 information leakage              arises

from a programs behavior                            ie      its   control          and data flow and                     its    subsequent       effects     on   the   hardware      He

proposed decoy execution                           as a    way     to close digital side channels                              that leak secret dependent               variations     in


program execution                                                                                                  paths not taken
                                          In decoy    execution              the                                                            by the current data
                                                                                   program takes                                                                           so that the


adversary           sees          paths that are          independent           of the actual                secret      data     Tiwaris research demonstrated                      that


decoy paths can be made to run correctly and securely                                                     Decoy paths will          detrimentally affect            program speed

and some of Tiwaris research focuses                                   on mitigating the performance effects of decoy execution                                            This work

was published in the top tier USENIX                                   Security            Symposium 2015 and 2016 and demonstrates how to design
enclaves         with very            little   changes         to existing hardware                       architectures




For situations where re configurable hardware                                              is   available          for example in Microsoft and Amazon cloud

services         that         deploy       FPGA       processors               Tiwaris                research       proposes a           new     microarchitecture           with     an

oblivious          memory controller to                    enable truly private data                          storage       and an    FPGA co processor to accelerate
it    This design places                    the    reconfigurable             hardware               at   the center       of security          This    is   highly     advantageous

since       the reconfigurable                 hardware can be designed to be trustworthy                                        and isolated from vulnerabilities in the
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host IntelARM              processors          When the processor itself can be re designed Tiwari identified shared resources
such as memory controllers                        as the   channels through                  which information leaks                   and proposed efficient ways

to partition them to prevent contention                           with an attacker program Tiwaris research                                       thus covers             a range        of

hardware and architectural                    mechanisms to guard various resources such as processor pipeline and memory

units against attackers                 This work           has been         published          in the          highly selective           conferences              such    as CCS

2013 ASPLOS 2015 MICRO 2015 HPCA 2018 Dr Tiwaris contributions                                                                         in this area          have been widely

recognized           The              won
                            work on decoy                       ACM Architectural Support for
                                                         execution                 the       Best Paper Award               at



Programming Languages and Operating Systems ASPLOS 2015 conference a top tier ACM conference

Dr Tiwari was invited                       to deliver a plenary             talk       at   NSFs workshop                focused on hardware                       security           In a

further      recognition          Intel      has initiated funding                 for   Dr Tiwari to rethink                    Instruction          Set Architecture                  for


security




Containerized Data for Web Services

The dominant way of using                          enclaves      is   to    ask developers to place                     application         components into different

enclaves           While   this    step       improves       security        by confining             the       damage     in one      part      of the application               from

spreading into         another         it    requires that       each developer be a security expert and have                                    full       knowledge        of their

own web application that is typically assembled from large pieces of existing code and                                                                         also understand

their users privacy              policies Even with               all      this   security      work one mistake                  in a deeply buried                library       could

lead to large        breaches          like   what occurred             at   Equifax



Dr Tiwaris data containers for applications                                  project          named DATS                introduced         data security                 as a service

for web       applications          by containerizing                 data        The    idea    is   that the data         is   partitioned          into    small segments

and     application         instances         are    orchestrated            to    be    confmed           to     one    data    segment         at     a    time Even            if    an

application         is malicious            Tivvaris       scheme prevents leaking data to unauthorized                                    usersservers             and from one

data    segment to another                  The    elegant aspect            is   that users who                use services      like     Dropbox           or Google        Drive

will   see    no changes          but continue           to create         and share folders but apps will be prevented from leaking data

across    folders Similarly for web services                            that      use Identity and Access                  Management              services on the            cloud

DATS         uses    the   policies         defmed in these             services         and automatically                enforces         them on web services that

access       the    data   they    control          Tiwaris research                contribution                has   significant      impact         in     that   it    frees   code

developers from implementing security features                                          This work          is    a major breakthrough                 in bringing the             long

standing field         of information flow control to modern web services                                             Prior to   DATS information flow control
research from          MIT       and Stanford required developers to use academic programming languages                                                                   and hence

the    artifacts     have been limited to small plug ins inside web services                                             With     DATS           entire      web services can

be     run    with     information                flow   control        with       support           for    databases           and    web service                languages            and

frameworks The               data      containers          work was published                   at    ASPLOS 2018 a top tier                      ACM conference                       Dr
Tiwari       and     his   students          have     also    been      working              with     commercial          enterprises            using        a   seedling        NSF
Innovation         Corps grant              to productize        a simplified version                  of DATS




Anomaly Detection                 to    Enterprise Scales

Attackers           gain    access           by    triggering         malicious              hardware            backdoors            by    stealing          secrets       through

microarchitectural               side channels              by   making            malware            to   stress       resources          and    through           other     routes

Malicious programs                malware often relies on user and developer errors and oversights to gain access
to sensitive data          via    new sensor interfaces and program                                 libraries         In order to place          defenses           against       novel
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threats    Dr Tiwari has been working on anomaly detection ranging from hardware level defenses                                                                                  deployed

to each device           up to a large population                    of devices



One     important         result   of    Dr Tiwaris research                          in    this    area       is    it   demonstrates            the    possibility        of malware

detection        via    monitoring            microarchitecture                               and     computational                                             His                is    that
                                                                                  usage                                                 irregularities                insight

modern         attacks     are     becoming          increasingly                anomalous               at    the        instruction          level    in    order   to    get    around

software level defenses                  or to abuse               corner case hardware behaviors                                  In
                                                                                                                                        response he uses contention                      and

computation            as a channel       to identify malware                     that      tries   to    steal       information or gain control                     over execution

by abusing hardware attributes                           A major advantage                    of hardware level monitoring is that even                                     if   software

level defenses          are breached          and software logs or software log files are untrustworthy malware cannot avoid

executing        instructions       to achieve           their ends             An enclaved hardware level detector is thus significantly more

trustworthy than software level detectors




An innovative            aspect    of Tiwaris work                   in hardware level detection                            is    that he      assumes that the malware will

adapt     to    any deployed            defense          Thus         the       system needs              to proactively                  measure the          detector      against      an

evasive        malware He          introduced             the      idea that unlike             classifiers               in traditional         machine learning malware

detectors        have     to   be evaluated              in    terms of their operating                         range to understand the range of malicious

behaviors that they              can be relied upon to detect                           In practice              this      dramatically complicates                   the    evaluation


methodology            to one that requires               realistic           replays      of real applications                   on hardware            and that also requires a

malware generator whose computation                                  can be synthesized to cover a range of behaviors                                            His MICRO 2016

paper and an ISCA 2014 workshop                                    paper discusses             these          topics       in    detail   and    this   work forms the basis of

his   DARPA grant on building open source processors with anomaly detection builtin


Each individual anomaly detector                              is   weak and has a significant number of false positives especially when

operated aggressively               to detect        previously                 unknown         attacks             Hence          a separate          project    aims to compose

detectors       that are individually                weak            in noisy         enterprises             The         idea here       is   to latch      onto attack          vectors

that   enable attackers            to    spread          through          a    population           of devices              These         vectors       can    include      emails that

include        malicious        attachments          servers that are routinely                           visited          by people in an enterprise or hardware

devices        that are   plugged        into    devices             If   malware can potentially spread through a vector Tiwari and his

team propose a way to amplify weak detectors by grouping their outputs based on this vector                                                                                 They show
that aggressively              looking    for suspicious behaviors                          along     attack          vector        lines can       both improve detection of

attacks    as they       happen and can be used to filter out false positives                                              in large datasets             such as from Symantec

a large antivirus               company            This strategy                 is   also    robust           against           new      attacks      since     attack     vectors      are


relatively       stationary         and        few        while           the     attacks      themselves                   change         rapidly        This     population       level

aggregation        of hardware level detectors resets the security foundation                                                      for enterprises            As Tiwaris research

demonstrates            data    enclaves        filter        system wide activity                   into a security                service      whose         output     amplifies the

effect    of anomaly detection



Publications and Impact

Professor        Tiwari has an outstanding                          publication            record with 28 top tier                         publications          in highly       selective

IEEEACMUSENIX                       conferencesjournals                         14 since joining UT and                             11
                                                                                                                                          peer reviewed workshop                   papers

3     since     joining        UT        In    the       computer               architecture          and           security        fields       the     top     conferences            from

IEEEACMUSENIX are regarded as superior to journals and hence                                                                       these       fields count      these     conferences

as journal equivalent               Workshop              papers in the architecture                           field       are peer reviewed and are recognized as
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equivalent       to conference         publications           His conference publications                         are all   in top tier            IEEEACMUSENIX
conferences such as MICRO ASPLOS                               HPCA CCS Usenix                            Security DATE and                       HOST


Significantly           his papers     have received prestigious                    awards at these top venues                          Tiwaris           CCS 2013              paper

that introduced           oblivious
                                        memory          controllers          in    hardware          was         selected    as       one        of the ten     best applied


security    papers from the top security conferences                              including      Security              Privacy          CCS and Usenix Security
His followup                                                                                                                                      Best Paper Award
                         paper on an       architecture              for    oblivious       computation                received         the                                          at


ASPLOS           2015    and was invited             for a    fast track       publication           in the        prestigious          Transactions            of Computer

Science     journal Tiwaris work                 on anomaly                detection       in   hardware           received           the    NSF CAREER award                         a


Google Research            award and a Qualcomm                      Faculty award for transitioning the work                                       published        at   MICRO
2016 to practice            Tiwaris recent work                 on enclaves              for post quantum               cryptography                   with   Dr OrshansIcy
and Dr Gerstlauer was a runnerup for the Best Paper Award                                            at   HOST 2018              Tiwaris ASPLOS 2014 paper

describing       a   language     to build secure            hardware was selected                        by the IEEE Micro Magazine as a Top Pick

from 2014 Honorable Mention                          across    all   architecture          conferences



Prof Srini Devadas           of MIT writes that               In       the   field    of secure architecture                     in   my opinion              Mohit has done

the best    work of anyone in his age group or pre tenure over the past several years Mohits work                                                                           stands

out    because       he builds the right kind                 of systems where                  at   least the         specification              of the systems can                 be

            to    have                                                     that    are     convincing             to   system                           and    cryptography
proven                     strong     security        guarantees                                                                       security

researchers alike




Dr Mihai Christodorescu                 who is a Principal Research                       Scientist         at   Visa writes           that      I regard GhostRider
paper      as a crucial      contribution        to the      area           This work opened                   the floodgates           of research into practically

minded     ORAM schemes and                it   is    likely the reason           why      leading         technology       companies Visa Inc included

are    deploying        or considering     such        approaches            in their products              and services                     I   see a focus in his             work

on     tackling       fundamental        challenges            and     creating          core        technologies            instead              of simply          addressing

the    limitations       of todays        trendy        technologies                     He      established             himself             as    a   key    contributor            in


several security          domains side channels                  ORAM intrusion detection                              privacy         architectures             I   addition          I



would     like to add that        I
                                      appreciate his focus             on building secure                   systems which are both more meaningful

and more relevant to the industry instead of limiting himself to popular                                                     security             attacks            He         is   an

exceptional          researcher         with significant             potential       for future           scientific    advances



Prof Andrew           Myers of Cornell University writes that                         Dr Tiwari has been                    at   the center            of security analysis

using information flow concepts                        we can expect                 his    work          to   have a lasting and recognized                         impact on

computer security                 Dr Tiwari is probably                    the top faculty            member of his approximate                           academic age               at


the increasingly          important hardwaresecurity                       boundary


Prof Scott        Mahlke     of the University               of Michigan            writes      that       Dr Tiwari has become one of                                    the   most

respected        and a true leader in the area of side channels                                  His research record                    is       impressive     with a           long

list   of top tier conference          publications           in the area         of computer             architecture       and security
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Research     Funding
Dr Tiwari has a stellar            record     in   garnering      extramural       funds     in   support   of his research        In total         he has

received    funding    for 15 projects totaling           approximately          $5 million with his share being approximately                        $35

million His funding record includes the highly competitive                           and prestigious         NSF CAREER Award DARPA

grants Google award Qualcomm                       Faculty   award Samsung             Huavvei etc His research            is   equally       valued by

federal    funding    agencies        and industry This level of funding                   has enabled Tiwari to support projects                      in   a


variety of critical    areas and to conduct innovative                 research      relevant to the        government     and industry



Peer Comparisons

Prof Tiwari has a strong record of research                       accomplishment             recognition      and citation      impact relative to

other researchers at his career stage               The   chart    below shows a summary of current institution date of tenure

as Associate      Professor        year of PhD Journaljournal quality                   publications         citations   from Google Scholar

and h index for several leading researchers in the computer                            architecturesecurity         areas within the past              few

years    20132018           Tiwari      is   proposed for promotion              effective    Fall   2019    As shown      in    the    chart Tiwari

compares very        well   with      other top researchers in terms of the                number of publications         in    top venues         and the

number of high impact             papers     as judged by his h index and the number of various awards received                                        The

raw number of citations               shows significant        variation
                                                                            among      the top       researchers and      is    a function         of their

research    subarea for example researchers working                        in artificial     intelligencemachine          learning related areas

tend to get a very     high number of citations




  Name Area                 Institution        Title      Dates             Pubs in          Cites      H   id     Honors       Awards        in   rank

                                                          PhD               top              Jul        GS
                                                          start   of        venues           27         727
                                                          current           in rank          2018       2018
                                                          rank
 Chris   Batten             Cornell            Assoc      201016            7                1983       18         3   CAREER
 ArchVLSI                                      Prof                                                                AFOSR+DARPA           YFA

 Daniel Sanchez             MIT                Assoc      201218            15               1673       19         5     CAREER Top pick            16
 ArchSystems                                   Prof                                                                17H17H          Best paper15




 Hadi                       GaTech     >       Assoc      201318            11               4160       22         6     AFOSR YFA Qualcomm

 Esmailzadeh                UCSD early         Prof                                                                FA Top pick1414H
 ArchMachine            tenure                                                                                     CACM14 Best paper16
 Learning

 Mohit Tiwari               UT Austin          Asst       201113            12               1150       18         8 CAREER            Best   paper
 Arch Security                                 Prof                                                                15 best paper runner up
                                                                                                                   18 Top pick 15H
                                                                                                                   Google award          2014

                                                                                                                   Qualcomm         award      2017

                                                                                                                   Security13 top        10
                                                                                                                   TOES Invitation15
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Conclusion

Dr Tiwari is a talented and deeply insightful researcher with innovative                               contributions   into the security       of

both hardware and software              While    in rank   he has made important contributions                   in hardware     and software

security    His publications         are clear insightful    and elegantly written and are in topnotch venues His record

of publication       in   the   highest quality    venues    is
                                                                  very strong      His    talents      on both sides of the        hardware

software     aisle   have enabled him to make novel contributions                  which many other security researchers who

are either    on    the   hardware side or the software           side have   not been unable to His research contributions

have been     recognized        through    a   number of awards         His research area         is    becoming increasingly        relevant

each day with the pervasive             nature   of social media and cloud computing                     and the prevalence of security

breaches      His    record     in   securing    funding    for   his   research   from a       variety        of sources   is   stellar     His

accomplishments           in research clearly     warrant promotion        to Associate Professor position              with tenure



Basis for Evaluation



This Budget Council             assessment     of Professor Tiwaris research             is   based on     a   thorough evaluation         of the

materials    assembled by the candidate for promotion to Associate professor with tenure indepth knowledge

of the candidates         activities   publications    and research       area and a peer group comparison                  with researchers

at   leading institutions




Prepared by Electrical          and Computer Engineering            Budget Council Members




                                                                          aveatAz7


Lizy Kurian John and Michael Orshansky 31 July 2018
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                                       5 Significant   Publications        in   Rank


Students     postdocs supervised by Tiwari are shown             in   italic



  1   Martin   Maas Eric Love      Emil Stefanov     Mohit Tiwari Elaine Shi Krste Asanovie                 John

      Kubiatowicz      Dawn Song    PHANTOM          Practical Oblivious         Computation     in   a Secure   Processor

      Proceedings of the ACM Conference on Computer and Communications                           Security   CCS pp 311
      324 November 2013 Berlin Germany NYUCSAW                           Best    Applied   Security   Paper of the Year top

      10 httpsHdoiord10114525088592516692

      Casen Hunger      Mikhail Kazdagli Ankit Rawat         Alex      Dimakis Sriram Vishwanath Mohit Tiwari

      Understanding Contention driven Covert Channels and Using Them for Defense                                 Proceedings

      of the International Symposium on High Performance                   Computer Architecture         HPCA pp 87101
      February 2015 San Francisco           CA httpsfidoiorg1011091IPCA20157056069


      Ashay Rane Calvin Lin Mohit Tiwari Raccoon                  Closing Digital Side Channels through

      Obfuscated    Execution      Proceedings of the 24th USENIX Security Symposium pp 431446

      August 2015 Washington         DC httpsHwwwusenixoranode190909

  4   Mikhail Kazdagli Vijay Janapa         Reddi   Mohit Tiwari Quantifying               and Improving the Efficiency of

      Hardware based Mobile         Malware     Detectors       Proceedings of the 49th International Symposium

      on   Microarchitecture     MICRO       pp 113 October           2016 Taipei Taiwan         Transitioned to

      Qualcomm Malware Research team led to Qualcomm                           Faculty   Award 2017

      httpsHdoiorg101109MICR020167783740



      Casen Hunger      Lluis   Vilanova Charalampos Papamanthou                    Yoav Etsion   Mohit Tiwari DATS

      Data   Containers for Web     Applications       Proceedings of Architectural           Support for Programming

      Languages and Operating        Systems ASPLOS         pp 722736             March 2018 Williamsburg           VA
      httpsdoiora10114531731623173213
      Lluis Vilanova   worked on    this   paper as a visitor   in    my lab in Fall 2014
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Mohit Tiwari                                                         Research           Statement                                                               June 2018

1     Overview
      My goal is to construct secure and trustworthy computer systems Several recent incidents have exposed
the deep flaws in todays systems Users of Facebook had their personal data shared indiscriminately and
without their consent through Facebook applications  A small error in an application library led to the
Equifax data breach that put 200 million users financial and identity data in criminal hands   Processor

manufacturers found that highperformance features built over the last two decades subtly subvert all soft

ware security mechanisms                        These three seemingly                 unrelated     debacles      are symptoms of an application                  centric

security paradigmwhere                          every application           is    a trusted       steward   of user data            and implements extremely

tricky security       techniques            on systems that may be actively subverting                                security

Vision My research                  pursues a radically different data centric security paradigm where users own their data
and always control                 access to it even as the data is created inside untrusted    applications and used across

mobile and cloud services                        Applications           merely provide            computational          utility    and cannot         affect    who can
access    the data or     how         it   is   protected        and audited           This data centric vision will put users and enterprises

back in control over their data with help from a few security experts                                            eg the security team                 at   an enterprise
whose decisions can be carefully audited At the same time datacentric security                                                          will    free developers       from

having to work with security techniqueslike                                     authorization        and access        control       code analysis application

layer firewalls       and behavioral            monitoringand open up new domains with extremely personal data that
are currently inaccessible                 behind regulatory hurdles

Research       Directions            We are pursuing three research directions to embed data centric security in a dis
tributed    computing              stackFirst we need new security mechanismsinformationleakfree       enclavesthat

can run programs without leaving a trail of metadata clues that an attacker can observe to reconstruct
the data Designing leak free enclaves when both the program inside the container and the platform ser

vices    outside     are untrusted              is   an especially challenging                problem       since      the two      can communicate              covertly

to leak    secrets   through          a    myriad         of stealthy      channels          Section   2 describes         software defined                hardware    en
claves    that offer     composable                  efficient     primitives      using a combination                of hardware         and compilers Second

datacentric       security          requires         a   new programming model                     that enables applications                   to   run in user owned
data containersthe                   key challenge            is   to   enable feature rich applications                    to     run with         high performance
Section    3   describes           how we adapt              the    popular Model View Controller programming model                                           familiar to

security novices         while our language and operating                               system techniques automatically                         import large and di
verse applications         into       our hardware based                    data containers            Finally        we observe          that threat       models and

systems components                  evolve constantly                to   spawn new attackshence                        Section         4 details an anomaly           de
tector    that   works    at       micro second             timescales in hardware                 and aggregates          anomalies as attacks               propagate
                      of millions of machines                       Data centric systems provide
across a graph                                                                                                    anomaly detectors with a cleaner sig
nal   free of application      and forces attackers into statistical attacks to escape enclavesthus these
                                      activity

approaches               with
                 compose well each other and greatly amplify the effectiveness    of a small security team

Current Status My research group has made significant progress in each direction Our work on software

defined     hardware enclaves                   defends security critical              post quantum          cryptographic              primitives graph          analyt
ics   and database        programs and has                       received       top   papers of the year          1
                                                                                                           2 and best paper awards    4 in                        3
both computer        systems and security conferences                                 The data container project                   5
                                                                                                                   received an NSF I Corps

grant     to help find a  market and is being adopted by cloud providers like CenturyLink and by financial
enterprises      to prevent Equifax like data breaches Finally our anomaly detection research    7 8 can                                                    6
preemptively         detect         a diverse class           of        and memorybased attacks that have recently garnered
                                                                    processor
significant      doomsday press                      This work received an NSF CAREER and a Qualcomm Faculty award and
forms the core of our open source secure processor                                     research     through       a   DARPA 55111 I program grant
Future Directions              I
                                    plan    to   build a semi autonomous securityplane for enterprise systems In the short                                            term
we will     design     instruction set                   extensions       hardware           accelerators        and compilers             that      enable users and

security experts         to synthesize                highlevel         security      policies     onto each device           and coordinate               them across a




detectionspecifically
graph of devices using a distributed security service   Longer term since datacentric systems separate
applications from security we can layer in active policies beyond access control and threat

          an enterprise system can proactively                                         set         data containers          to     be                 to           failure
                                                                                             up                                         resilient
                                                                                                                                                           many
modes and use anomalies not as a detector but                                         as a    predictor     to
                                                                                                        autonomously  respond and adapt to
attacks     By considering             the       attack    life cycle      at    the enterprise scale and using
                                                                                                                systems cohesively with                               ma
chine learning a small team of security experts                                  can helm large systems that meet enterprise objectives even
under attack
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Mohit Tiwari                                                      Research          Statement                                                                   June 2018

2      Software defined                  Hardware               Enclaves

      Programs        spill    secrets     Even     if   data     is   encrypted      and access            is   controlled            secret    information can         be

inferred    through        various       side channels      which        are mechanisms             for     observing        a programs digital footprints

through        the operating  system or hardware architecture  or physical ones such as power draw and elec

tromagnetic          emissions Side channel attacks have compromised encryption algorithms like AES RSA El

Gamal and the DiffieHellman key exchange as well as general purpose applicationsfor example our
prior work infers secrets from database queries                               1
                                                and covertly transmits data across virtual machines at

over 500 Kilo bits per second                  9 far higher than the       1 bit
                                                                                 per second threshold mandated for high assurance

cyberinfrastructuresidechannel
systems Confining programs
                     attacks        sabotage
                                                that     use secret data is the very foundation of a secure
                                               confinement

      Side channels           are exceptionally          hard to seal Over the past five decades numerous solutions                                             have been

proposed        to defend against side channel                    attacks such        as modifying               the applications               compilers operating

systems micro architecture                     and even         the gate level      logic family to              normalize or add noise to programs

sideeffects          These defenses        are point solutions            that    do not compose securelyone defense can break others
security    guarantees              For example secure caches that partition caches or randomize                                           the mapping           between

memory addresses and cache lines break memory trace                                     obliviousness             against        off   chip adversaries           Further

techniques       such as key blinding and metrics that limit information leaks                                            to a   few bits per second             apply to

                       programs and not to a
cryptographic                                broader class of programs such as machine learning graph algorithms

database       queries etc
      Our goal is to define principled defenses                         that   can efficiently        close       a broad class of side channels for the

above programs Specifically we target digital side channels which are side channels that carry information




leaksthese
over bits and digital logic in the system Digital side channels cover the vast majority of side channel attacks

that   use OS instruction              set or micro architecture                based   channels to break encryption                            and virtual machine
isolation       Analog         channels such         as   power draw              or electromagnetic               radiation typically                 require   physical

access    to attack       and physical          measures such            as    dual rail    logic     or capacitors              to    mask information
         techniques        are complementary              to our       work

Security decoy execution                  10 11 Our first key insight is that digital side channel                                        leaks    arise from secret

dependent variations                 in program     executionto close               these     channels            we propose to execute                 decoy    execution

that take      the   programs control flows along paths not taken by the current                                           input and        create      data flows     that

obfuscates       secret       values     Intuitively      decoy executions provably                    create       all    secret dependent sideeffects                  so

that   after    obfuscation           an adversary        observing any digital side channel                        sees a trace           that   is   independent       of

the current       secret       input     Decoy     paths are challenging                to run correctly             without            crashes    and exceptions

securely       controlling          hardware      sideeffects          using only architectural                  registers as trusted             memory and ef
ficiently   without exponentially                  increasing the number                of extraneous             control and data flow instructions

Our initial work 10 shows that decoy paths are indeed                                   feasible to run correctly                     and securelywe consider

this   design as a foundation              that   fixes    the root      cause of digital side channels                     We then significantly improve
the    performance            of   compiler driven         obfuscation          and mitigate leaks                through         floating       point    computation
with sub normal operands                   11 With over 10x slowdown                           over native non secure                      execution       but almost
10x    faster   than the closest           prior   work          our second        critical    task    is    to    tune performance                without breaking

security

Performance customizable                       microarchitecture               1 3 12 13              The        security        guarantees of compiler tech
niques as well as performance                                                                 programs have                           over micro architectural
                                                  optimizations require              that                                  control

sideeffects       that attackers         can    observe          While    the baseline         decoy path design assumes only architectural

registers to      be under explicit software control                       we propose a new micro architecture                                  where software can

                                                                                              arrays 1
use an oblivious memory controller                         to    index    into secret                  and proposed to instantiate                               it   on an
FPGA co processor to both accelerate                       it    and isolate it from processor vulnerabilities                              The subsequent pop
ularityof FPGA servers to accelerate  search and machine learning as well as egregious vulnerabilities

inIntelAMD ARM CPUs suggest that our FPGAbased oblivious memory controller is a safer deploy
ment path for computation on sensitive datasets Beyond memory controllers the main CPU pipeline itself
can be customized                  by either partitioning shared units like memory controllers                                        to prevent       contention      with

an attacker                          12 shaping the utilization of attacker visible resources such as page accesses and
                                                                                                                           3
                  program
more broadly exposing              control over micro architectural timing to software  These works lean primarily
towards        hardware        support whereas the decoy executions rely only on architectural registers and cmovz
instruction      for securityone               of our     primary goals is to define an oblivious                                instruction       set that separates
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users security requirements                 from concrete             implementations against different                             threat       models
Metrics      Side channel privacy The broad class of programs                                               we target like machine                    learning graph algo
rithms and databases cannot use traditional metrics                                       like    bits      per   second     to measure the effectiveness                   of a

defense      The     bits
                            per second       metric        applies       to secret         keys     since         keys are      random          bit
                                                                                                                                                       sequences whereas
program inputs rarely follow a uniform distribution and leaking a few bits might be sufficient                                                               to leak a     med
ical   or financial    secret     in an    otherwise        large dataset                Worse program inputs are strongly correlated with                                       a

diverse              of sideeffects         and perfectly             normalizing           all    side effects          will    impose extravagant                 overheads
            range
for programs         such as database         queries or graph                analytics In current                   work under submission we propose
side channel      privacy as a new metric             for microarchitectural                      sidechannelsie                     to shape           side channel     traces

such     that the sideeffect of the current                     secret      input    is   concealed             among      that of a large set of               inputs     Side
channel privacy has lower overheads than normalizing each execution to produce the worst case trace and
    retains quantifiable security guarantees through a novel method of applying differential privacy to time
yet
series data

       Our work on software defined hardware                             enclaves                the    first     composable         defense            against digital side




channelsby
                                                                                           is

channels       In contrast         prior defenses          have        broadly pursued                  two disjoint fieldsinformation                           flow control

and memory trace obliviousnessalong                                  with a host of point solutions                       that are        non trivial       to compose       se
curely The decoy path approach strives for completeness                                            first        using compilers            to   carefully       normalize all

control and data flow related side effects                           of secret      data But generically obfuscating                            digital    side

   normalizing all behaviors or using oblivious memory accessesis expensive so we customize both the
micro architecture and the security policy to a given program and its side channel traces across inputs

We propose micro architecture                 mechanismsoblivious                           memory controllers and privatequeuesthat pro
grams can use to customize hardware utilization to programphases Interestingly we show that program
phase specific customization can be achieved while concealing the current secret input in the crowd of
all   possible     program inputs           ie guarantee side channel                             privacy         instead       of strict       isolation       Overall     our

compiler analyses and configurable                     micro architecture                   units       can enable efficient side channel                        freedom for

a broad class of programs

3      Data containers              for     Web Services
       Data breaches        are    expensivea          single          breach        has    cost        companies          like    Anthem              Health     Target    and

Equifax over 100M dollars each As enterprises move towards using untrusted software as a service across
mobile and cloud machines sensitive data is exposed to breaches through largescale web services      In

healthcare        especially       the loss of sensitive               medical       history           is   irrevocable          Financially insurance               agencies

likeLloyds have suggested that cyber risks are unusually systemic unlike natural disasters that affect
specific regions and are potentially too big to cover Our goal with datacentric security is to eradicate data

breaches     through        web services
       Breaches     occur   because       data is vulnerable                when     in use by applications                      For example a healthcare mes

saging application           app          has to view and execute                    queries           on clear text data            If   exploited the application
can legally access          the entire     database        and exfiltrate sensitive medical records to an unauthorized                                              user over

an HTTPS          channel that cannot be firewalled                          at    the    network            layer    Regulating            access       control    processes

through      HIPAA compliance               or encrypting             data at      rest    and in transit do not address such breaches                                through
compromised           apps        Instead    enterprises             rely   on a complicated                    tangle    of partial        code analysis tools dur

ing    development          and web application                 firewalls          patching        tools        and machine learning based                       log analysis

during deployment             to protect data         in   use
       Our projectDATS              51introduces                 data security            as a service for web applications                              Our key insight is
that instead of protecting             data tangentially                 by protecting            applications             to protect        data explicitly         by using
access    control     rules to segment         the database              into      small segments                  and orchestrating                  application    instances

to    be confined      to   one data segment               at    a   time         DATS effectively                takes    users access control                 policies    and

automatically        translates      them into information flow control policies on untrusted                                               apps As a result even             if



an app is malicious           or compromised           it       cannot leak data            to    an unauthorized                user or remote            server
       Traditional    research      approaches to information flow control                                      IFC are extremely hard to program                            for

and also introduce           major performance                  overheads           Instead            we address the             programmability challenge by
presenting        a security agnostic         application             design pattern to developers while transparently                                       implementing
novel     robust declassifiers            to safely    place          data   from different                  data containers         in the same storage service

or user facing        view      Furthermore          we present data containersoperating                                        system containers               orchestrated

to run    fast in    a datacentric        security    system Data containers can optionally use hardware capability                                                      based
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finegrained confinement                   techniques       to further bring       down worst         case performance          overheads
       DATS frees developers                from implementing security                   features   and allows them to focus              on compelling

functionality           only Applications             written in popular model view controller                     frameworks     can almost directly
be ported to efficiently                run on DATS Developers need                    not be security experts

       For enterprises that use Dropbox or Google Drive or use Identity and Access Management                                               systems that
store access control             rules application          users will    see    no changes Users continue to create and share folders
but with the additional guarantee that apps cannot leak data across folders or outside the system DATS

thus frees enterprises from vetting each application they entrust with sensitive datathis could unleash

many creative apps for users and enterprises that today do not have access to sensitive data
       In    summary DATSs support for feature rich performant web services could enable data centric secu
rity    to    become the default paradigm that reestablishes users control over their data and privacy Hence
we have                 NSF Corps program to find a product market fit
                undertaken         the           I                                                                   and have     spent over an year

piloting prototypes               MongoDB and other cloud providers
                                 with CenturyLink                                                                    and enterprises

4       Anomaly Detection  from Hardware   to Enterprise Scales

       Access     to    private   data     makes applications           and even         our   DATS       platform a prime target for malicious
applications           or malware             and deep technical problems have to be solved before                            DATS      and application
services become               trustworthy        In particular        existing   hardware         architectures     form porous foundations               that

allow attackers to gain administrator privileges                            by        hammering rows          in   DRAM      or triggering     malicious

hardware backdoors                 for example that abets attackers                    in stealing secrets     through      micro architectural side

channels         and that can force missed deadlines                     Applications          and DATS        mobile components introduce                 an
additional challenge            While several OS techniques rely on discovering exploits mobile malware does not
use exploits             Instead malware preys on user errors and new sensor interfaces to access sensitive data

on developer             errors in      one   of     many program libraries to execute                    malware with        a trusted    applications

privileges or it             can even succeed         by using the users device            only as a networked             machine      Without   exploits

to detect       existing       anti viruses          OS level techniques         and program analyses fail to detect                 a large fraction       of

modern malware
   We observe that while seemingly disparate both hardware level attacks and mobile malware have a
common featurethey rely on hiding their hardware level computation from operating system OS level
monitors              Hypervisors and operating          systems do not monitor micro architecture usage for side channel
leaks while mobile operating                     systems do not track computational irregularities in applications This ob

        opens up a new opportunity for defenseexpose hardware computational signals such as pro
servation

grams instruction set and microarchitecture behavior to analysis We propose to use this computational
information to formally                 study the use of hardware structures as communication                              channels     and specifically

to model malicious               behavior as interference in these hardware                       channels

       Hardware          computational           signals   come with unique              opportunities       and challenges          On the one hand
hardware computational                    signals     promise a smaller trusted code base and access                        to ground    truth informa

tion even        if    the   OS is compromised             or the   malware       is   stealthy     On the other hand semantic              information

about programs                may be harder to reconstruct at the hardware                        level   and a malware        analysis tool      risks   be
ing     drowned         in false positives           and false negatives         Our goal      is   to handle      these   challenges even when            an

          adversary
intelligent             actively   is                trying to   evade    our analysis Towards               this   end our     analysis of    hardware
channels comprises of the following specific directions

Contention as a channel                    9 We        begin by quantifying the unexplored                    capacity      of covert   channels which
                                                                                                               from transmission and explicitly
rely on contention
                                for shared       hardware        By separating          synchronization

spending a onetime                effort    to synchronize         precisely     at    the beginning       we demonstrate up to 1 Mbps capac
ities   that are             than reported in prior work However contending for hardware resources
                        105000x         larger
make the attacker observable to a defense that monitors instruction set and microarchitectural statistics

  response we show that an attacker can hide behind OS and hypervisor noise to evade detection
In                                                                                                      To

counter such intelligent attackers we propose a novel detector that deliberately introduces noise to mimic

a    real    application       and      thus stays hidden          from the intelligent attacker              and yet monitors hardware             statis

tics    to classify      executions into malicious               vs    benign         This research       thrust quantified      detection    results      for

side channel           detection        games    in contention      driven hardware channels

Computation as a channel                    6 7 We          next    apply hardware signals to model benign program computation
and thus detect              mobile malware as computational               anomalies To accurately model an intelligent adversary

we construct            a taxonomy         of mobile     malware behaviors and build a malware analysis platform comprised
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of both existing      and systematically               diversified     synthetic      mobile malware Further we enable realistic re

producible              by selecting a set of computationally diverse benign applications and build tools
                  experiments
to record and replay over 1 hour of real human usage for each benign and malware application Our initial

results in detecting        malware as a computational                  anomaly are promising and show that                            a    relatively small

software level malware actions such as stealing an SMS or a photo are measurably                                                 anomalous compared
to a   benign programs hardware                       signatureintelligent malware                will   have to dramatically slow                    down    its

execution to       avoid detection         and        b hardware       analysis     complements          static
                                                                                                                     program analysistechniques
to hide    from static program analyses make the malwares hardware                                     executions        more anomalous               These re
sults are surprising given             the lack       of semantic information           at   the hardware        level    and open up new research

into transparent       hardware based                 malware detector

41      Composing Weak             Detectors          in Noisy Enterprises

      Behavioral     detectors     do not compose well This is because malware                            operates at          extremely diverse time




diversemalware
and system scales to evade detection                      For example malware bypasses network                           firewalls and packet           inspec
tions    by luring employees            to execute         an email attachment               phishing    attack        or to   visit    a   URL waterhole
attack     that   runs malicious         exploits        on the employees machine                  The    associated        timescales are

               campaigns      to lure users           through such phishing and waterhole attacks can last for hours to sev
eral   days and involve         thousands             of devices At the other extreme malware exploits such as JITROP or

DRAM RowHammer        break operating system level defenses on a single machine to gain
                                                                                        super user privi
leges within micro seconds to a few seconds Composing a single global detector from network OS and
hardware levels is         difficult    because the attacks            have such     diversity of scale

      We propose a scalable paradigm
         8
                                                         to detect    malware in precisely such noisy and transient settings pre

print            Our key    observation          is   that attack     patterns induce transient correlations across time and nodes

users The naive approach of ignoring the low dimensional structure induced by these                                                     transient      commu
nities    and simply throwing             all   alert    logs into    a global classifier         can lead to excessive                false
                                                                                                                                               positives     and

any signal will be drowned                 out by noise in the firehose of alert logs Thus our goal is to automatically                                      an
alyze    and reason from alert logs at scale 100000                     nodes with tens to hundreds                     of millions of alerts         per day
and from a heterogenous mixture of local detectors potentially                                   different      local    detectors across           the nodes

and develop an algorithmic and statistical framework to substantially drive down the effective number of

alerts   to   human processing           scales       order of tens to hundreds              of alerts   per day
      To address this goal we introduce                   two ideas 1 Structural actions such as visiting a website waterhole

attack     by nodes correlate           well     with malware          spread and create            dynamic           neighborhoods            of   nodes that

were exposed to the same attack                        vector     However         neighborhood         sizes vary unpredictably                  and require

aggregating        an unpredictable             number     of local    detectors     outputs      into    a global       alert    2     Statistical     feature

vectors       corresponding      to true        and false positives          of local    detectors       have        markedly     different         conditional

distributionsie            their   shapes        differ     The     shape of neighborhoods               can     identify
                                                                                                                               infected     neighborhoods
without having to estimate neighborhood                         sizeson 5 years of Symantec detectors logs ShapeGD                                      reduces

false    positives   from    1M down to 110K and raises alerts 345 days on average before commercial anti
virus    products in a waterhole                attack    simulated     using Yahoo web service logs ShapeGD                                detects    infected

machines when only 100 of 550K are compromised

5      Future Work

      My future work includes getting to substantial milestones that others including                                            commercial           processor

vendors can build upon in each of the above                            three research         directions       Concretely        this    includes      creating
different      RISC and CISC variants of oblivious           and applying them to programs from artifi
                                                                      instruction     sets

                                                                                 programs that work with
cial intelligence block chain consensus graph algorithms databases and similar


secret data Mapping similar applications into data containers will require creating language level exten

sions to handle user facing                                     as well as   program analysis and logging to support debugging
                                        functionality                                                                                                         of

data containerized         web services without showing developers                              user   data We           are currently         working with
the    UT Chief Information Security Office to apply our enterprise                              malware detection techniques to an active

network        instead of static datasets               This step will    pose new challenges in making                        our algorithms work on
limited       timewindows       of streaming            data without      ideally losing track of malicious                     anomalies

       Beyond these individual milestones I aim to compose the three primitivesusing                                              leak free enclaves          to


run data containerswhile backing up data containers with per host and enterprise level anomaly detection

Clearly by removing application level activity from security logs the machine learning algorithms will get
far    cleaner    access control        relevant        logs    Further since       data containers            tie   confinement         to access control




                                                                              5
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applications      cannot violate users privacy       by making   small application     layer actions and instead have to
use statistical    techniques   to   overcome     OS and hardware level isolation        Forcing attackers   into   statistical


attacks  and observing their logs more clearly should ideally make malware more anomalous    Finally we
will   move towards more proactive defenses where data containers enable setting up a resilient array of
containers   that   can work with anomaly          detectors to predict   suspicious   neighborhoods    of containers      and

activate   responses that bolster      defenses    at higher performance cost    or    migrate computation Overall         my
researchs goal is to place effective security controls in the hands of a small team that can defend enterprises

from data breaches      and malware
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                                                                                   Table           1 Research Summary

                                                                                        Metric                                                                           Value

             Peerreviewed             journal     publications          in rank and total                                                                              2+1          6+1

             Peer reviewed journal equivalent                           conference             proceedings        in rank and total                                      12         22

             Number of journal papers in rank with supervised students                                              andor postdocs            from UT
                                                                                                                                                                             1+1
             as   coauthors
             Number of journal papers in rank with supervised students                                              from UT as coauthor                                      1+1

             Number of journal equivalent conference papers in rank with supervised students                                                         andor post
             does from UT as coauthors

             Number of journal equivalent conference papers in rank with supervised students                                                         from UT as
             coauthor

             Total      citations     of all publications            career from ISI Web of Knowledge                                                                        178

             Largest      number of citations             for    a single paper based                 on work       at   UT ISI Web of
                                                                                                                                                                              29
             Knowledge
             hindex career from ISI Web of Knowledge
             Total      citations     of all    publications         career from Google                      Scholar     as ofJuly I 2018                                 1119

             Largest      number of citations             for    a single paper based                 on work       at   UT Google           Scholar                         143

             hindex career from Google                        Scholar                                                                                                          18

             Total      external      research funding           raised      in   rank personaltotal                for   UT                                       $356M$505M

             NOTES
                      +1 invited        paper to Transactions on Computer Science TOCS based on ASPLOS15 Best Paper Award
             Ghostrider               A hardware software system for memory trace oblivious computation

                         ISI    Web of Knowledge                is   missing crucial            papers        2   and     8 from Google Scholar ordered by          citation    count
             and likely others             it   has    far lower citation              counts than Google                Scholar   for the    same papers and has a different set of

             papers       when ordered by citation                   count


             Table        2 Current External Grants and Contracts

      Role of Candidate         and                                                                                                                      Project   Candidates
                                                                                           e                                                    cy                                        Grant Petiod
        Co Invest iga tors                                                                                                                                Total       Share

                                                CAREER        ExoCore An           Architecture to Detect         Malware
Pl Mohit     Tiwari                                                                                                                NSF CAREER            522000      522000               2015          2020
                                                as Computational Anomalies

                                                SaTC CORE Medium                  Guarding Noisy Neighborhoods
PI Mohit     Tiwari                                                                                                                NSF                   1200000     400000               2017          2021
                                                with   Weak   Detectors

     CoPis     Sanjay    Shakkottai

         Constantine       Caramanis

                                                CSR Medium           Extensible     Distributed Systems          Solutions
PI Christine Julien                                                                                                                NSF                   400000      200000               2017 2019
                                                for   Community      Supported      Child Independent          Mobility

     CoPI    Mohit Tiwari

PI Mohit     Tiwari                             Cyber Security Research           on    Power Models                               Lockheed    Martin    500000      166000               20162018
     CoPls     Michael     Orshansky
     Andreas    Gerstlauer

PI Mohit     Tiwari                             Mobile   Data Container                                                            General   Dynamics     166000     166000               2017   2019
PI Mohit     Tiwari                             Ensembles     of Moving Target           Defenses     for   Scalable    and        DARPA
                                                                                                                                                         748556      748556               20182021
                                                Composable      Hardware        Security

PI Nfohit    Tiwari                             Fine Grained     Contention       Detection        and Mitigation                  HuaweiCS
                                                                                                                                                          124000     62000                2018   2019
                                                                                                                                   Systems    Lab

     CoPI      Mattan    Erez

PI Mohit     Tiwari                             PSigns   Power       Channels     for   NIalware     Detection                     Google    award        50000      25000                       gift


     Co PI Vijay        Reddi

PI   Mohit Tiwari                               hardware based        N1alware Detection            Faculty   award                Qualcomm award         125000     125000                      gift


PI Mohit     Tiwari                             Anomaly     Detection     for Cloud        Radio    Access    Network              HuaweiWNCG             100000     30000                 WNCG gift
     CoPLs     Sanjay    Shakkottai

         Constantine       Caramanis

Total                                                                                                                                                    3935556    2444556
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                         Table 3 External Grants and Contracts Awarded                                                  in Rank        and Completed


      Role of Candidate      and                                                                                                     Project           Candidates
                                                                      Title                                        Agency                                           Grant Period
         Co Investigators                                                                                                             Total              Share
                                         TWC      Medium         Collaborative Research

PI Mohit      liwari                     DIORE         Digital   Insertion    and Observation                 NSF                    416000             416000      20132017
                                         Resistant      Execution

                                         Establishing a Science           of Security Research

PI Mohit      Tiwari                     tablet   at   The   University of Maryland               Human       NSA                    62726               62726      20142017
                                         Reasoning       about Privacy       and Security

                                         Hardware       Introspection        Mechanisms       for
PI Mohit      Tiwari                                                                                          Samsung                100000              100000     20162017
                                         Debugging       and Security

                                             Corps     Trustworthy Cyberspace             through
                                                                                                                                                                           2016
                                         I

PI Mohit      Tiwari                                                                                          NSF                     50000              50000      2015
                                         Data security       as a Service

                                                                                                              CFAR
                                                                                                              Center at
PI Mohit      Tiwari                     Architectures       to Protect      Data   in   Motion                                      485000             485000      2015   2017
                                                                                                              University    of

                                                                                                              Michigan

TOTAL                                                                                                                               1113726        I    1113726




                                                 Table       4 Pending External Grants and Contracts

      Role of Candidate      and                                                                                                                       Candidates
                                                             Title                                     Agency                    Project   Total                    Grant Period
         Co Investigators                                                                                                                                Share

PI Mohit      Tiwari                     Intel   ISRA     Oblivious
                                                                                            Intel                                  300000               300000      2018   2021
     1111JC Co   PI Chris Fletcher       Instruction     Set Architectures

                                         Salt CORE Small
PI Mohit      Tiwari                     Collaborative       Oblivious       ISAs
                                                                                            NSF                                    500000                250000     2018   2021
     UIUC CoPI Chris Fletcher            for   Secure and     Efficient      Enclave

                                         Programming
Il   Nlohit   Tiwari                     Mobile      Data Containers         Year 2         General    Dynamics                    217000               217000      20182019
PI Mohit      Tiwari                     Cyber Security          Research    on             Lockheed      Martin
                                                                                                                                   250000                83000      20182019
                                         Power    Models

     CoPIs Michael     Orshansky
     Andreas   Gerstlatier


TOTAL                                I                                                                                             1267000              850000
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Mohit Tiwari                                              REFERENCES CITED                                                          Tune 2018




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     the 2013                                                         38    Communications           Security   CCS 13 pages 311324
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     tional    diversity
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     2015 USENIX Association


11   Ashay Rane Calvin Lin and Mohit Tiwari Secure precise and fast floatingpoint operations on x86
     processors In 25th USENIX Security Symposium USENIX Security 16 pages 7186 Austin TX 2016
     USENIX Association

12   Ali    Shafiee Akhila Gundu Manjunath                   Shevgoor      Rajeev     Balasubramonian         and Mohit Tiwari Avoid

     ing information         leakage     in    the   memory      controller    with   fixed    service policies     In    Proceedings     of the

     48th    International   Symposium         on Microarchitecture        MICRO 48 pages 89101 New York NY USA 2015
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13   A Shafiee R Balasubramonian M Tiwari and F Li Secure dimm Moving oram primitives closer
     to memory In 2018 IEEE International Symposium                           on High Performance      Computer Architecture         HPCA
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                               Mohit            Tiwari                                                                                                           Cited    by                                                 YEW ALL

                               Assistant        Professor        UT Austin                                                                                                                              Ar                 Since 2013
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                                         Budget Council Assessment                                      on Advising
                                    for the   Promotion Candidate                                       Mohit Tiwari


This statement            on advising                 to     students           by    Professor         Mohit           Tiwari          was prepared           by    the

Budget      Council       Member               Professor            Vijay K Garg                  It    makes an assessment of advising                               to

students    performed by Prof                         Tiwari        in    rank as an Assistant Professor


                                                                   Graduate               Students


Prof      Tiwari    has       made immense                       contributions             to   the     Department                  the      University       and the

professional       community                  by advising               a large       number           of    PhD             students           He     is    currently

advising    seven        PhD students                        Of these           PhD         students          six   are being                advised    as the      sole


supervisor       and one       is    being advised as a co supervisor                               with Prof                Lin in the     CS department
This advising       load       is    well above              the average             in   the    ECE department                         One student Mikhail

Kazdagli     has    finished             his   PhD           dissertation under                  the    supervision                of   Mohit        He is working
at   a high profile           startup          founded           by one of the               Android         founders               Prof        Tiwari        has   also

graduated        three    MS students
     Prof     Tiwari          also       contributes               by serving          as    a mentor             for    post doctoral               scholars        His

mentee Aydin             Aysu            in    collaboration               with       Prof       Orshansky               and        Prof       Gerstlauer           made
fundamental contributions to cryptographic primitives Aydin                                                             is   scheduled          to start an assis

tant   professor     position             at    NCSU             this    fall    This       level      of participation                 is   above     average      and

shows     that    security          is   a    field    with diverse applications and that Prof                                               Tiwari    is   willing to

help students       learn about                various techniques                     in his     area



                                                            Undergraduate                       Students


     Prof Tiwari has supervised                             five    EE 464 Senior Design projects                              as an assistant              professor

These projects          require weekly meetings                           with the group of students                           and directing the project

Of special       note    is    his       supervision             of the     EE 464H team                    for   the        year       20172018            This team

designed and implemented a IoT Wireless                                         Home Security System                          Their project was awarded

the best    Capstone           project          award
     Prof    Tiwari       has        also been             an unusually active mentor for undergraduates                                               His     lab has

hosted     14 undergraduate                    students           through research positions                            These       students          have gone on

to write    research          papers           in   international               conferences             with       one of them winning the                          best

paper nomination                This level of involvement                            with undergraduates                      is    unprecedented             and   will


go a long way        in   promoting graduate                            schools       for   US citizens
     In   summary         Prof            Tiwari           has     performed advising                   duties      to the          graduate          students      and

undergraduate            students            that     is    significantly            above      the    level      of an Assistant Professor



Summary prepared by the Budget                                     Council       Member           Professor         Vijay           K Garg
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                                       Academic                Advising and Student                 Placement


                                                                       Mohit Tiwari

      Department of Electrical and Computer Engineering The University of Texas                                                        at   Austin

                                                          ti   wari austi n utexas edu




1 Undergraduate               Advising


Undergraduate Research                       I   invest        in    research   opportunities            for   undergraduates          to specifically

highlight research as an alternative to the structured workload                                      of courses        and industry internships


From 20132018                  my      lab       has    hosted         14   undergraduate            students         primarily through         funded
summer and        school year research                   positions          that pay   $1200 and 2000 per month for year 12
and year 34 students            respectively              I    initially      recruited these students through talks at UT ECEs

IEEE Communication                   Society       meetings            and through           workshops          on computer        security       More
recently     students     who        build excellent                 projects    in   my undergraduate                 319K   class     apply    for an

internship    at the   end of their sophomore or junior year Almost all students                                           are inexperienced           in


doing   research       hence     I    pair       them with a graduate                 student       and   their   work     involves         helping   run

experiments      and      readwrite              paper    sections          related     to   live    research         projects    In    addition      the

undergraduate students            attend         group meetings               project specific           meetings and meet 11 with me


 Duration                              Names
 201415 year                           Casen Hunger

 2015 summer           fall            Manuel Philippose James Brisson Joojay                                   Huyn Domino Rose Weir
 2016 summer fall                      Gunalan Karun Abbas Ally Anthony                                   Bauer Kaisheng Song
 201718 year                           Youssef Tobah

 2018 summer                          Zach        Wempe              Steven    Zhu Rahul Butani Josh Dunning Rice

10 of the students        have graduated 4 students Casen Hunger                                  UT           Joojay Huyn       UCLA Domino
Weir GaTech            and Youssef Tobah                  UMichigan               have gone         to    graduate      school   Casen joined my
lab   and has an    HPCA15             first     author paper on                his   undergraduate research               work        while Youssef

was a coauthor on a HOST18                        Best Paper nominee                  Manuel        Philippose won a research                fellowship

from Semiconductor Research                       Consortium a UT level Marjorie Morales award for undergraduate
research     and coauthored             a        PoPETS18             journal paper          in   addition       to   TAing      for   the   Freshman

Research     Initiative       course    described               in   my teaching statement                 Gunalan Karun and Abbas Ally

won an award for demonstrating                         their    research at the 2015              Athena Health hackathon



Capstone      Senior Design             I   have mentored 5 senior design projects since 2013 comprising a total
of 30 undergraduate students                     Three of the teams              201415 201516 and 201617
comprised of students            who approached                     me through my interactions with IEEE Communication
     CommSoc and Robotics and Automation
Society                                                                               Society     RAS while the other two teams in
201314 and 201617 were industry sponsored                                             projects that       both the students        and I were
assigned   to
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The first     two        CommSocRAS student                  projects          involved    setting   up a hardware and simulator for
vehicular computer and communication                            systems This was an ambitious goal that we found                                            led

to   technically         challenging and satisfying work but the senior year timeline made                                              it
                                                                                                                                              challenging

to finish with           a polished prototype             The   201718 team thus chose a project they could finish
and also have time to polish the prototype                           It   is   extremely satisfying          that their strategy and                        hard

work landed them the best Capstone project award



 Duration                Project                                                             dents
                                                                                                                    RffigiNaggigiNaffigiNaffiggigAMEMPI




 201314                  Acoustic       communication           channel                   Timothy Murray Rachel                   Poling Zachary

                                                                                        McDonald Andrew               Studt Pat                 Donovan
                                                                                        Mat Geddie
 201415                  Security and Privacy             for Intelligent               Kevin Gilbert Gilberto Rodriguez

                         Vehicles                                                       Christopher        Haster Joshua Bryant Hao

                                                                                        Chen Young Chou
 201516                  Vehicle to vehicle         Communication                       Miccah Castorina Kevin George                                     Omar
                         Network       Testbed                                          Medjouri       Arman Mirpour Nishil Shah
                                                                                        Jimmy Tsao
 201617                  Oil Based Drilling Fluid                                       Brian White Kaisheng                    Song          Michael

                         Characterization                                               Glasser      Scott   Fennell Tong                    Zhang
                         for Drilling     Hydraulics        Optimization                Xiaoyong      Liang

                         Using Data Analytics Techniques
 201718                  ARM IoT Wireless Home Security                                 Weston       Hill Jake Klovenski Michael

                         System                                                         Coulter Ashlie Martinez Eric Su Chris

                                                                                          Sauceda




2 Graduate and Post graduate Advising

PhDMS             students        I   am currently        advising        7 PhD students     1 co advised with Dr Calvin Lin in
CS and        1    MS thesis student             and have graduated                 1   PhD 2 MS thesis and MS with research1



students      Mikhail Kazdagli               my   first    PhD graduate            student      started his first     position at Essential                         a

mobilephone and home automation startup founded by Andy Rubin the founder of Android                                                                            My
MS advisees              first   positions   were at       ARM Nvidia and Apple

Mikhails work includes applying anomaly detection techniques                                          that    he developed                   for security          to


debugging and finding root causes of in field bugs                                      these     bugs are close        to      impossible                to   re
create   in   a test environment and his unique mix of computer systems and machine learning skills

are   critical      to     lowoverhead        analysis          of over          100K mobile         devices      For example                         his      work

uncovered          the root cause ofjank           when phone hangs erratically                       as stemming from specific finger

positions         that   triggered      the fingerprint sensor                 on the back of the phone             This        error manifests                    as

screen lag and unresponsive applications                         and cannot be replicated by a few hundred test users By

placing       instrumentation            across    carefully      chosen           points    in   millions     of lines          of Android code
Mikhails model was able to trace the anomalous behavior back                                          to   the fingerprint sensor software

without     training         on this specific type of bug
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Similarly Rohith               Prakashs job                       in Apple      is   specifically       to   apply     our microarchitecture               security

work on side channel defenses discussed                                         in Section     2 of my research statement                   to   Apples        ARM
based microprocessors



Post doctoral            Mentees               I       have       mentored one post doctoral                       scholar       Aydin Aysu           2016 PhD
Virginia     Tech        in collaboration                     with       Dr Michael          Orshansky and             Dr Andreas Gerstlauer                   Aydin
worked       in   the        embedded                  systems        security         lab   that    we      are    bootstrapping          in    ECE focusing
specifically      on securing cryptographic                               primitives that are resistant to cryptanalysis                         using quantum

computers         hence         called         post quantum or PQ cryptographic                                    primitives Aydins work                      on   PQ
decryption        and         key    exchange                 primitives             has   been     published         at   top     venues       DATE18              and

HOST18 with a Best Paper runnerup award at HOST18                                                             He will      start   a tenure track        Assistant

Professor position at North                            Carolina State University                   NCSU            this fall




Mentoring process                   My advising style                     is   customized for each students                    personality and their stage
of growth In           all    cases       as       I    nudge students               towards effective         research techniques                I   also try very

hard to retain the students                            core       strengths      For example Mikhail was a sound computer systems

engineer and wanted                  to    work              in   the industry         on machine learning                 related   positions          Hence       we
picked   projects that combined                             both fields collaborated with Dr Ling                          Huang Intel and Dr Sanjay
Shakkottai        UT ECE and placed him in an industry research lab Qualcomm Research where he
transitioned       his        research         into          products          and patents         over an extended              8 month         internship         My
Qualcomm          Faculty        Award                 in   2017     is   primarily the result of Mikhails work                            on improving their
hardware based                malware              detector          I    have       followed       a   similar customized             process          with    other

students     Ashay Rane wants                           to   be a professor and has regularly substituted                            for   me in invited talks
and taught an FRI course                               for    two years details               in
                                                                                                    my teaching            statement        Casen Hunger             is


interested        in   entrepreneurship                           hence    I     have      helped       him        with    NSF     Innovation          Corps        and

subsequent        pilots       and fundraising Austin Harris is perhaps the most rewarding                                                       case following

       years of failed projects                         he has found a thesis topic and
four                                                                                                          is   additionally the engine behind the

extended      Univ           of Michigan                and Princeton team working                      on our joint DARPA project



Beyond this my lab employs the standard                                         process      of meetings for weekly                 updates project            deep
dives and 11 discussions                               and the      lab   comprises of funded research                     and occasionally teaching
assistants    and postdoctoral scholars
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                                   Table 1        Summary of Academic        Advising




 Student    organizations advised                                                                               0

Undergraduate researchers                                                                               13 +
                                        supervised                                                                      1


PhD students completed sole supervisions and co supervisions                                                1       0

MS students completed sole supervisions and co supervisions                                                 3       0

PhD students        in pipeline   sole supervisions and co supervisions as q                                6       1




8312018
MS students     in pipeline       sole supervisions and co supervisions as of                               1       0

312018

    Undergraduate researchers             list    comprises of 12 funded   summer and school year positions 2
unfunded students and +1           is   an undergraduate from Rice University


                    Table 2 Degrees Conferred to Graduate Students                    Supervised


      Student       Name                     Co           Degree     Start        Graduation                    Placement

                                        Supervisor                   Date            Date                       moth
     Mikhail Kazdagli                                       PhD     082013         052018                   Essential          Inc

   Daniel     Santa Maria                                   MS      082015         052017                               ARM
 Naveena     Sankaranarayan                                 MS      082016         052018                           Nvidia

      Rohith    Prakash                                     MS      012015         052018                           Apple



          Table 3 Summary of Graduate Students Currently Supervised                             at   UT Austin

    Student                Co              Degree           Start          Date             Date                        Expected
     Name              Supervisor                           Date      Reached           Expected       to        Graduation

                                                                     Candidacy              Reach                           Date

                                                                                        Candidacy
 Austin    Harris                                MS       082013                         Fall   2018             Spring 2019

                                                 PhD

  Ashay Rane           Calvin Lin                PhD     082012        042017                                    Spring 2019

                            CS
 Casen Hunger                                    PhD      012015                        Spring 2019              Spring 2020

   Shijia Wei                                    PhD      082016     Spring                      2019            Spring 2021

   Sarbartha                                     MS       082016                        Spring 2020              Spring 2022

   Banerjee                                      PhD
     Willy                                       PhD      082017                        Spring 2020              Spring 2022

   Vasquez
 Prateek    Sahu                                 MS       082017                        Spring 2020              Spring 2022

                                                 PhD
Pranav     Kumar                                 MS       082017                        Spring 2020              Spring 2022
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    Budget       Council Statement              on Service      to   the University            and to the Nation         State and


                                 Community for Faculty Promotion Candidate
                                                           Mohit Tiwari



This report was prepared by Budget Council                       Member          Professor Christine Julien and            is   her

evaluation of Dr Tiwaris              service    record




Evaluation     Procedure       The evaluation procedure includes reviewing Dr Tiwaris annual                                      reports

and resumes and        is   coupled    with     detailed   knowledge of Dr Tiwaris                    activities   Dr Tiwari has

been involved       in service activities        across a wide span of domains throughout                        his career      at   UT
and has made contributions             at or above     that     which      is   expected      of faculty   at   comparable rank             in


the Electrical      and Computer Engineering Department



Administrative and Committee Service




Assistant Professor Mohit Tiwari has contributed                        in   a variety        of ways within the      ECE

department       For his entire career at         UT he has been actively involved                      in graduate      admissions and


recruiting from annually          reviewing        applications       to     co organizing the visit day           for   newly

admitted students           He has also been heavily engaged                    in faculty     recruiting serving as a member

of both the junior faculty        hiring      committee and the senior faculty                   hiring    committee      In    these

capacities   his expertise       and engagement            in the    security      and   architecture      areas have been

invaluable     Finally Dr Tiwari           is   also actively     engaged         in   curriculum      reform efforts both            in   the

broader context of the departments                 overall     curriculum         and    in   the ongoing creation of a much

needed cybersecurity curriculum                   At the university          level     Dr Tiwari has been working                with UT

Austins CISO Cam Beasley to create a cybersecurity operations laboratory with the aim of

using UTs extensive network as an experimental                          testbed        platform




Academic     and Professionally Related Public Service



Externally     Dr Tiwari is an extremely             active     and respected           member of both the computer

architecture     and cybersecurity international                communities In these areas conference

publications     are the primary mechanisms of dissemination                            of research and service to the


community      in   the form of program committee membership                             is   both   a recognition    of respect           from

the community        and a significant          responsibility       Dr Tiwari has served              multiple times on the

program committees of top conferences                     in   both areas       eg MICRO ASPLOS ICR                        in   computer

architecturesystems           and Oakland         CCS in security and privacy He has also been a reviewer for

multiple high profile conferences                and journals and he serves as an associate                      editor for the        ACM
Transactions on Architecture             and Code Optimization
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Beyond these        relatively traditional      service   outlets   Dr Tiwari is also engaged           in   public

community         activities     Through    his work   with the Freshman Research               Initiative   he performs

outreach     to   both   undergraduates      and high school students            his research    lab also supports    many
undergraduate          researchers Finally alongside his graduate            students       Dr Tiwari also routinely

shares his cybersecurity           expertise with   the broader community               eg through consulting
partnerships with         Austin area startups and with Dell Childrens Hospital




Comparison to Other Assistant Professors                    in   the   Department
Assistant professors in the Electrical            and Computer Engineering Department are highly involved

in   both   internal     and   external   service activities Even      in that   company Dr         Tiwaris service record

exceeds     what is expected        of assistant professors in the       ECE department


Summary
Dr Tiwari s service activities             exceed expectations for an ECE faculty               member of his rank

Furthermore the activities are well balanced                across service        to   the department and service to the

broader research          and public communities



Statement prepared             by Budget Council Member Professor Christine Julien
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                  Service to the University                     and to the Nation State and                          Communi


                                                                    Mohit Tiwari

       Department of Electrical and Computer Engineering The University of Texas                                                         at    Austin

                                                     ti   wari austi n utexas edu



I   have had multiple opportunities             to    serve the University                    Nation and Community Below                              is   a

summary of my service activities Further                             details
                                                                                 may be found          in
                                                                                                             my CV

1 Service to the University


Graduate admissions committee for ACSESSES tracks                                                    Since    Spring 2013          prior to starting

as an Assistant Professor in Fall 2013                      I   have been actively involved                     in the     admissions committee

that makes    admission offers to            25 PhD and 40 MS applicants from a pool of 750 applications
I   have also coordinated together with                         Dr Vijay Janapa               Reddi     until       his   sabbatical          in   2017        the

ACSES recruiting           day where we recruit the admitted students                                 over a 12 day long visit



ECE      junior     and     senior     faculty        search              committees            I    have     served       on     faculty          recruiting

committees every year after                my first        year at         UTon             the junior hiring committee                  201415                and

201718       and the       senior hiring committee                     201517               Beyond      the    standard          tasks    of reviewing

applications        hosting   candidates         and attending                   committee          meetings         I    have    actively          recruited


targeted    hires   and helped        convert        the    opportunities              into   offersfor example Matt Fredrikson

Martin Maas and Ling Ren as junior faculty                                in computer         systems and Hovav                 Shacham as a senior

computer     security      recruit    Hovav      will      join      UT CS this fall                having    chosen       CS over ECE but we
will   run a cybersecurity          program including                     courses      and seminars that will be open                          to    both      CS
and ECE students


ECE curriculum reform committee                                 I    have      been working           as     part    of the curriculum                 reform

committee      to    make     the    ECE      curriculum              more        cohesive           whereby        concepts       from            seemingly

unrelated domains can be inserted as examples into each class                                         Furthermore I have been working
with teaching        teams    of EE 319K             and 312              to   find    more    effective       ways        to   co teach           embedded

systems interfacing           across       digital    and analog domains and programming                                         writing           structured

programs       This      work   is    in   addition        to       the    cybersecurity             curriculum           development              that    I   am
working on together with Dr Suzanne Barber Dr Hovav Shacham and                                                      UTs CISO Cam Beasley

2 Service to the Community State and Nation

NSF Panelist         I   have served on various panels                         for    the   NSF Secure         and Trustworthy                Cyberspace
SaTC program since 2014 reviewing and helping make funding recommendations for academic
project    proposals



Cybersecurity advisor to Austin tech startups and Dell Childrens hospital My students and
I   help technical       startups    based in Austin                 San Antonio             and the bay area navigate                   cybersecurity

problems In particular we have helped                               startups
                                                                                     that   deploy    web services              in third
                                                                                                                                              party cloud
services    including       financial       healthcare              and block chain based services                        and have       to        meet strict

compliance requirements like                 H1PAA PCI etc We                           meet these companies primarily through the
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Build Sec     Foundry        a cybersecurity accelerator run out of Austin and San Antonio                                        through

Capital Factory        a tech startup accelerator based in downtown                              Austin and through            mentees    of
Professor Sriram Vishwanath                    who    advises     several         Austin startups from bootstrapping              through

Series   A   fundraising          rounds


Hosting undergraduates                    in   laboratory    and            highschool      outreach      program      I   host    several

undergraduate students               from      UT Austin and Rice areas in my lab as researchers                           I   taught the
Freshman Research                Initiative    FRI programs where we taught cybersecurity                           research       to   30
undergraduates         I    conducted          workshops    for   undergraduates             in cybersecurity       as part of IEEE

CommSoc and for high school students as part of FRI recruitment program My teaching and
advising statements          describe these in more detail



3 Service to the Professional Community
While I      am primarily a member of the computer architecture community ie the community
around ISCA       MICRO HPCA and ASPLOS conferences I also publish in and help the cyber
security    community        that runs IEEE           SP CCS UsenixSecurity                         as well Please refer to        my CV
for details




Program committees                  In the     last five   years        I   have served      on the program committees of top
conferences     in   both computer architecture              and computer security These include                     ISCA MICRO
HPCA and ASPLOS for computer architecture                                   SP and CCS for security and a           third community

that overlaps    architecture             security and hardware design automation                      HOST Beyond these top
tier   conferences     I    have been on the program committee of niche venues such as                               COO ISPASS
CARL         HASP          etc     that    focus     on    topics           in    architectures      compilation      and       workload

characterization



Guest and       Associate Editor for journals                       I       was   invited   to   guest edit   the security      edition   of

computer      architectures             flagship   journalmagazine              IEEE Micro in September 2016 I am an
associate     editor       for    the     ACM      Transactions             of Code Optimization          TACO
                                                                                                         the computer

architecture   focused           ACM journal and edit papers on secure architectures
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                  Budget        Council Assessment                   of Honors        and Other Evidence                   of Merit or Recognition

                            Including Contracts and                        Grants for Promotion Candidate                            Mohit Tiwari



                                                          Prepared    by Yale Patt Budget Council                      Member


This assessment                 is   based         on Dr Tiwaris            statements        and     CV augmented by my own impressions                                   of the

importance          of each accolade and from information on official                                     websites of several agencies                 and     companies


It   is   clear    from both           the     substantial         number of accolades               he   has already been            awarded and            the    significant

amount of research                   funding he has received                 that   Professor Mohit Tiwari                 is   a rising star       in the   field    of   Com
puter Security              I   will    delineate in turn             his most      important         honors and         the most      significant       examples of his

research          funding



Part      I HONORS              AND RECOGNITION

a 2015 NSF CAREER Award

The NSF            CAREER              Award         is    the    honor    essentially       all    science     and engineering           young       faculty        aspire     to

Since       the    early    1980s       when         it   was known as the NSF Presidential                          Young      Investigator     Award         it    has identi

fied      those    assistant professors                   who are expected          to be    future      leaders in their respective fields




b 20112013 NSF Computing Innovation                                          Post doctoral            Fellowship



After obtaining             his      PhD at UC Santa                 Barbara       Dr Tiwari was            awarded a highly competitive                     NSF postdoc
to work       with Professor                 Dawn Song a leading scholar in Computer                              Security      at   UC Berkeley

c Best paper awards

Dr Tiwari has a strong record of publication                                     in top     conferences          which     includes     Best Paper           Awards        in   two

of them one            in   ASPLOS             in 2015           and one    in   PACT in 2009             He is also a coauthor of a recent                    paper       May
2018 which was designated Best Paper runnerup                                               in the    International        Symposium           on Hardware Oriented

Security          and Trust          HOST              As a postdoc         at   Berkeley          he was      part   of the team      that    produced       PHANTOM
which        was     published           in    the        ACM Conference on Computer                           and     Communications            Security           November
2013         This paper          was selected              by NYU as one of the top 10 security papers of the year 2013                                             Finally his

paper while he was                   still    a graduate          student    was    selected        as   one   of the     outstanding         research       papers of 2009
and published              in   IEEE Micros 2010 Top Picks Special Issue


I    note    that    all    these      papers        are     refereed      conference        papers        Unlike        most science         and     engineering          disci

plines computer                 science        and        engineering      in   general and computer                  architecture     in particular         has a long tra

dition      of more than             30 years of history in regarding                       archival      conference         papers     in top    conferences          as   more

prestigeous than archival journal papers



Citations         of the papers              described above          are listed     below



Chang Liu Austin Harris Martin Maas Michael                                               Hicks      Mohit Tiwari Elaine               Shi GhostRider                  A Hard
ware Software               Sysem            for   Memory Trace              Oblivious        Computation                ASPLOS          March        2015          Best Paper

Award


Mohit Tiwari                Shashidhar             Mysore Timothy                Sherwood           Quantifying           the    Potential      for   Program         Analysis

Peripherals            Sept      2009 PACT Best Paper Award


Aydin        Aysu Youssef Tobah                            Mohit Tiwari          Andreas           Gerstlauer         Michael     Orshansky           Horizontal            Side

Channel           Vulnerabilities             of Post Quantum key                   Exhange Protocols HOST May 2018                                   Best Paper        Award

runnerup
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Martin        Maas        Eric   Love     Emil Stefanov              Mohit Tiwari Elaine Shi Krste                     Asanovic         John Kubiatowicz

Dawn Song            PHANTOM Practical Oblivious                         Computation        in    a Secure       Processor         ACM Conference on
Computer and Communications                      Security           November    2013


Mohit Tiwari              Xun Li Hassan          Wassel        Bita Mazloom        Shashidhar            Mysore Frederic Chong and Timothy
Sherwood            Gate Level Information Flow Tracking                       for Secure       Architectures           2010 IEEE Micro Top Picks


d Prestigious             Invited Lectures



Dr Tiwari has already been invited                      to    give   two plenary addresses           the       Keynote      address     at the    2016 Work

shop on Computer Aided Design and Implementation                                 for Cryptography              and Security      CADICS               at   ICCAD
and    this   year   at the      NSF workshop on Side and Covert Channels                          Security       in Washington          DC       He was also
selected       in   2017 as one of the 12 world class researchers                          to    teach    at   the European        Unions annual sum

mer school          for   PhD students ACACES


e Industry Recognition

Two companies                  Qualcomm        in 2017 and             Google    in 2014           have        given   Dr    Tiwari      Faculty           Research

Awards         Such       awards    are   generally       based      on a recognition      that    the    faculty      member      is
                                                                                                                                        doing outstanding
relevant      research and        is a   mechanism a company uses                for honoring       and encouraging             selected    researchers



Part II    FUNDING


Dr Tiwari has amassed                an impressive record of research               funding         He has been part of grants and                         contracts

totaling      $5049282            of which     his    share    is   $3558282      What      is
                                                                                                 particularly notable           about    Dr Tiwari is that
he has been          successful      pursuing         research funding         by himself and            he has     also    been    successful         obtaining
research       funding as        a team    player in     collaboration        with other    UT faculty           Listed below are his most                   signifi

cant    research grants and contracts



a By himself

NSF CAREER                 Award $522000 315220                        ExoCore      An Architecture               to   Detect   Malware          as   Computa
tional    Anomalies              Digital      Insertion       and Observation       Resistant        Execution             $416000       813817                 NSF
Secure and Trustworthy               Cyberspace program



Architectures             to   Protect    Data   in    Motion $485000 5151217                            Michigan        Center    for   Future Architec

tures    Research


Mobile Data containers $374263                          617819           General   Dynamics


Ensembles of Moving     Target Defenses                               $748556      1017121               DARPA          System      Security          Integration

through Hardware and Firmware Program



b In collaboration with colleagues

Cybersecurity Research                   on   Power Models $500000                 Lockheed          Martin with           M    Orshansky and               A Ger
slauer



Guarding Noisy Neighborhoods                         with     Weak    Detectors $1200000 his share $400000                                 317221 NSF
Secure and Trustworthy               Cyberspace program                 with    S Shakkottai and C Caramanis

Extensible           Distributed         Systems        Solutions       for    Community          Supported            Child independent              Mobility
£400000        hip share         $200000 917819 NSpSomputer Systems Research program with C Julien
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        Honors and other Evidence of Merit of Recognition                                         Including        Contracts             Grants


                                                                       Mohit Tiwari

        Department of Electrical and Computer Engineering The University of Texas                                                  at    Austin

                                                           ti   wari austi n utexas edu



1 Awards


My research program at UT has been recognized through awards for both personnel and papers
I   have received        an NSF         CAREER             award for my proposal on using hardware level anomalies to

detect    malware and a Qualcomm                           Faculty         Award      for   transitioning    this    work   into    their      product

note     that this     award is nominated                 internally without             my involvement        in the     application         process
I   received     a Google faculty             research award in collaboration                    with   Dr Janapa Reddi UT ECE and
was privileged          to   be a Fellow of the AMD Chair in ECE during 201719


Our paper        in   CCS13 was selected                  as one of the top ten best applied security papers of the year in

computer security             ie      from the papers published                    at any   top venue     in cybersecurity          and computer

systems     in   2013         Its   followon work               at   ASPLOS15 won               the Best Paper       Award and was              invited

to   a fast track        publication           in   Transactions                on Computer        Science    where         the   editor      in chief
publishes the          paper        without    additional            reviews       My ASPLOS14               paper    received      an honorable
mention from IEEE Micro Top Picks edition which                                        selects   the best of the papers published                 in all


computer         architecture          conferences              My     work      on   post quantum          key exchange          security       with
Michael        Orshansky             and     Andreas            Gerstlauer         was      a   runnerup      in    the   Best     Paper        Award
competition            This     line    of work           was        the   focus      of our     post doctoral       scholar      Aydin         Aysus
presentation at his job interviewshe                            will   join North Carolina State University this                  fall   as a tenure

track    assistant professor




In   addition         a graduate       student in          my group             Ashay Rane        won    a distinguished          paper       award at
Usenix     2017        for    an    internship          project      at Microsoft        Research       applying      our work           to   verifying

hardware level           security          properties       of their cryptographic                library     An     undergraduate             student

Manuel Philippose won the UT Marjorie Morales award for undergraduate research and an SRC

fellowship during his senior year



2 Research Funding
I   have secured approximately                  $505M of research                  funding      with my collaborators at          UT Austin and
outside     of which         my research groups share                      is   $356M This funding came from diverse sources
including        NSF DARPA SRC and companies My CV and research                                                    statement provide            further

details   about       funding


3 Invited Keynote and Plenary Talks
I   have been     invited      to                      at the CADICS security workshop with ICCAD 2016
                                    be a keynote speaker

a teacher at the prestigious                ACACES summer school in Fiuggi Italy 2017 and a plenary speaker
at the   NSF Workshop                on Side and Covert channel                       Security    2018

Beyond these           prestigious         talks    I   have delivered several              invited   talks at universities technical

conferences           and workshops           and companies                More information on these are in                 my CV
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3 High Impact Publications

My research groups results have been published exclusively         in   high impact top tier conferences

that are considered journal equivalent   These include architecture conferences           MICRO15 16
HPCA15 18 ASPLOS14 15 18 computer                    security venuesCCS13               Usenix Security15

16 PETS18 and hardware design venues HOST18                    DATE18 We initially            published   at   a

few workshops   CARL13 HASP14a            `14b but then decided         to   focus   exclusively   on top tier
conferences   The papers   impact can be evaluated   through   awardsfor five of the thirteen          papers

CCS13 ASPLOS14       15 MICRO16 and HOST18through technical transfer
MICRO16 and through commercialization efforts NSF Corps award related to ASPLOS18
                                                               I
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                                                                 Mohit Tiwari
                                              LETTERS REQUESTEDRECEIVED

Name of reviewer              David Brooks Haley Family Professor Maurice Wilkes                              award

rank or title                 Computer Science

department                    Harvard     University

university

Brief statement of            Expert    in   computer       architecture       cross layer system design

expertise    and reason
for selection


COI                           No
Other relevant                David Brooks         was part of a center that Mohit was affiliated with                     there   is   no   conflict

information                   since Mohit       was invited to be        part   of this center   and didnt write a shared proposal with

                              David All interactions             between Mohit and David have been limited to attending                         center

                              workshops       twice a year from         201517        in   addition    to   standard computer      architecture

                              and systems conferences              US Dept of Commerce                 Silver Medal   For developing             a

                              vision    strategy      fit
                                                            up   fabrication     processes    policies protocols      and a safety program
                              for the   NIST      AML Nanofab 2006 National                   Institute     of Standards   and Technology

Nominated          by         Department

Date    letter   received     August      17 2018


Name of reviewer              Mihai Christodorescu

rank or title                 Principal      Research Scientist Security

department                    Visa Research

university

Brief statement of            Expert    in   computer       security   anomaly detection          programming languages
expertise    and reason
for selection


COI                           No
Other relevant                Leader     in the   area of anomaly        detection    at both    the   device   and enterprise     scales

information

Nominated          by         Candidate

Date letter      received     July   30 2018


  Name of reviewer            Srinivas    Devadas
        rank or title         Edwin S Webster Professor IEEEACM

        department            Fellow     Electrical     Engineering      and     Computer
         university           Science     MIT
  Brief statement of          Expert    in   computer       architecture       computer    security applied      cryptography

 expertise       and reason

        for selection


             COI              No
       Other relevant

        information

       Nominated        by    Candidate

  Date    letter   received   July 20     2018
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Name of reviewer           Chris Kruegel

rank or title              Professor

department                 Computer Science          Department

university                 UC Santa Barbara
Brief statement of         Expert    in   computer    security   enterprise    security    malware      analysis

expertise    and reason
for selection

COI                        No
Other relevant             H index of 86 27K citations has led the field of malware                     analysis    for enterprise

information                systems      in both   research    and deployment     through       his company       Lastline

Nominated       by         Department

Date   letter   received   August    20 2018


Name of reviewer           John Kubiatowicz
rank or title              Professor

department                 Electrical     Engineering    and Computer        Science

university                 UC Berkeley
Brief statement of         Expert    in   computer    architecture    computer      security intemetscale systems

expertise    and reason    Presidential        Early Career   Award   for Scientists    and Engineers       PECASE
for selection

COI                        Prof    John Kubiatowicz          was a coauthor on a paper Mohit started in Berkeley John

                           happened       to           to a first year graduate student on the project and hence
                                               be a co advisor

                           had his name added to the paper This paper does not reflect an actual conflict
Other relevant

information

Nominated       by         Department

Date   letter   received   August    20 2018


Name of reviewer           Scott   Mahlke
rank or title              Professor      and Associate Chair

department                 Electrical     Engineering    and Computer        Science   Department

university                 University of Michigan

Brief statement of         Expert    in   computer    architecture    compilers specifically          application    specific    processors

expertise    and reason
for selection


COI                        No
Other relevant             Scott   Mahlke       was part of a center that Mohit was          affiliated   with      there is   no conflict
information                since Mohit         was invited to be   part   of this center   and didnt write a shared proposal with
                           Scott    All   interactions   between Mohit and Scott have been limited to attending                     center

                           workshops       twice a year from       201517      in   addition   to   standard computer       architecture

                           and systems conferences

Nominated       by         Department

Date   letter   received   August    2 2018

Name of reviewer           Onur Mutlu
rank or title              Professor Department          of Computer       Science     ETH     Zurich

department                 Adjunct Professor of Electrical           and Computer Engineering Carnegie Mellon University

university

Brief statement of         Expert    in   computer    architecture    computer      security    computer    systems

expertise and reason
for selection


COI                        No
Other relevant

information

Nominated       by         Candidate

Date letter     received   August    18 2018
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Name of reviewer           Andrew Myers
rank or title              Professor Computer           Science   Department

department                 Cornell University

university

Brief statement of         Expert    in   programming languages          computer     security information flow control            in


expertise and reason       distributed     largescale    systems
for selection


COI                        No
Other relevant             ACM Fellow
information

Nominated       by         Candidate

Date   letter   received   August    3 2018


Name of reviewer           Moinuddm Qureshi
rank or title              Professor School of Electrical           and Computer Engineering

department                 Georgia      Tech

university

Brief statement of         Expert    in   computer   architecture    memory systems computer             security

expertise   and reason
for selection


COI                        No
Other relevant             MoM Qureshi was part of a center that Mohit was affiliated with                      there   is   no   conflict


information                since Mohit      was invited to be     part   of this center   and didnt write a shared proposal with
                           Moin All interactions         between Mohit and Moin have been limited to attending                     center

                           workshops twice a year from 201517                 in   addition   to   standard computer    architecture

                           and systems conferences

Nominated       by         Department

Date   letter   received   August     15 2018


                           Josep    Torrellas

Name of reviewer           Saburo Muroga        Professor

rank or title              Electrical     and Computer Engineering

department                 University of Illinois       at   Urbana Champaign

university

Brief statement of         Expert    in   computer   architecture    parallel   computing computer         security

expertise   and reason     IEEEACM Fellow
for selection


COI                        No
Other relevant

information

Nominated       by         1epartment

Date   letter   received   August     15 2018
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                        DEPARTMENT                    OF ELECTRICAL             AND COMPUTER                 ENGINEERING
ten                     Cockrell       School       of Engineering




                        Engineering            Ethteation        Research       Center   EER 2501 Speedway Room 2864 C0803                                   Austin lexas      78712




 June   12 2018




 The Department          of Electrical             and Computer Engineering             sincerely              that you have agreed to serve as
                                                                                                     appreciates
 Formal Reviewer          in the      University of Texas              at Austins      Tenure and     Rank Advancement Promotion case of
 Dr Mohit Tiwari


 You    are   being asked        to   provide        a candid assessment in the area of Scholarly                   Distinction to assist our decision

 making process          Specifically              you will be submitting a Letter of Review assessing major engineering                                 andor
 scientific    contributions



 Instructions


        1     Access    candidate           materials      here Tiwari Promotion             Materials


        2     Your Letter of Review should address the following

                   a      Do you know                the   candidate    and if so      for   how   long    and under what circumstances
                   b      What are the original innovative andor important contributions                                     that the      candidate     has   made in
                          hisher           field   of research     Have the candidates             publications      influenced      the    thinking     of or the
                          methods used by others in the field

                   c      How would you assess the candidates                          development         compared        with cohorts      in    research intensive

                          universities

                   d      What        is
                                           your perspective          on the candidates          promise for further professional              growth        and

                          leadership

                   e      We would            welcome any additional             comments you might have                  The more specific you can be in

                          your comments the                  more helpful your evaluation             will   be


              Please    note Under            the    laws of the     State   of Texas the candidate           has   the   right to   view any materials in hisher

              personnel        file   including your letter             Members        of our    faculty   and    internal   review     committees who see your

              letter   as part of the promotion process                  will   hold   the   comments you make              in   confidence


              Submit     the    following           by end of day July 27 2018 in order                for your      assessment to receive           full

              consideration

                          Your signed Letter of Review on institutional letterhead                                including the      URL      for your      website

                          containing           your short Curriculum Vitae               or an attachment           of your short version           CV       via   scan   to

                          httpwwweceutexaseduupload




 Thank you for your assistance with this important matter As faculty                                         members we realize             that   the   amount of time

 required to do a thoughtful review is considerable



 Sincerely




            64

 Dr Ahmed Tewfik
 Cockrell Family Regents Chair in Engineering

 Chairman Department                  of Electrical        and Computer Engineering
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                           MOHIT TIWARI                  MATERIALS       SENT TO REFEREES




1 Curriculum Vita
2 Teaching Statement
3 Research Statement
4 Five Significant          Publications




5 Significant Publications          in   Rank

Students      postdocs       supervised by Tiwari are shown              in   italic




1 Martin Maas       Eric   Love     Emil Stefanov        Mohit Tiwari Elaine Shi            Krste    Asanovia John

Kubiatowicz    Dawn Song PHANTOM                     Practical   Oblivious Computation              in   a   Secure   Processor

Proceedings   of the   ACM Conference             on Computer and Communications Security                        CCS pp 311
324 November 2013            Berlin      Germany NYUCSAW             Best Applied Security Paper of the Year

top   10 httpsdoiorg10114525088592516692

2 Casen Hunger       Mikhail Kazdagli            Ankit   Rawat   Alex Dimakis          Sriram Vishwanath              Mohit Tiwari

Understanding Contention driven Covert Channels                      and Using Them for Defense                       Proceedings

of the International       Symposium on High Performance Computer Architecture                                HPCA pp 87
101    February   2015     San Francisco         CA httpsdoiorg101109HPCA20157056069


3 Ashay Rane Calvin          Lin Mohit Tiwari            Raccoon    Closing Digital Side Channels                through

Obfuscated    Execution        Proceedings         of the 24th USENIX         Security Symposium pp               431446
August 2015 Washington               DC httpsfiwwwusenixordnode190909

4 Mikhail Kazdagli         Vijay Janapa         Reddi Mohit Tiwari Quantifying               and Improving the           Efficiency

of Hardware based          Mobile    Malware       Detectors      Proceedings          of the 49th International

Symposium on Microarchitecture                  MICRO pp 113            October 2016 Taipei Taiwan

Transitioned to     Qualcomm Malware                Research     team   led    to   Qualcomm        Faculty     Award    2017
httpsfidoiorg101109MICR020167783740


5 Casen Hunger       Lluis   Vilanova Charalampos Papamanthou                           Yoav Etsion Mohit Tiwari

DATS Data Containers for Web Applications                        Proceedings        of Architectural         Support for

Programming           and Operating Systems ASPLOS pp 722736
                  Languages                                                                          March       2018
Williamsburg VA httpsdoiord10114531731623173213


Lluis Vilanova worked on this paper as a visitor in                 my lab in Fall 2014
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                                                                                                                                                                          BC


              HARVARD                                                                                                                             David        M Brooks
              John          A Paulson                                                                                              Haley Family Professor
              School of Engineering
                                                                                                                                           of Computer               Science
              and Applied Sciences




                                                                                                                                                  August 15 2018




I   am responding to a request for evaluation of Dr Mohit Tiwaris promotion                                                                    to a tenured          faculty


position at the University of Texas Austin                                         I   have not collaborated            with   Dr Tiwari on any research

projects      but       I    have    been familiar and quite impressed with Dr Tiwaris research since                                                            his    PhD

studies at UC Santa Barbara                         His    research at UT Austin continues to focus on the very important

area of hardware                security        and he has established                             a   robust    research       program            in   this    area To

summarize my opinion which                           I   elaborate on in the remainder of this letter                                  I
                                                                                                                                           strongly recommend

that      Dr Tiwari be granted tenure                          at   UT Austin


Researchers             in   computer          security         have       traditionally               focused    on the software                 layers However

over the last several years computer architecture                                             security research has started to gain significant

traction      The Spectre              and Meltdown                      attacks          have     drawn       significant     attention          to this research

area including tremendous                       interest            in   the popular press The combination                             of Dr Tiwaris work in

the       hardware           security        area   represents                 a       body   of    research      that    sets the             standard        for    other

computer           architects          While        computer                   architects          have    been     a    bit   slow to get              into    security

research           Dr Tiwari is clearly far ahead                          in this         area and        I

                                                                                                               expect    him to be a leading scholar in

this very     important subfield for the coming years



Although       I    have not specifically focused                              my research on computer                    security         I   am very impressed
by Dr Tiwaris work in this area                            I   think      it    is     fair to say     that over the past five years Dr Tiwari has

established himself as one of the top researchers                                             in this sub field         of computer             architecture          along

with Dr Ruby Lee from Princeton University                                                Dr Ed Suh from Cornell University                         and Dr Simha

Sethumadhavan                  from Columbia University                                Dr Tiwaris security research               is       both broad and deep

     he   has a series of publications                         on detecting                and     isolating     side channel          vulnerabilities               which

seems to be his specialty                      At the same time he has                              moved into new             areas       like   mobile malware

detection          and data containers for cloud computing environments



In   preparing this letter               I   studied the five significant publications                              that were provides as part of Dr

Tiwaris dossier These papers                             really emphasis the breadth and depth of Dr Tiwaris research                                                     In



particular          I   really enjoyed reading the work at the USENIX                                            Security Symposium in 2015 titled

Raccoon            Closing Digital Side Channels through                                      Obfuscated         Execution This work sketches                           out

the different               avenues     for    attack          in a typical              system and sets out              a program source code                        level




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approach          to obfuscating the true execution pattern by creating the illusion that multiple program

paths       are being              executed          The paper describes                    a    full    system demonstrating                the approach           and

provides a detailed comparison with Dr Tiwaris earlier                                                    work     called   Ghostrider



Dr Tiwaris research                        trajectory over                the past several              years has been quite good as he ramps up
his      research        program Dr Tiwari has published several                                         papers    in   top tier computer          architecture

conferences                  including          HPCA     in   2018 ASPLOS             in   2018 and 2015 and MICRO                      in   2016 and 2015           In


addition          Dr Tiwari               has published              in     top    computer             security    venues       like   the   USENIX         Security

Symposium and the IEEE HOST conference                                               In   short         Dr Tiwari is publishing his work in the top
venues          for his field            of research



Dr Tiwari has an excellent track                               record of attracting funding for his research                             Dr Tiwaris funding
base       is    also        quite       very     diverse       with        a   significant        amount          from NSF and industry                sponsors
Recently          Dr Tiwari landed                  a large      DARPA            grant as part of the SSITH program Its clear that there

is   a   real    hunger for research                   in     this   area from both government                       and industry sponsors               I
                                                                                                                                                                 am not
surprised that                Dr Tiwari has been successful                         in attracting          significant      research funding given both

the importance of the area and Dr Tiwaris track                                              record       and research accomplishments



In   addition to his technical                      contributions Dr Tiwari has performed a significant amount of service

to the          research           community           through             program committees                   journal      reviewing         and conference

organizing activities                      I   do not have           special       knowledge             of Dr Tiwaris teaching               but from looking

through          his     CV        it
                                         appears     that       he has          helped launch             a   cybersecurity        curriculum      in    UTs        ECE

department He has also collaborated with Dr                                                Lin    to develop a freshman                 research   initiative        in


cybersecurity                 These            curriculum        advances           are both            impressive      accomplishments            for       a   junior

faculty         member


In   summary Dr Tiwari is one of the leading young researchers                                                     in the   area of computer            hardware

security          His        research           output        and productivity              is   commensurate             with     other      recently       tenured

computer architects                            including      Dr David          Wentzlaff at Princeton and                   Dr Chris Batten        at       Cornell

In    my opinion               Dr Tiwari clearly meets the standard for promotion                                           to Associate        Professor with

tenure at any top ECE department                                      I   would be happy to provide any further information                                       about

Dr Tiwari          if   it   may be of help




                                                                          Sincerely




                                                                          Dr David        Brooks




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From David   Brooks <dbrookseecsharvardedu>

Sent Friday August 17 2018 810 PM
To Erengil Jac <iacerengilutexasedu>
Subject   Re Tiwari Promotion letter


Hi Jac


Im sorry for the very slow reply Ive attached my letter to this email as well as a recent version
of my    CV Do   I   need   to   upload   it   somewhere else


David
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David      M Brooks
Harvard University

Haley Family Professor of Computer Science

Area Co Chair for Electrical          Engineering


Professor Brooks research             focuses    on the    interaction      between      the architecture   and
software    of computer       systems and       underlying      hardware       implementation issues        A major
focus   of his   research     has been    to   explore    how lower level design            issues such as power

dissipation      and chip cooling can      be modeled          and addressed           when making    earlystage
architectural     decisions    in   computer     systems


Exploring     new architectures        and software      techniques         that are aware of energy

temperature        and other lower level design metrics              is   extremely important when designing
modern     computer       systems     New emphasis on computer                 systems that optimize design
metrics    besides      raw performance         such as battery      life    form factor and cost efficiency

provide many new challenges for system designers As the underlying technology                                  continues

to evolve new design issues arise and existing challenges become more difficult                                In   many
cases architectures         that    are aware    of these      issues provide      superior overall    solutions



Professor Brooks recent             work has focused on          linking    architectural    performance    simulators

with early stage        power and temperature models The methodology                         behind this work has

been applied       to   academic     research    tools   such as Wattch           Similar tools have    been

developed       and used within       industry    both   for   research     and   in   early stage   owner analysis of

product    designs
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                                                                                                                                                                                                                             VISA
July 29                    2018


                                                                                                                                                                                                                           Mihai Christodorescu

                                                                                                                                                                                                               Principal          Research           Scientist




To the Chairman                                   of the      Department                  of Electrical            and Computer Engineering


It    is
                   my pleasure                    to write             to you       this    letter     in     support                for       Dr         Mohit Tiwaris                 Tenure           and Rank                Advancement

Promotion case                                I
                                                  fully      champion            Dr       Tiwaris            promotion given                        his strong             research record as                   I    substantiate               below


I    am a                 principal           research             scientist         at    Visa      Research               a       research              lab      part of Visa              Inc        focusing           on     systems            and

application                        security             where           I    also    lead     the     systems              security                 research          group            Visa        is   a     strong        proponent                and

significant                    user of hardware based                               security        at all     levels           of       its   worldwide              payment           processing             system As payments
and other currency                                 transactions                migrate from proprietary networks                                               to the      Internet         and from proprietary                           hardware

endpoints                     to generalpurpose                             and embedded              computing                     devices              cyber attackers                are likely           to increase              their     efforts


to breach                     payment              systems              to    inject      fraudulent          transactions                         and     to launch            denial      ofservice attacks                         Developing

architectures                          mechanisms                      and techniques                 to secure             open               payment             networks            that       power world                commerce                is   a


significant                    priority for               Visa


I    have                known           Dr            Tiwari          for    about       four years               first
                                                                                                                                meeting              him        at    a    security         conference               and then              pursuing

collaboration                       with          him on a variety                   of topics         At the time                       I    was    a    senior      researcher            at    Qualcomms                     research        lab       in


Silicon                  Valley      QRSV and one of my labs research areas was hardware enhanced                                                                                           malware detection                          Dr       Tiwari

and            I

                        quickly      converged                on        problems          of joint       interest               exchanging                     ideas      and brainstorming                         and     later      on      having

one        of his students                             Mikhail          Kazdagli           visit    QRSV as an                      intern           In    2017       I    moved to Visa Research                           and Dr              Tiwari

and        I        brainstormed                   about           the novel             approach       of data centric                            security with both                   me visiting            his        lab    at    UT Austin
and him visiting my lab                                       in   Palo       Alto        CA In short               I
                                                                                                                        am familiar with Dr                               Tiwaris           work and have                  been       interacting

with               him on          research             topics          for a    number of years and                            thus           I   consider          myself to be                well   qualified           to    comment             on
his scientific                     contributions



Dr         Tiwari               has published                      significant           research       results            in       multiple             domains from side channels                                  to hardware based

isolation                     to    secure architectures                            for    privacy            His       publications                     appear           in    top    conferences                  such     as       ACM CCS
USENIX                        Security             MICRO                HPCA ASPLOS                          and ISCA thus                           reflecting            both        the       quality       of the           work        and the

impact of the                        results            in   the corresponding                     fields     security                and          architecture                respectively              I   would         like   to comment

on two                   results       with which                  I
                                                                       am familiar


The            first          result     is       in    the    area          of oblivious          RAM        ORAM which                                  is   a   concept            describing             algorithms           and systems
that               protect          the   confidentiality                      of    a   computation                and         its          data    even          when an            adversary          can        closely       observe            any

and        all           side      effects             There           has    been       tremendous            effort           in           this   space          initially      to define             and formalize the                      ORAM
concept                   by    itself        then          to design algorithms and systems that                                              implement ORAM                         for   various          types of computations

In    GhostRider                              A Hardware Software System                                      for       Memory Trace Oblivious                                    Computation                       Dr       Tiwari            and    his

coauthors                       presented               a    practical          system        that achieved                     a    strong          version          of   ORAM              I

                                                                                                                                                                                                 regard        this       work as          a   crucial


contribution                        to    the          area as the                  original       combination                      of       hardware              and software              support           in     the       paper          showed

that               it    is   possible             to    build         efficient         and secure            ORAM                  systems                   This       work    opened           the        floodgates              of    research

into           practically               minded              ORAM             schemes          and      it    is    likely          the        reason          why        leading      technology              companies               Visa Inc

included                      are deploying                  or considering                 such     approaches                     in their         products             and services
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The second                    tesult        I
                                                 would         like      to     discuss       is   titled          VATS             Data        Containers                    for    Web            Applications                   in    which           Dr
Tiwari           and         his      students           introduced                   a    new     way to              architect         web             applications                that           guarantees             security           of data

while        lessening                the        burden            of application                 developers                 In    contrast              to    the       GhostRider                      work        which         showed               that

the        existing           theoretical               idea       of     ORAM             could        be    implemented                 efficiently               DAIS             is       the    first     publication               describing

the fundamentally                           new     approach                  of data        centric          security            The data centric                        approach                  holds the          potential             to    make

security              more pervasive                     easier           to    achieve           for    developers                and        easier          to   verify           and        trust          for   users         DAIS shows
how to apply data centric                                     security           to       web applications                   and opens new                      research             directions                towards           changing               how
hardware                  and    software          is     designed                  built     deployed                 and used           Although                 DATS             is   extremely recent                        work        and thus

not        Tully          assessed      by the            community                       there    is    significant              potential to                this line         of research                    and Dr             Tiwari          is    well


positioned                  to   lead    the       wave            of discovery              and innovation



In    comparing                  Dr     Tiwaris               research           career       trajectory               with those of his peers                           in    other research intensive                             universities

I
     see     a    focus          in    his       work         on     tackling             fundamental                  challenges             and        creating             core        technologies                 instead           of simply

addressing the                    limitations             of todays                 trendy technologies                       Dr      Tiwari built                 on     his early             PhD work              in   secure            hardware

architectures                    and has since successfully                                 established                himself as         a     key       contributor                    in several            security          domains               side

channels                  ORAM          intrusion              detection                  privacy       architectures                    In    addition              I   would            like      to    add       that     I

                                                                                                                                                                                                                                  appreciate             his


focus on                  building      secure           systems which                       are    both          more meaningful                        and       more         relevant             to       the    industry            instead          of

limiting              himself to                popular             security          attacks



I    have        interacted             with            Dr          Tiwari          and      his    group              primarily      through                 the        prism           of     research            collaborations                      Yet

I    have        one more data                     point            to     add to           this    letter             related      to    the            advising             and        mentoring              role       that        Dr         Tiwari

fulfills         at       UT Austin               As      I
                                                               mentioned                  earlier   one of             his   students                Mikhail             Kazdagli               visited         my lab at Qualcomm
Research                   Mikhail       was       interested                  in   programming language                            techniques                 for       analyzing              and establishing                    the       security

                           of mobile                            At       the        same time we were pursuing                                            new                            in    applying             machine             learning          to
properties                                       apps                                                                                                a              project

malware                   detection              This         project           caught        Mikhails                 interest     and          although                he     spent               no time on             the         topic       as an

intern            he        expressed            interest            in    it    once        he    returned             to    Dr         Tiwaris              lab        at    UT         Austin               Two      years           later      I
                                                                                                                                                                                                                                                        was

impressed                  to learn as an external                              member on Mikhails                           PhD committee                         that under                  Dr        Tiwaris        advising               Mikhail

completely                   switched            from         programming languages to machine                                                 learning            for        security              Such        a    PhD         research              pivot

can        be successful                only with the help                            guidance               and       support       of the              PhD       advisor           and        I
                                                                                                                                                                                                    see Mikhails                  success          in his


PhD         as     a       brilliant     illustration                of    Dr Tiwaris                   mentorship                qualities




Overall               I
                           regard       Dr        Tiwari            as an           exceptional              researcher            with an               extensive            and wellfounded                          vision          for    systems

and        hardware                               and         with        significant            potential             for future scientific                   advances                        understand             he     is   also       pursuing
                                 security
                                                                                                                                                                                          I




the        commercialization                       of         his    research             ideas     and       I    am sure the company                               will       be       successful                 under        his    leadership

                                                                                                                                                                                         favor                 there                     additional
     am strongly                  in   favor       of         this      promotion case                   and       I
                                                                                                                        hope you              will       decide          in    his                       If             is
                                                                                                                                                                                                                                 any

    information or                 insights         I
                                                         can        provide               please    do       not       hesitate      to contact                    me


Yours         sincerely




    Mihai rhfistodorescu

    Senior Director                    Systems            Security




    Visa    Research

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    Mailstop              PA 1E                                           Fl 4082396948

    Palo Alto              CA 94306                                       https       usa visa comaboutvisavisarescarchhaihaichristodorescu                                                                                                        html
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                          Mihai Christodorescu


                                              VISA
                               Principal   Researcher          Security


      Focus areas Software      Security Program Analysis and Systems Security




Research     interest


I
    am interested in fundamental approaches              to   computer    security   and privacy

problems by combining methods from multiple domainsprogramming
languages machine learning behavioral modeling and formal methods                              My past
and present    projects   have addressed           Internet   scale   security analysis   of

networks     systems and software        and whole system             security hardening for both

cloud   and mobile endpoints




Education


      20032007     PhD in Computer Sciences August 2007
             University of   Wisconsin     Madison            WI USA
             Dissertation    Behavior based Malware Detection

             Adviser Prof Somesh Jha


       1999200020012002          MS      in   Computer Sciences            Dec 2002
         0   University of Wisconsin       Madison            WI USA
             Adviser Prof Somesh Jha


       19961999    BS High Honors             in   Computer Science         May 1999
             University of California      Santa Barbara          CA USA
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                                                         ELECTRICAL                     ENGINEERING                     AND         COMPUTER SCIENCE
                                                         MASSACHUSET                          IS      INSTITUTE                      OF  TECHNOLOSr
                                                         SrIni   Devadas      Edwin       S Vkhrbster Profestor M fiECS                                      6172530454

                                                         324844       The   State Center                                                              Fax    6172538852

                                                         Cambridge       WA 021394307                                                                 devadasernitedu




                                                                                                                                                      July    20 2018



Prof Ahmed Tewfik
Chairman

Department of Electrical                   and Computer Engineering

University      of Texas Austin



Dear Prof Tewfik


It   is   a pleasure     to     write     a     letter   in    strong support of Prof Mohit                                        Tiwaris            promotion               to

Associate      Professor with                  Tenure      at the       University                   of Texas           at     Austin           I    am intimately
familiar with        his work         in computer security                    and computer architecture



Mohits       work      first    came       to   my attention             through              my reading of the Phantom                                    publication

2013         My      group       had       been        working           on         a     similar          secure        processor                  called     Ascend

concomitantly            While        we         had     published               on       Ascend            a     bit    earlier           our        results       were
simulation       based          whereas          Phantom              was      a        Field        Programmable                    Gate           Array      FPGA
implementation            The cryptographic                    primitive in               Phantom Path ORAM                               is    quite       a complex

primitive       and      it     was       most       impressive               that           Mohit      and           collaborators                  were      able           to


implement       it
                     efficiently          in    hardware          I   should            emphasize            that there             were       excellent          design

choices      and algorithmic              changes made                 in   Path          ORAM          to       make         it   amenable            to    hardware

implementation                 The        Phantom          paper            motivated                 us        to      develop            our        own         FPGA
implementation            of Ascend             and eventually                 a custom               silicon           implementation                       We     drew

from several ideas in the Phantom                          paper


In    2015      Mohit          was    involved            in      two       groundbreaking                            papers        that       made          oblivious

                                          First     GhostRider              is      a co designed                    compiler         and architecture                        for
computation          practical

supporting          privacy      preserving              computation                    in    the     cloud             Its        goal    is        memory         trace

obliviousness           which        is    provided           by Phantom                      using     a       single         ORAM                 over    the    entire


memory space The key                      observation            is    that    it    is      not necessary to use                     ORAM                 GhostRider

uses      program     analysis to          allocate        data to non oblivious encrypted                        RAM when doing so
does not      compromise memory                        trace      obliviousness                     The use of multiple smaller ORAM

banks also       significantly            improves performance                               The GhostRider hardware                                  and compiler

significantly        outperform                Phantom           and Ascend                   since        the        computations                   are    shrunk             in


complexity



The second          effort was called             Racoon which uses a completely different way of achieving
resistance     to side         channel         attacks     The key            insight           is   that       all   digital       side       channels         emerge
from variations          in    program execution
                                                                      and rather than balancing                              program execution                      paths

to    not    leak    information               about      which          path           was         taken            Racoon          executes              extraneous

                                                                       obfuscate              program execution                       Racoons                                  to
program paths termed decoy paths                                                                                                                             goal        is
                                                                 to

make the adversarys                   view        through                                     side channel               appear           the same as               if        the
                                                                  any       digital
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program were run many times with                             different       inputs          To ensure that the system records                       the


output    of only        the real      path       and        not    the     decoy       paths       Racoon           uses    a   transaction     like

system     to    update       memory              Racoon             is     almost          an    order        of    magnitude         faster      than

GhostRider         making        it    a    practical          way          of    achieving         secure          computation           Phantom
GhostRider and Racoon                  are      systems that combine great                          ideas        with great      execution           and

have significantly         moved       state      of the       art   in oblivious            computation



As mentioned above Phantom and Ascend                                       use    ORAMs           for oblivious            computation         They
have     high     overheads           that        can         be     reduced           through         the          compiler      and     program
transformation         techniques          that   Mohit developed But what                            if    we cannot modify the code
Mohit     has     looked       into        oblivious               computation               where         ORAM            overheads       can       be

significantly      reducedby moving          ORAM functionality into the memory system
                                                         some
With collaborators     he  designed a secure DIMM using commodity memory and a key

equipped buffer chip If these secure DIMMs are assumed then new ORAM              protocols

can be used that reduce bandwidth      latency and energy per ORAM    access The protocols

developed    are non trivial  each secure DIMM      responsible for part of the ORAM tree
                                                                                  is


and ORAM operations are performed in parallel The main memory channel bandwidth                                                                       is


reduced        because       only     a     small        subset           of the        many        shuffle          operations        needed        by
conventional       ORAM        need        to   be performed                 Importantly the                new      protocols guarantee             the


same obliviousness            properties as             Path        ORAM while improving performance by 2X over
the best available        ORAM            schemes


In the field     of secure architecture                  in   my opinion Mohit has done the best work of anyone
                                                                                                                                  work with ad
         age group or pre tenure over the past several                                                         quite dislike
in his                                                                                           years     I


hoc    security    guarantees              that    tries       to    sell    itself     through       improved performance                      If   we
have learned       anything over            the    years       it    is   that these         ad hoc guarantees               invariably     fail     the


test   of time Mohits             work stands                 out    because           he    builds        the      right kind of systems
where                  the                              of the                         can       be proven          to    have   strong
          at   least         specification                            systems                                                              security


guarantees that are convincing                    to system security                   and cryptography                  researchers    alike



I   therefore     give    Prof        Mohit       Tiwari         my strongest recommendation for promotion to
Associate       Professor with Tenure                   at    UT Austin Please feel free to contact me if you have
any further questions



Sincerely yours




Srini    Devadas
MacVicar Faculty Fellow
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Jilda Bolton



Subject                                    FW    Response     needed    by Friday 68 would you be able to provide a letter of reference

                                                                   promotion of Prof Tiwari to associate                by July 27
                                           in   support   of the
                                                                                                           professor

Attachments                                mohittiwaripdf Untitled         attachment   00258html




Resent From ctewfikaustinutexasedu>

From Srini Devadas <devadascsailmitedu>
Date July 20 2018 at 33023          PM CDT
To Tewfik Ahmed         H <tewfikPaustinutexasedu>
Cc Erengil Jac <jacerengilutexasedu>

Subject   Re Response     needed by Friday          68 would you be able to provide a letter of reference              in   support of the

promotion of Prof Tiwari      to associate        professor by July     27


          Dear Ahmed



          Please   see attached   letter   signed    PDF


          regards




          Srini
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Srini Devadas



Webster Professor of Electrical Engineering and Computer Science


Massachusetts           Institute of Technology




Srini Devadas      is   the Webster Professor of Electrical Engineering and Computer

Science   and has been on the MIT EECS faculty since 1988 He served as Associate
Head of the Department of Electrical Engineering and Computer Science with

responsibility for Computer Science from 2005 to 2011



Devadass     research        span Computer Aided Design
                           interests                                   CAD
                                                                   computer

security and computer architecture  and he has received significant awards from

each discipline In 2015 he received the ACMIEEE               A
                                                      Richard Newton Technical

Impact award in Electronic Design Automation He received                  the IEEE Computer

Society Technical        Achievement      Award in 2014   for inventing   Physical Unclonable

Functions    and   single chip   secure processor architectures        Devadass   work on
hardware information flow tracking published in the 2004 ASPLOS received the
ASPLOS Most Influential Paper Award in 2014               His papers   on analytical cache

modeling and the Aegis single chip secure processor were included as influential

papers in 25 Years
                   of the International Conference on Supercomputing In 2017

he received the IEEE        W   Wallace    McDowell   Award for contributions     to secure

hardware     He is an IEEE and ACM Fellow


Devadas     has taught widely in EECS lecturing classes in VLSI discrete

mathematics computer architecture algorithms and software engineering He is
a MacVicar Faculty Fellow and an Everett Moore Baker teaching award recipient

considered    MITs two highest undergraduate teaching honors
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UNIVERSITY OF CALIFORNIA SANTA BARBARA                                                                                                                                        BC


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DEPARTMENT OF COMPUTER SCIENCE                                                                                                    SANTA BARBARA CALIFORNIA                            93106




                                                                                                         Christopher         Kruegel

                                                                                                         Professor      Department              of Computer              Science

                                                                                                         University     of California               Santa      Barbara

                                                                                                         Home     https           Amy cs ucsb edukchris


                                                                                                         August 20 2018




     To whom it may concern

     I   am a professor in the Computer Science Department                                  at the University     of California               Santa Barbara              UCSB
     I   write this letter to strongly                 recommend the promotion                  of Mohit      Tiwari to associate              professor with             tenure

     Although           I   have never worked              directly      with    Mohit I have known him and his work                          for    many years Mohit
     has     been       a graduate student              at    UCSB who            was working on security topics                    Given that             this     is   my area
     of expertise            I    took a natural  work and followed his progress After his graduation
                                                        interest      in   his                          he has
     continued to publish at security venues and I frequently meet him and see presentations about his work at

     conferences


      Mollies research                focuses     on the intersection between               computer      architecture        and systems security                       That is

      he   is   interested          in   solving     realworld        security      problems that have           significant        impact           and     he does so by

      considering the entire                 computing        stack       from the hardware up to the application                        layer        This     is   a rare but

      important viewpoint                    Most     security research            assumes that the underlying                hardware          is    secure        and can      be

     fully      trusted           Unfortunately         as    recent       exploits    such    as   Spectre    and Meltdown              have        demonstrated             this


     assumption             is   often not       true Moreover            by looking at the hardware level              it   is   also possible to build into the

     underlying             platform security mechanisms that layers above can leverage                                to build security primitives that are

      more effective              and efficient


     Looking at Mohits recent papers I am probably most familiar with his work on malware detection Malware
     analysis and detection is a topic that is near and dear to my heart and I have published in the area

     for   at    least       15 years Mohit focused on hardwarebased malware detectors                                            HMDs which are a type of
     behavioral             malware detectors  A HMD observes program execution by looking                                               at    CPU      instructions          and

     micro architectural                 traces       An    alert   is    raised    when    the current       traces    statistics       sufficiently          deviate      from

     benign traces unsupervised                       HMDs or look similar to known malicious traces supervised HMDs HMDs
     are     small secure even                   from a compromisedOS and can detect attacks that leave no system call traces
     They       are     thus a trustworthy first level detector in a network wide malware detection system                                                        In his    work

     on Sherlock             Mohit       first    carefully   evaluated         existing    HMDs     under a broad range of operational                           constraints

     Moreover           he specifically looked at the robustness                      of existing techniques       against obfuscation                 and malware that

     deliberately            attempts       to    evade detection            Based     on the observations and learnings during                            this     evaluation

     he then proposed additional novel                          features that significantly             improved the capabilities of HMDs

     Mohit has also                done     work on        data containers at the             web       application     level        I   specifically          would      like   to

     point      out his          DATS paper in that regard Data                      containers enable        users to control           access      to their       data while
     untrusted          applications         run on it        Building usable         and   efficient   data containers is a challenging problem The

     DATS        work introduced                 an interesting          mix of hardware capability enhanced                      containers         and two new prim

     itives        modeled after the popular model view controller                                  MVC pattern               to    address          these     usability      and

     performance challenges                       Whenever       scientists       propose new programming               primitives            there     are    always ques
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tions    around           feasibility          and practicality        However Mohits               evaluation      where        he applies the new techniques
to real world             programs such as Gitlab convincingly                           addresses      these     concerns       and shows that the approach
has clear real world potential


Mohit         is    a   prolific      researcher         with a strong publication              record        He has       published           more than       30 papers

many      in        top venues             From example           he has published three papers in the top    security conferences  4
                                                                                                                                   2x
Usenix Security and lx ACM                              CCS      Moreover he has multiple papers in top architecture conferences such

as    ASPLOS and MICRO                            and a paper in a top programming languages                         conference         PLDI All these venues
are    extremely           competitive             and have very low acceptance                 rates       In   addition what            is   very impressive          is   the

broad range of Mohits work and the fact that he can publish in a variety of venues that span different areas


A strong confirmation                      of     Mohits outstanding            scholarly      achievements        are the       awards         that   he has received
In particular              I   would       like   to point      to the   NSF CAREER award                    which    is   given     to    top assistant professors
who show            significant         promise Moreover                he received      a best paper award at ASPLOS a best paper award at
the International                Conference             on Parallel Architectures             and Compilation Techniques                       PACT a best paper
runnerup award at the International                                  Symposium on Hardware Oriented                        Security and Trust      HOST and
several       IEEE Micro Top                    Picks    of the Year      This    is   an impressive list         of awards for a young scientist


Mohit has a solid track record of serving on the program committees of top conferences such as ASPLOS
ACM CSS and the IEEE Symposium on Security 84 Privacy Given that he is invited year after year to
PCs      it    is   clear that         his opinion         and service     is   highly    valued       In    addition he has been selected                     to serve       as

an Associate Editor for                        ACM Transactions on Architecture                      and Code Optimization                     TACO a top journal
in    the field          This    is   a nice recognition and testimony                   to    his standing       in the    community

Looking            at    his   CV      I   see    that    Mohit has won          a number           of researchgrants in the last few years with a

funding        total of more than                  two million USD         for Mohit      alone       Given the tough funding environment and the

difficulties            of many agencies              to find   money      this is     a great achievement            The research              funding   allows        Mohit
to    support           a well sized research              group and       I    am happy to see          that     he works with a good                 number of         PhD
students            Systems security and computer                        architecture         are   areas   where a significant                amount of work needs
to    be spent          building       software artifacts             For this students are            a necessary     and important resource                    Working
with seven              PhD students as well as master students will allow Mohit to get the work done                                                  that   he needs to

turn    his        research      vision into          reality


Insummary I think that Mohit is an outstanding scholar and a recognized                                                    leader    in    the group of researchers

who focus on computer security and architecture  He has demonstrated                                                       his    ability       to   perform    first    class

research           on topics that have realworld impact                          Thus I strongly recommend him for promotion                                  to associate

professor with                 tenure      I   also   have no doubt        that    his   promotion          would be fully         supported by the faculty                   at

our    institution              Please     let    me know       if   you have any questions or require additional                         information



                                                                                                                 Sincerely

                                                                                                                 Christopher        Kruegel
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From Christopher Kruegel <chriscsucsbedu>
Sent Monday August 20 2018 541 AM

To Erengil Jac <jacerengilutexasedu>
Subject   Re Tiwari Promotion Letter




    I   am sorry for the delay Please   find attached   the   PDF of my letter for Mohit Please let me know   if

the format works   or if   you need anything else



Thanks    and again sorry for the delay



Best regards

Christopher
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Christopher Kruegel

Professor University of California                                              Santa Barbara



Bio
I   am a Professor in the Computer Science                   Department        at the   University   of California
Santa Barbara          My   research     interests    are computer        and communications          security with
an emphasis on malware analysis and detection web security and security in social
networks I enjoy to build systems and to make security tools available to the public                                          I

have published more than 100 conference  and journal papers and I am a recent
recipient     of the   NSF CAREER Award              the MIT Technology  Review TR35                Award     for   young
innovators        an IBM Faculty        Award      and several best paper awards


Research
The main focus         of   my research      is   systems security        I   seek to create     solutions that      solve

important      security     issues    affecting    a large     number of users The goal of my work                  is   to

build   security    systems deploy them              in   real world environments  and perform
experiments to characterize and explain                    their    behavior    I   believe   that creating    working
systems that address           real   world problems          not only provides a great incentive             for   my
research      but also allows for the necessary               sanity    checks of the results As part of             my
research      I   have contributed        to systems that           analyze programs to determine whether
they are malicious or not             both   for x86 binaries and          mobile phone application I have

also    worked   on systems that scan the code of web applications to find vulnerabilities

Finally   I   have worked on novel ways to break privacy on social networks as well as on

ways    to improve      them such        that those       attacks    no longer work
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           PROFESSOR           JOHN KUBIATOWICZ                                                                                      EMAIL KURITRONCSBERKELEYEDU
           673   SODA HALL 1776                                                                                                                                    PHONE       510 6436817
           BERKELEY CA 947201776                                                                                                                                       CELL 510 8726092


                                                                                                                                                                       August 19th 2018
           Re Promotion                       Case        for Mohit              Tiwari


                 I   am pleased               to write this           letter in        support          of Mohit Tiwaris promotion                             case As I        detail      below
           I   believe    that       Mohit has a compelling                            research              agenda      and has more than demonstrated the ability

           to succeed          at    a topnotch university such as UT Austin In short                                                      it    is   my recommendation                  that    UT
           Austin      should take the step of advancing Mohit to the rank of Associate Professor with Tenure


                 I   have known Mohit for 5 or 6 years now                                              I   first    encountered        him as a post doe at UC Berkeley

           where he and               I       collaborated            on         the   PHANTOM                      Oblivious       RAM ORAM                            work    Initially         we
           interacted         through  my graduate student Martin Maas a coauthor on that PHANTOM paper but
           eventually          started chatting in my office about a wide       of topics from security to computer
                                                                          array

           architecture             to software               engineering              It   was clear at that time that Mohit had a keen                                        intellect        and
           firm
                     grasp of a variety                    of areas of computer science The                                   PHANTOM work was fascinating to me
           because       it    introduced                 me to a whole new                       class             of security     concerns                that   I    had   not    previously

           considered           namely the fact that                             visibility     of address               traces     could reveal significant                      information

           about the computation                          that   was running on the local processor                                     even          if   the data      was encrypted            Of
           course the expense of various solutions to this problem such as                                                            ORAM was also quite interesting
           PHANTOM was clearly                                 the   first       step to a      much            bigger research                 agenda Those discussions with
           Mohit were quite enjoyable as                                     I
                                                                                 recall     and     I       could     tell   that   he was going to make a great cross

           disciplinary researcher


                 Fast forward to                     today and               I   see that      my initial              impressions              have        been       born out      Mohit       has

           positioned          himself              at    a   difficult          but   extremely                                interface             between          hardware
                                                                                                              important                                                               operating

           systems        algorithms                     and security              His chosen                focus           security      of computational                   systems       in   the

           context      of covert channels                        and malware breaches                                might once have considered a bit boutique
           and only for the truly paranoid                                 However            the       last    few years have been truly eyeopening                                  for   many
           For       instance             I    dont           think        that        anyone               was      expecting       the          magnitude              of    the    socalled

           SpectreMeltdown                          hardware          breaches              which            demonstrated           that         many of the mechanisms                          that

           computer architects                      had developed                  to improve               performance           eg       caching and branch prediction                           to


           name just two were suddenly                                    exploitable          to violate             the security      of data within the kernel In their

           2018 Turing award lecture                               Dave          Patterson and               John Hennescy           declared that a                   whole new research

           agenda       was     necessary                 to figure out             how       to extract             performance           from hardware without risking a

           wide array of covert timing channels                                         Amidst such                  revelations      is        the fact that          every day seems             to


           bring      a new         data       breach           Equifax Facebook                            Target to name a few                           We clearly have a crisis of
           cyber security

                 Mohits agenda                           strikes     at    the      heart      of these              problems        focusing               on Data Centric              design
           information          flow control detection or elimination of covert channels                                                               as well as cryptographically

           hardened           memory and computational                                 systems What makes these issues so hard to address                                                   is   that

           timing channels                    are   extremely             difficult         to eliminate                 especially         when adversaries                  are    allowed       to

           observe       parameters such as power address traces or access timing Precisely since these problems
           are   so hard to address                        only a researcher who can cross many different levels of abstraction can

           hope      to find solutions                    Looking through Mohits recent papers 1 am impressed with the breadth as
           well as depth            of his papers from                       1     power analysis of gate level circuits for key exchange                                              in lattice
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           cryptosystem               to   2         compiler techniques                for    analyzing             the   flow        of secret              information          to    3
           automatically            executing          multiple conditional                  paths    to   remove the effect of secure                            information             on
           control       flow       to     4        information theoretic               analysis      of the capacity                  contention based                      channels

           between           coresident virtual machines                        to    5    hardware based                  malware detectors                    to   6      exploiting



                                                                                                                                                   A
           MVC ModelViewControl programming models to ease the burden of programming in a data
           centric      environment Mohit strikes me as a systems architect with a capital                                                                     cross disciplinary

           cross     abstraction            boundary          architecture             Although        working             across        abstraction              boundaries            has

           always        been       the     mark of a good                  architect         the    ability         to    move        fluidly           across      boundaries             is

                                                      for    a secure                                          such             Mohitl           Further         Mohit       seems
           particularly         important                                   systems architect                             as                                                               to

           collaborate         within       and across          institutions            a trait     that   I    would view             as   extremely positive                    for one

           who wishes to tackle                     cross disciplinary               issues   not to mention being a great personality                                       trait      as a

           departmental             colleague

                 Mohit has a nice                   balance   of finished and ongoing work Just glancing                                          at   his    CV his       last   5 years

           have    been        fairly      productive          in    targeting        top tier       conferences                ASPLOS                 3 papers            MICRO           2
           papers            HPCA 2 papers USENIX                               Security      2 papers               as well as         others Mohits paper count

           may be        a    bit   lower        than others         in   a similar position                   but    Id       say   that    it    is    more than          sufficient

           especially         since these            papers are not merely least publishable                                   units   LPUs               In   many cases               they

           are   full   stack        implementations                 that   implement             everything              from hardware                  to    software      systems

           compilers           and       programming                environments              Such    systems take                   time to build and                     each        paper
           represents          a significant           amount of work                  In other      cases           Mohit and           his students             have       produced
           focused           well characterized               experiments to study particular artifacts

                 A few thoughts on Mohits current work is as follows First in the category of complete system
           implementations                 is   a   sequence        of systems          PHANTOM                  GhostRider and Racoon                               These    systems
           share   a common theme replacing secret data dependent                                               execution            with    static       control     and dataflow

           to    remove        the      potential       for    information             leakage        The       result         of such        obfuscation             is    invariably

           expensive           but    seems          to get    less    expensive          with each            system that Mohit designs                              although          still



           expensive           Racoon           provides      significant        performance           improvements                   over the previous two systems

           and state of the art These                         works       propose new instruction                     sets      implemented within the RISC                              V
           processor environment                        compilers           and programming annotations                              to achieve              their results         I    look

           forward       to seeing how                this    work    evolves             especially           since      Ive just embarked on a data centric
           research          agenda      myself As a side note                    I   thought that his paper on moving                                  the    ORAM primitives
           closer       to    memory Secure                    DIMM             Moving         ORAM             Primitives            Closer to               Memory              was     an

           interesting         proposal to supplement                     the   rest   of this work


                 Second Mobil                has      been studying a number of different covert channels                                               including      contention

           based channels                between        different
                                                                          processes       or containers                on the same machine                        These channels

           exploit contention               for some resource               such as the cache              I
                                                                                                               thought that the paper characterizing these
           channels          Understanding                  Contention Based Channels and Using                          Them for Defense was novel
           and     interesting             Studying          such    channels          and    their information theoretic                              capacity        followed           by

           investigating            ways        in    which     these       channels          could    be       made           robust       to    interference             from        other


           processes          was an interesting angle In the same vein Mobil has been                                                 studying           information leakage

           in    Post Quantum                   Key Exchange                algorithms            ie       for       lattice     cryptosystems                       This     research

           involves          building circuits          to perform the key                exchange and performing differential power analysis

           DPA to demonstrate the significant vulnerability of such                                                    circuits        to   power analysis Given                         the




             Mohit works at many levels so that simply calling him a security researcher or computer architect or

           language designer would probably not do him justice I settled on secure systems architect
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           current      industrial       push       in   Quantum computing                   I
                                                                                                 thought    that studying           such   channels      was timely
           and quite interesting


                  Third Mohits work                      on    DAIS a programming framework                         for   web applications              that respects

           data    access      control         seems          like   a very interesting           future   direction      to help prevent             data   breaches

           One of the difficulties              of many data centric programming                           frameworks         is    that they can      become very
           difficult     for application             writers to        balance        the granularity of access           control      with programmability
           I   can     see    how       this    framework              might provide             a happy     medium           for    web based         applications

           According          to Mohits research                     statement    this     work    is   already   being adopted             in   industry          a clear

           sign that     it   addresses        an    industry visible            need

                  Finally the anomaly detection                            work as represented              for   instance         by his study of hardware
           based       malware detectors                  seems like a potentially impactful                      research         direction      one that will             be

           interesting        to follow as          it
                                                         develops

                  In   summary I think that UT Austin should promote Mohit Tiwari to the rank of Associate
           Professor     with Tenure He has chosen a challenging  but important area in which to focus his

           research secure systems design                             in   the face    of covert channels         and malicious observers                    He seems
           to have      the   skills     that   he needs to succeed                   at   building     systems across         many        levels     of abstraction

           from hardware digital                    circuits         and computer architecture               to operating           systems to compilers to

           application         frameworks                 He seems            comfortable         with tools of the           trade    such      as   cryptography
           information          theory and differential power analysis to name a few                                      I   would        say that he       is    a   well

           rounded researcher and would make a good longterm colleague for the Department                                                               of Electrical

           and Computer Engineering                           at   UT Austin

                  Please      feel   free to contact               me with any additional               questions    My contact            information            is   in   the

           header      of the   first    page of this letter




                                                                                                                                                         Sincerely




                                                                                                                                    Prof John Kubiatovvicz

                                                                                                                                     EECS UC at Berkeley
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From John Kubiatowicz <kubitroncsberkeleyedu>
Sent Monday August 20 2018 1203 AM
To Tewfik Ahmed H <tewfikaustinutexasedu>
Cc kubitroncsberkeleyedu         Erengil Jac     <jacerengilutexasedu>

Subject Re Faculty Promotion Letter Due UT Austin




Ok please see attached letter

Sorry again for the delay   I   apologize   if   it   is   a bit too short or not what you need




On 8162018 843 AM Tewfik Ahmed H wrote
That would be fute   Kubi Thank you


regards
Ahmed
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Professor John Kubiatowicz Biography

University          of California Berkeley



John Kubiatowicz      received a     double      BS in Electrical Engineering and Physics 1987 MS in Electrical
Engineering and Computer Science                 1993 and           a   PhD in Electrical   Engineering        and Computer Science

Minor in Physics 1998       all   from   MIT

He joined the faculty of EECS at UC Berkeley                   in   1998 Current research              includes exploring     the design of


extremely wide area storage          utilities    and developing             secure protocols          and   routing   infrastructures that


provide   privacy   security      and resistance to denial of service                  while   still   allowing   the caching   of data


anywhere anytime Also exploring                  the   space of Introspective             Computing namely systems which
perform continuous online adaptation                     Applications        include    on chip tolerance         of flaky   components      and

continuous    optimization to       adapt to server failures and denial of service attacks


Honors and awards include the Diane                S McEntyre Award for Excellence                      in   Teaching    2003 Scientific
American 50 2002 Mounds View High School                            Distinguished      Alumni Award 2001 Berkeley               IT   Award   for

Excellence   in   Undergraduate      CS Teaching          2000 Presidential             Early Career Award         for Scientists    and

Engineers    PECASE 2000 George             M Sprowls Award                  for best   PhD thesis in EECS at MIT 1998 IBM

Graduate Fellowship 1992           1994 and            Best   Paper       International     Conference on Supercomputing               1993


Research Areas


Computer     architecture

Quantum computer        design

Internet scale storage systems

Peerto peer networking
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                                                                                                                                                                                     BC
                            COLLEGE OF

                                                                                         ENGINEERING
                            UNIVERSITY         OF MICHIGAN




                                                                                                                                                                     August        1 2018


Ahmed Fewfik
Cockrell         Family Regents            Chair in Engineering

Chairman Department of Electrical                                    and Computer               Engineering
The University of Texas at Austin
2501 Speedway Ave
EER 2876
Austin TX 78712



Dear Prof Tewfik



It
      gives     me pleasure to write this letter of assessment                                    for the   appointment                of Prof Mohit Tiwari to the

                of Associate Professor with Tenure                               in   the       Department     of Electrical                and Computer             Engineering            at
position

The University of Texas at Austin                                I    am an avid follower of Prof Tiwaris research                                         but have      not

collaborated           with      him We          both      work          in   the area   of computer architecture and attend                                   many of the same
conferences               This   is    how I got to know                  his work       and have        followed           it   over the years                We were also both
part of the DARPA                     sponsored Center for Future Architectures                                CFAR from 20152017 thus                                   I
                                                                                                                                                                             got to see

him on a regular basis at our quarterly reviews



Before proceeding further                       let   me summarize my background                              and qualifications                    I   am a Professor in the
EECS Department                   at   the University                of Michigan            I   joined Michigan             in    2001      after       spending 6 years at

                                                                                                       got my PhD
Hewlett Packard                 Laboratories          as a Research              Scientist         I                             in   Electrical        Engineering          from the

University           of   Illinois     at Urbana Champaign                       in   1997        My   area   of research              is   computer           architecture        and

compilers with specialization                         in       low power computing application specific processors and                                                 reliability


where       I   have published            more than 200 conference and journal papers                                              lead the Compilers Creating

Custom          Processors research               group at Michigan                   with funding            from       ARM Samsung Intel nuawei DoE
DARPA            and the National              Science          Foundation            To date 27 PhD                 students           have graduate from my group

and are employed                 at    Intel   AMD Google Facebook Apple ARM Synopsys Indiana University and
Hanyang University


Overall Assessment                       Prof Tiwari             is   an excellent              researcher    in   the areas           of computer architecture                    and

software         systems He is best known                            for his     work       in   integrated    hardwaresoftware                         security    solutions        with

                                                                                 where he has become                 one of the most respected                         and a true
particular emphasis on side channel
                                                                     attacks

leader      in   the   area           His research             record     is    impressive         with a long       list        of top tier conference                publications

in    the area       of computer architecture and security                                  This includes Best Paper Awards                               at   ASPLOS         and

PACT          and two IEEE             MICRO Top Picks selections                                 Tiwari has a deep technical                       knowledge          in    the   fields


of hardware and software security combined with a creative mind that allows him to develop innovative

solutions        to challenging           research             problems           He is selfmotivated and takes                             a strong      initiative    to his


research teaching                 and service   am impressed by his abilities to innovate across the traditional
                                                           I



hardwaresoftware                  boundaries as well as develop industry relevant solutions that can have a real impact

on tomorrows                 products          He is a dedicated                 scholar        who is happy to talk                  technical         with almost anyone

from senior faculty to new graduate student                                       I   firmly believe that            Tiwari will              be a strong asset to the                ECE

Department             at   UT Austin for many years to come

Research             Contributions             and Impact                     Prof Tiwaris research                focuses            on building secure computer

                                                                                                                             of personal data                    a critical    problem
systems specifically hardwaresoftware                                         security solutions
                                                                                                                                                           is
                                                                                                            Security

that the computer                industry       and government                   agencies         are heavily       investing           in thus for a faculty                member          it




     Bob and Betty                                                                                                 734   7641688
                     Fieyster   Building 2260 Hayward           Street

     Ann Arbor Michigan      481092121                                                                          cseumichedu
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is   a great space to work                  Interestingly                though relatively few faculty                         in   the   computer architecture area

actually     work          on security which makes Prof Tiwari a valuable and highly sought after individual for his

unique expertise



Tiwari     is    best      known     for his work             on side channel                attacks       wherein         digital        information                is   unknowingly

leaked     through the hardware or operating system                                          One of his important                    insights       is       that the leaks              arise

when program execution                      varies         based on the content of the secret                            information               If     the      program execution

differences           could be masked              then       these         leaks     would disappear               His work on decoy execution

accomplishes               exactly   this   goal by creating                       decoy executions to hide the secret dependent                                             program
execution             On the surface           this    solution             makes      intuitive         sense but it          is   actually       very challenging                      to create

decoys that           do not cause program                    crashes           as the   program was designed to have specific data dependent
behavior          Tiwari and his collaborators                             developed an automatic methodology                                to systematically                     create

decoy paths            that are guaranteed                 to run        without      crash    and properly obfuscate the secret dependent

behavior          This work was published                           at   the 2015        and 2016         USENIX Security Symposia the top conference
in   security am impressed by                          this        work       because of both the difficulty                        of the problem solved as well as

the rigor and              completeness        of the solution                      Further     the solution         is   a software solution                         but requires


strong knowledge of the hardware to understand
                                               how the                                                    information           leaks       thus        it
                                                                                                                                                             truly        showcases

Tiwaris strengths in both software and hardware



More     recently           Tiwari began a thread of research                               that focuses         on a more data centric                            approach        to security

for web applications                     Rather than protecting                      data    by ensuring applications                     use the data                more properly his

approach         is   to protect the data              explicitly regardless                   of the usage by using                      strict    access           control        rules for

the   data       His approach             called       DATS              and published         at   the    ASPLOS              2018 conference                      takes a        users

access     control          policies     and translates them to information flow control on arbitrary web applications

Thus even             if   these   applications            are untrusted or have                been compromised they cannot leak data to an

unauthorized               user or unknown             server               The approach            is   elegant     timely highly practical and seems

                                                                                   just makes too much sense
destined to be              adopted by      the industry                 as   it                                                    This work showcases                            Tiwaris

inherent        ability      to identify       and solve some of the most critical                               research           problems                 It   also    demonstrates

that   he is a true innovator               who can               think       outside the traditional             box to solve some of the most critical

security        problems that we face



Teaching          Contributions                While          I    have never seen Prof Tiwari teach                                in   person his record at                      UT Austin
is   strong       Of particular           note    is   his        undergraduate embedded                        systems class              This      is      a     lab focused           class

with more than 300 students                       in    it    which           is   amazingly large              His ability to manage                         this   many      projects          and

               accessible and engaging to such a wide range of students is truly impressive     is evident
keep the class
                                                                                             It



that he cares deeply about the students and this comes across in his lectures and oneonone  interactions

He is also an excellent                  presenter who
                                                                         does a great job of combining                         principle         with        practice       so that the

                understand why they are learning something                                       and where                is    used in the         real           world      It    is   clear to
students                                                                                                            it



me that Tiwari is a strong asset to the department in teaching now and into the future


Service to the Broader                     Community                       Prof Tiwari also has an excellent service record                                               He regularly

                                   program committees for the top conferences                                                       computer architecture area
                                                                                                                          the
serves on technical
                                                                                                                    in


including         ASPLOS HPCA SCA and MICRO                                                 Iliad    the pleasure of serving                       on the          ASPLOS           2018

                                                                                            of his reviews each reflecting                                                  effort        and
program committee
                                     I   was     struck       by the strength                                                                       significant

careful      thought            His comments during the                            PC meeting were well articulated                           right          on target and

                                                                           of the broader research                                  also appreciated that                     while he had
substantiated              by his strong knowledge                                                                space         I



his own opinions                on papers he demonstrated respect                               of other opinions                 he did not agree and
                                                                                                                                    even    if


                                                                  of controversial                              would not hesitate to invite him to any a
engaged                                  discussions                                          papers        I
                in    thoughtful

                                                             chair as hard            working                       and well reasoned                             committee        members
           program committee
future                                         that    I                                             diligent



 Bob and                                                          Street                                           734   7641688
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 Ann Arbor Michigan          481092121                                                                            cseumichedu
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                       UNIVERSITY          OF MICHIGAN



are invaluable          and often hard to find              Overall Prof Tiwaris service roles provide excellent                     visibility   for

his research       program and he is on the right trajectory                    for his future      career




Final   Recommendation                      After careful evaluation         of Prof Tiwaris contributions             to   research teaching

and service        1   conclude that Prof Mohit Tiwari                 is   more than qualified        to     be promoted to the rank of

Associate Professor               with tenure        His research     success    is    evidenced     by a large set of publications        in   the

most respected              conferences      in   computer architecture        and security         He has an impressive funding           record

with a range of grants from NSF                      DARPA       and a long     list   of companies         Qualcomm Samsung            General

Dynamics Google Huawei Samsung and Lockheed                                     Martin       His early track record         in   both teaching and

external service             demonstrates a strong commitment to UT students and the broader community At my

institution Michigan               CSE  I believe that he is above the bar for tenure and we would be happy to hire

him     If there       is   any additional        information that     I   can provide on this case please do not hesitate to contact

me



Sincerely




Scott   Mahlke

Professor

Electrical                           and Computer           Science   Department
               Engineering

University of Michigan

Email mahlkeumichedu
Tel 734 9361602




                                                                                              734   7641668                                             Neeasecive
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Resent From <tevfikaustinutexasedu>

From Scott Ma hike <mahlkeumichedu>
Date August 2 2018 at 44609 AM GMT+2
To Tewfik Ahmed H <tewfikaustinutexasedu>
Cc Erengil Jac qacerengiOutexasedu>

Subject    Re Response      needed by Friday     68 would you be able to provide a letter of reference              in


support   of the   promotion    of Prof Tiwari   to associate        professor by July     27


Ahmed Jac


Please   find   attached   my Prof Tiwari   Sorry that   it   is   a few   days   late hopefully   not too   late




Regards

Scott
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Scott               Mahlke
Professor                      Associate                             Chair
Electrical                   Engineering                             and Computer Science                                       Department
University                   of Michigan




INTRODUCTION


Scott      Mahlke       is   a   Professor            in    the     Electrical     Engineering    and        Computer           Science    Department          at   the   University       of




Michigan                He       is             affiliated          with      the      Advanced               Computer             and      works         in        the         areas      of




Compilers       and Computer Architecture                               He joined      Michigan        in    2001    after receiving        his   PhD     from the            University   of




Illinois    and working              at   HP Laboratories




RESEARCH                             INTERESTS


                                                                       of compilers computer                                       and highlevel synthesis
My research         interests             lie    in   the areas                                               architecture                                                     Specifically




my    students          and      I    focus           on        designing    the    next    generation         computer           Systems     that    overcome            challenges       in




performance power consumption                                     and reliability




HONORS                           AWARDS

     Received       a    National          Science          Foundation       CAREER Award
                                                                  for his proposal entitled Compiler Directed Synthesis of
     Application         Specific         Processors              in 2003
                                                  NSF CAREER awards recognize and support the early career development
     activities     of those teacher scholars who are most likely to become the academic leaders of the 21st century


     Appointed          Morris       Wellman           Faculty        Development          Assistant        Professor      in   2004 The      professorship         is   to    be   awarded

                                      member               to    recognize   outstanding       contributions         to    teaching       and research
     to a   junior      faculty




     2006 ISCA Most Influential                                was awarded for the 1991 ISCA paper entitled IMPACT An Architectural
                                                       Paper Award
     Framework           for Multiple             Instruction   Processors This award recognizes the paper from the ISCA Proceedings
                                                                     Issue

     15 years       earlier that             has had the most impact on computer architecture


     Received       2007 Young                   Alumni         Award from the ECE Department                   at   the    University      of Illinois   at   Urbana Champaign
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                                                                                                                                                       Professor Onur Monti

                                                                                                                                                       Department         of Computer              Science

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August        18 2018




Dr Ahmed               Tewfik
Cockrell Family Regents                       Chair in Engineering

Chairman Department                       of Electrical           and       Computer Engineering


Dear Professor Tewfik


am writing               this    letter      in   response        to      your request         for   my assessment of Dr Mohit Tiwaris scholarly contributions                                             with

respect      to       his tenure       and advancement                 to   the   rank of Associate           Professor     at the   University of Texas at Austin



I    have    known Dr Tiwari Mohit                             for almost eight            years since         when he was a postdoctoral                  researcher          at   UC Berkeley              and
followed          his    research on          and        off since        when he was a PhD student before                       Although        I   never     worked          with      him       directly   on
research          I    interacted        with      on several             occasions       in    person   at   conferences      and various professional                   meetings             I    have     also

collaborated            briefly        with Mohit         to   present in a Special Session of the Design                       Automation Conference                     in   2016 entitled            Who
Is   Major Threat to Tomorrows Security You the Hardware Designer We presented on different topics myself on
      the

RowHammer Mohit on the side channel vulnerabilities and solutions and Wayne Burleson from AMD on hardware trojans
and        co wrote        an     invited          paper       for     the    session          httpsqjleopleinf ethzchiomutluipubhardwaresecwitythreatsinv                                                 ited

paper       dac16pdj              I    am also familiar with some of his works                            through      this brief collaboration           and various presentations of his
that   I    listened      to


Overall           Mohit has become an established researcher                                    in the critical     area   of hardware security His works are novel well done
                                      of important topics
cover a wide range                                                        systems and explore both new problems and new
                                                                       in    information security             in   hardware

solutions          He has distinguished                   himself as one             of the leading
                                                            young researchers in hardware security especially in the area of
side channel vulnerabilities and protection He has made strong scholarly contributions and he is poised to do even more I

therefore support                his    tenure      and promotion to Associate Professor


I   will    elaborate         briefly in the         rest of this letter           on Mohits contributions                 and qualifications           Due to extensive              time constraints

I   will    have to keep the              details short         and hit only the most important bits but I am happy                                  to talk   on the phone              as   needed


Mohit has made significant                         contributions            to the    discovery       of and protection        against information leakage issues in hardware                                  I
will       broadly        call        them    as     hardware             side channel          vulnerabilities            Hardware     side     channels           are   particularly              important

vulnerabilities            that       are fundamental             to   the design        of computing          systems as shared resources                 These      vulnerabilities               are likely

to   become more important going                           into      the future as the frontier of hard toprevent                     security       attacks   is
                                                                                                                                                                  pushed increasingly inside
the hardware             both processors and memory but also other hardware components of a computing                                                            system Mohit examined a
wide       variety of side     channels in hardware and a variety of lowoverhead solutions to them The channels he has investigated

include       those       in    the    memory controller                    eg     his    CCS 2013 and MICRO 2015 works                               in floating     point         computation            units


eg          his   USEN1X              Security      2016 paper               in   the very lowlevel            hardware    gates eg     MICRO 2009 ASPLOS 2009 and
                                                                                                                                               his

ISCA 2011 works which                         are part of his PhD thesis                   in generalized          shared resources eg his HPCA 2015 work on contention

based       side      channels and           their       general treatment               his   USEN1X         Security     2015 work     on Raccoon             his   ASPLOS 2015 work on
GhostRider               in    power consumption                  signals         eg      his   DATE 2018 work and in post quantum key exchange protocols                                                  eg
his    HOST           2018 work This        amount of high quality coverage in side channel vulnerabilities and solutions and
                                                    is   an extensive

I   believe such high quality coverage is Mohits hallmark and major contribution to the field




I   will    briefly      mention        Mohits contributions                   in memory controllers and general shared resources as side channels As far as                                                    I




know Mohit is one of the first                           researchers          who has examined highperformance design of memory controllers to mitigate the
side channel             security       vulnerabilities              on     the   memory bus His CCS 2013 work                        PHANTOM                  proposes        a    highperformance
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memory controller                    design       that       enables obliviousness                          in
                                                                                                                  memory access                 traces         of applications             It    co designs                   the     Oblivious

RAM ORAM algorithm together with the memory controller hardware to achieve and exploit high levels of bank parallelism
in    main memory which enables a much                                          faster   implementation                    of oblivious memory access                               traces       The mindset of this work
is   perhaps even             more important than                        its    specific       new contribution                       the   security           algorithmie the ORAM technique use                                                       to


prevent        side channels              by providing memory access                              trace            obliviousness               and       the   hardware ie the microarchitecture of                                                    the


memory controller                     should       be co designed                 to   provide          both high               security       and high performance As such I view                                              this       work as
an important contribution                         in   hardware              security     that    has influenced                      future    works The works impact                               is   also       clear          on     its
                                                                                                                                                                                                                                                  own
given       that   it   has received           a healthy            number of citations                      > 100 from highly visible papers                                     that built         on it       over           the   course of

only        five   years This             work is also              distinctive           since        it    is    likely       the    first
                                                                                                                                                practical            demonstration              of an          oblivious processor

implemented              on an FPGA


Mohit        further         improved        upon        this      work with a higher performance                                     memory controller design                           that    provides                find service                   to

different      threads that            are   sharing          it   and    that    provides        partitioning                  of banksranks             across threads                 His    MICRO 2015 work shows
that   a combination                 of carefully designed                      memory access                     shaping scheduling                      and partitioning mechanisms                                 employed                    in   the

memory controller can                        avoid       information leakage from                                 the    access       patterns       in    a shared            memory controller while providing
higher performance                    than     prior      secure          memory controller solution                              that      employs temporal partitioning I believe this work is
                                                                                in side channel                                                            and closes the gap a bit more between
important as it              pushes the stateoftheart                                                        free memory controller design

a secure       memory controller design and a highperformance one


I    also    quite      enjoyed        and learned from Mohits                                 HPCA 2015                   paper        which        provides             an     information theoretic                          treatment               of

generalized             microarchitectural                side channels                  the   first        such        treatment        that    I   know of This work shows                                   that      it    is    possible           to

achieve        high      amounts of information leakage through                                             microarchitectural                   side     channels          more so than thought was possible
before        Based on a rigorous                      analysis          of contention     and its observability by an attacker                                            Mohits work shows that contention
based       side channel             attacks       can       be detected            and prevented using introspection mechanisms                                                    in   hardware              that      are designed                   to

detect       anomalous             contention           This        is   a     relatively      generalpurpose                     mechanism               that is      promising           to    prevent             a        variety       of side

channel        attacks        that    occur due          to    contention           in   various            resources



                                                                                                side channel                                              and solutions Mohit has several
Apart from              his   leading        status       as a          researcher        in                                    vulnerabilities                                                                                      significant

contributions            of hardware security lam less familiar with these contributions but based on my quick reading they
                         to   the area

are in important areas and high quality works These attest to Mohits breadth as a leading researcher in hardware security



As a result of his high quality technical                                      contributions            and        the    wide        variety    of coverage he has in hardware security Mohit                                                          is


regarded as a leading                     hardware           security          researcher        in both           the    computer             architecture           and hardware               security            communities He

gets invited to program                    committees speaking engagements and consulting                                                        activities          in   cutting edge venues                        and issues               I   have

interacted         with him          in   numerous occasions                      in   such     invited            arrangements                All   my interactions                have        been very             positive                Mohit
has excellent            technical         rigor       and the          ability to clearly             and concisely                  communicate               ideas of his own                and others


I    must     also       mention           that    Mohit           is    quite      collaborative                   He     has        formed         continuing            collaborations                     with       complementary

researchers             from a variety             of institutions For example Mohit has collaborated                                                          with researchers                 in    compilers                     information

theory computer architecture                             and other areas of security I see this as a big positive especially because                                                                      I   strongly believe                        that

fundamental              solutions         to difficult            security       problems             require           collaboration           across domains                   in     computing              T also          think         this      is


how     strong research can                    be      done        in    an     era of increasingly                      difficult       problems              to    solve     in   computing                 systems               that    require

thinking across the layers



In    summary            I    think       highly       of    Dr Mohit Tiwaris                      research               and     credentials             as    a    junior professor                 He        is    a leading              junior

researcher         in    hardware security with a wide                              variety      of high quality and innovative                                     works especially             in hardware                    side channel

vulnerabilities              and     their   solutions His                   work      has already                had impact which                   I   believe          will    only continue                 to    grow due                   to    the


importance              and relevance and the immediate                                criticality               of hardware security                    I believe         Dr Mohit Tiwari is well qualified for

promotion           to    Associate          Professor             at    the University of Texas                           at    Austin        and therefore               support        his    tenure          and           promotion                to

Associate          Professor          without          any    reservation



Sincerely




Onur Mutlu
Full    Professor             ETH     Zurich

Adjunct Professor Carnegie                             Mellon University
onurmuthicinfethzch

httpsneopleinfethzchomutlu
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From Onur Mutlu <omutlugmailcom>
Sent Saturday August 18 2018 618 AM

To Erengil Jac <jacerengilutexasedu>
Cc Tewfik Ahmed H <tewfikaustinutexasedu>
Subject    Re UT Faculty Promotion Letter   Overdue



Dear Ahmed and Jac


I   attached   my letter for Mohit Tiwari

Thanks
Onur




Onur Mutlu
httppeopleintethzchomutlui
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Onur Mutlu
Adjunct Professor             Electrical      and Computer Engineering

Swiss Federal            Institute    of Technology       Zurich




Onur Mutlu        is   a Professor    of   Computer Science         at    ETH     Zurich       He is also a faculty member           at


Carnegie Mellon University                 where he previously held the William                  D and Nancy W Strecker
Early Career Professorship                 His current broader research interests                  are   in    computer architecture

systems and bioinformatics                  He is especially     interested        in   interactions     across domains        and

between     applications          system software       compilers and microarchitecture                         with   a major current

focus    on memory and storage systems A variety                      of    techniques         he along with his group and
collaborators          has invented    over the years have          influenced          industry   and have been employed                 in


commercial microprocessors                  and memorystorage systems He obtained                              his   PhD and MS in

ECE from the University              of Texas    at Austin   and BS degrees               in   Computer Engineering and

Psychology from the University of Michigan                     Ann Arbor His             industrial    experience        spans starting
the Computer Architecture              Group    at   Microsoft     Research        20062009              and various product and

research positions at         Intel   Corporation Advanced                Micro    Devices       VMware and Google              He

received    the inaugural IEEE             Computer Society Young             Computer          Architect       Award the inaugural
Intel   Early   Career Faculty Award faculty partnership awards from various companies                                        a healthy

number     of   best paper or Top           Pick paper recognitions               at various     computer systems and

architecture      venues      and the ACM Fellow recognition for contributions                            to   computer     architecture


research        especially   in   memory systems His computer                      architecture       course lectures and

materials are freely available on              YouTube       and    his   research group makes software artifacts

freely available        online
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           Cornell CI                                                               Andrew Myers
                                                                                    Professor


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                                                                               August     3 2018


 Dr Ahmed Tewfik
 Cockrell Family Regents Chair in Engineering

 Chairman Department                of Electrical   and Computer Engineering
                 of Texas at Austin
 University




 Dear Prof Tewfik


 I   am writing to evaluate Dr Mohit Tiwari for promotion and tenure

 I   have do not particularly know              Dr Tiwari personally but I have met him
 a   couple    of times in professional settings in            the past   couple    of years     I



 am however          quite    familiar with several         of his papers because        much of
 my own work has been concerned                   with computer security and in the past

 few years Ive been working on topics                 that overlap with his interests and

 past   work      In particular Ive been working on timing channels and se
 cure   hardware      two topics where Dr Tiwari has made significant contri
 butions       You   will    find links   to these    and    other papers   on     my personal
 website http        www cs cornell eduandru
 Dr Tiwari has made important contributions on multiple topics but espe
 cially   centered   on controlling        various side channels      within   hardware         As
                                               attacks have made exceedingly
 the recent  prominent SpectreMeltdown
 clear modern     hardware   is full of side channels that can be exploited by

 adversaries   to break the security of computing systems These side chan

 nels include      not only timing channels such as those exploited by Spectre

 but also side channels that arise from the ordering of accesses to memory
 Side channels       based on physical
                                  effects such as power consumption     elec

                        and           vibrations      also a concern in more
 tromagnetic radiation       acoustic             are

 specialized settings where the adversary
                                           has physical access but channels

 observable  from software alone are more important and these are what

 hes worked on

 In the   last   few years        Dr   Tiwari    and his colleagues   have been exploring

 methods       for building hardware            that does    not have timing channel          vul
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 nerabilities         In the past       few years there has been an exciting              line    of   re
 search that at the hardware               level applies ideas          about secure information

 flow that are borrowed from the software security world The key insight

 is   that while timing channels            cannot be controlled           adequately at the soft
 ware level timing channels                manifest at the hardware level as explicit in

 formation flows that can be controlled                  either at run       time or design time

 Dr Tiwari has been at the center of this work which started with the ini
 tial      work on gate level information flow tracking and has continued with
 his more recent      work on Caisson PLDI 2011 and Sapper ASPLOS 2013
 Ive been working              on   secure information flow at the language                level for

 some time but more                 recently   my own research     group in collaboration
 with that of Ed Suh has been doing                   work on statically controlling timing
 channels via hardware level information flow This effort has given me a

 fresh appreciation            for the creativity     and vision        of Dr Tiwaris   work With
 the growing          recognition of the danger and importance of timing channels

 we can expect his work              to have    a lasting   and recognized        impact on com

 puter security

 Dr Tiwari has also been doing important work on controlling                            side      chan
 nels that arise from the sequence                of memory accesses           performed by pro

 cessors       independent of the time           at   which   those accesses      occur    In many

 reasonable          threat   models adversaries can          learn      which memory accesses

 are being performed               eg   by creating contention for memory units          Obliv

 ious       RAM is a longstanding general solution but for many years                        it   came
 with horrendous performance overheads                        Remarkably with their award
 winning papers     PHANTOM and Ghostrider he and his colleagues
                              on
 have designed hardware level ORAM implementations that hugely lower

 the overheads          of    ORAM to the point where              it   becomes   a practical     tech

 nique This work strikes me as another home run for Dr
                                                       Tiwari


 Beyond        the    truly outstanding        results just described         Dr Tiwari has been
 quite productive             over the past few years publishing              multiple interesting

 and worthy papers per year in top venues across the research areas of
 both computer security and architecture As you will be aware the most

 prestigious publication             venues in these research areas are conferences                    Dr
 Tiwari has been steadily publishing in top tier conferences                         such as CCS

 USENIX         Security      MICRO HPCA and ASPLOS

 It   is   obvious from Dr Tiwaris extensive participation                   on program commit
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 tees for top           conferences      in both architecture      and   security that    hes highly

 respected         across multiple research            communities       He has been a program
 committee member for multiple top conferences per year year after year
 I
     respect the admirable              amount of service      that he has done for the       commu
 nity        and given           the high workload         that these conferences        generate    for

 program committee members Im amazed                              that he has had       time to do all

 the strong work that he has



 Clearly Dr Tiwari has built up a strong portfolio of original and significant

 research and             I   see no sign that he is slowing         down         His work   is   consis

 tently creative              and he is connecting      the security and hardware communi

 ties in    ways that are important for the intellectual                 health of these      commu
 nities    and that show he is a master of both domains

 I   would say that Dr Tiwari is probably                    the top faculty      member of his ap

 proximate academic age at the increasingly important hardwaresecurity

 boundary           I   dont know         the architecture     community as well as the secu
 rity     community and evaluating him purely as a security researcher is a
 little    unfair but I would say hes in the same equivalence class as or a little

 ahead of Deian                Stefan   UCSD who also does information flow security
 work but          at    the   OS and     language     level    Hes not as productive             as his

 sometime coauthor                    Elaine Shi     and Tom      Ristenpart Cornell but then

 few are       I    think       his   work   is   more interesting and       of   more lasting value
 than that of Alex Halderman                      Michigan

 In short      I   think       this   should be a clear case for promotion               Dr Tiwari     is



 doing creative               important solid       work   with   at least   a couple   of highly    im
 portant results already under his
                                   belt                    He has my strong and enthusiastic
                       and tenure
 support for promotion


                                                        Sincerely




                                                        Andrew Myers
                                                        Professor

                                                         Department of Computer Science
                                                         Cornell University
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                                                University




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Andrew Myers
Professor Department of Computer Science Cornell                                       University


Research         interests



           It   is   too hard to build trustworthy                     software      systems      I   aim for simple high

           level abstractions                that offer       programmers strong guarantees about cross
           cutting            concerns       security distribution extensibility persistence



Current Projects


         Familia and           Genus 00 languages            that    improve generic    programming and exception

         handling

         Fabric A language              and system for secure distributed computation                     sharing and storage

         SHErrLoc The Static Holistic                Error   Locator    identifies   the most   likely    locations    of   program
         errors      by analyzing        the entire program constraint graph

         SecVerilog a hardware                  description    language for controlling timing channels

         Jif    an extended           version   of Java   that enforces    security    and privacy       by controlling     information

         flow

         Civitas      A practical        secure remote voting system

         Polyglot         a   widely used extensible Java            compiler front end framework            for rapid


         experimentation              with   new language          extensions

         Editor      in   Chief      ACM Transactions        on Programming Languages and Systems                     TOPLAS


Selected recent                 publications



MixT a language               for   mixing consistency        in   geodistributed    transactions        PLDI18


Using information flow to enforce the consistency of atomic mixed consistency                                         transactions



Familia unifying interfaces type classes and family polymorphism 00PSLA17



A lot of polymorphism and extensibility in a lightweight                            package



Nonmalleable          information flow control               CCSI17


A type system enforcing                a dual hyperproperty that constrains the use of endorsement



SHErrLoc A static holistic error locator TOPLAS 2017


Using   Bayesian     principles       to accurately   localize errors reported        by type systems and program            analyses
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                                                                                                                                                                                        BC

Georgia                                                                                    ©
  Tech f Engiu wb3ng
                                    E75        School    of Electrical         and Computer              Engineering




                                                                                                                                                               Date         151 August 2018




  Dear Prof Tewfik



  It    is    my pleasure             to provide            an appraisal of the qualifications                                 of Professor Mohit Tiwari for promotion

  to    the rank of Tenured                        Associate Professor                        While we have not had an opportunity                                     to   collaborate         our

                 have         crossed           may      times                Program Committee                                            conferences               and
  paths                                                              in
                                                                                                                         meetings                                            recently      at    the

  ACACES summer school                                   in Italy      last
                                                                                   year where we                were both co instructors teaching                             our respective
  courses               Furthermore Mohit and                             I    were both part of the                           C FAR        Center for Future Architecture
  Research                   center       at   the University             of Michigan Although                             we were          in    different         teams     at   C FAR and
  our projects                 did        not    overlap        I    got       a    chance          to    see        Mohit and his students                        present    their   ongoing
  research              at    the center          meetings           Thus           I    am quite         familiar with              Mohits           research        and can provide an

  objective              assessment Mohit has driven                                     and published                seminal        work        in     secure      systems He has not
  only         developed              a   topnotch
                                     program that consistently publishes at flagship venues but also
                                                            research

  taken some of the work towards commercialization My specific comments in this letter will describe
  his research                contributions              and offer opinions on other aspects as requested



  Research                   Quality Mohit joined                      UT after doing highly impactful work                                            during his graduate             studies

  as     noted           by     the       doctoral        dissertation                  award and           an       impressive        publication                 record     at   graduation
  During his time as a tenure                               track professor                   Mohit has established                    his own identity                 distinct      from his

  graduate              advisor and continued to have an even more impressive research                                                                       record     After joining   UT
  he      has          published           a    dozen       conference                  papers       and       that      too    at   top    venues            in    architecture      HPCA
  ASPLOS                     MICRO              and      security         CCS and USENIX                                   His       work        is    considered           tour   de force       in


  building              systems that are                 resilient        to   digital        side channels                He    has also             made     important       contributions

  in    the area             of secure memory systems Mohit has made are important research contributions                                                                              in   other

  areas         such as Hardware Based         Malware Detectors and Data Containers for Web Applications                                                                              as   well

  however                I   will   limit       my detailed comments to only two areas


  Digital              Side    Channels             The     threat        of side channels                      is   a   big   concern           in    current      computing         systems
  where            both       trust   worthy and untrusted computations can run concurrently                                                                 Digital    side channels           can
  allow            the       untrusted           applications             to       infer      the    secret          information            of a        co running           application         by
  measuring information                             such     as execution                 time or time to access a particular                                                  location         The
                                                                                                                                                                memory
  recent           side channel                attacks      Spectre            and Meltdown                     that     affected      millions          of systems shows              that     the

  threat           of side channels                 is   real       and such             attacks         are only          going      to   become             more widespread              in   the

  future               Mohits         work         on GhostRider                   ASPLOS 2015                           and Racoon          USENIX                 2015 shows how                to


  make           secure         computation               resilient           to    side      channel          leaks       by ensuring                that    the   execution        time of a

  program               remains unaffected                   by the            secret         inputs       to the         program thus eliminating the timing side
  channel              leaks        Both of these contributions                            are very creative                 and original in nature                    as reflected        by the
  best        paper          award        at   ASPLOS 2015                     The       USENIX            2016          paper by Mollies group shows                          how    to    make
  Floating              Point       FP operations consume                                a constant            amount of time regardless of the inputs thereby

  making such                   operations            secure        against             timing       leaks           while     limiting      the        performance           impact of the
  solutions              by using clever approach                             of using empty               SIMD           slots      To his credit Mohit made                        these      key
  research              contributions             a few years ahead of time and the architecture community                                                             is   giving    a serious

  look        to    these security               problems only now                       in   2018        in
                                                                                                               response         to   the   SpectreMeltdown                    attacks




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Secure      Memory System Even                              if    the   computation              incurs        similar        number of operations on                             different

execution         paths           the    memory              addresses              used     by     a    secure            program         can        still    leak      information

Furthermore the memory controller policies can allow a malicious application to infer the behavior of
a    victim application                 by doing timing based                         attacks       at   the    memory system Mohit in collaboration
with    Rajeev         Balasubramonian                      has tackled          both of these problems with solutions that appeared                                                   at   top

architecture       venues To avoid information                                   leaks      at   the     memory             controller       their            MICRO 2015               paper
proposes         highly          effective        policies              that    rely       on      spatial       partitioning              and        avoids       the    significant

performance overheads                      of temporal partitioning                          This research                 contribution          is    very creative              in   that   it



       deep insights on organization and operation of memory system To avoid information leak on
exploits

memory bus Mohits solutions had relied on Obfuscated RAM                However ORAM incurs                                  ORAM
significant       performance              overheads To reduce                         these       overheads                their   recent       HPCA           2018     paper looks
at   implementing            ORAM          primitives within                    a Secure            DIMM                   These papers           show         that    Mohit has the

ability    to     do    creative          and     impactful              work         not    only on            secure        computation                but    also     make           solid

contributions          to   secure        memory systems And also                                 that    he has the           ability      to    collaborate            with outside

research     groups         to    develop       effective              solutions



Impact       of Research                  on Industry                   and      Academia                 Mohits            research        contributions                have          had     a

significant       impact on both                industry           and academia                   His work            on securing computation against                                  digital

side channels     and secure memory system are important contributions that are likely to receive a lot of

citations    and follow on research In fact in my own research group my students who are working on

secure     memory            have        read     Mohits                MICRO         2015        and     HPCA             2018     papers        and regard them as the
stateoftheart               for    their   own research                  studies           Mohit        deserves           credit    for leadership               in   this       area      and

making research              contributions              well before the                    surge    of interest that we see                      in    secure      systems due to
the   SpectreMeltdown                    scare      What           I    find    impressive              about    Mohit         is   that    he takes           the extra effort to

make      industrial         impact        based            on     his    research          work          For example                commercializing                    his       graduate

research        Tortuga           Logic           or    technology              transfer         of his Hardware Based                           Malware              Detector          work

 from UT to Qualcomm team or doing an NSF I Corps with his recent work on Data Containers
for Web Applications Thus Mohits work is not only having a significant impact on the research
work of other academics                    but it       is       also having         an influence on the solutions being used by industry



Quality      of Funding                  Mohit has been                   exceptional              at    getting           funding    for    his        research         from highly

respected        and competitive                venues             He won the NSF CAREER award                                       the    Google Faculty award                            and
the   Qualcomm award                     all   of which are highly competitive                                  in    nature        Furthermore he was invited

                                                                                                                                                                                            C
                                                                                                                                                                                              to

theC FAR center midway during the center primarily because of his impressive research record
FAR had about 20 faculty members who are considered leaders in the field so getting invited to this
group of researchers                    shows      the respect             for       Mohits         research           in    the    wider     architecture             community
Mohit has          also      received           funding            from        the    DARPA              SSITH program                     indicating           the    relevance              of

Mohits       research            to defense         programs Overall                        Mohit has                a great       balance       of funding             from federal

contracts        and industry amassing an impressive 5 million dollars with                                                          36 million dollars for his part
within the        short period             as     an assistant             professor             This     amount of funds                   from highly respected                           and

competitive        funding          sources        is   again a testament to high quality                                  and impact of Mohits research                               work


Service     and Visibility                 When         I    was forming my program committee for the                                             MICRO 2015                  I    made       it



a point     to   invite      Mohit on the committee                            for his expertise                It    is   clear from his service                     record       that     the

broader         research          community                 highly        values           Mohits          abilities          and     opinion                   simply        note          his

membership             on the top          tier    conferences                 in    the    computer architecture                          ISCA 2 times MICRO 2
times ASPLOS       3 times HPCA 2 times and security CCS 4 times Oakland 2 times and
HOST       3 times Mohit has served on the program committees 24 times for each of these top tier
conferences which                  is   truly impressive especially                          given       that    he is only an assistant                       professor          I    do not

know of anyone               who has more top tier program committee membership at this                                                                   stage    of their career



                                                                                                                                                                                               2
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Future Potential                     In just     56 years Mohit has already established himself as a leader in his research
area He has been consistently publishing                                   high impact research                  at    flagship     venues         He    has a thriving

research group and has a very impressive funding record His research is having significant impact
both in academia  and industry He is getting invited to positions of prominence   such as program
committees of top tier conferences and research centers Mohit is a rising star and I have no doubt
that     he will soar         to    new heights and become                    a leader in the            wider architecture community



Comparison with Cohorts                                 Over the       last    few decades               there   have been          a   few inflection           points       in


computer architecture                     I   believe right now            computer systems are                   at    an inflection        point    with respect to

security          Researchers            like Mohit         who can understand                  both     security      and computer architecture stand                        to

make        strong       and       long       lasting    impact      by defining               the     primitives for        secure        architecture          of future

computing systems                    I   would       rank Mohits           security        work        as excellent      and on par with             that    of the work
of Edward Suh Cornell Taesoo                                Kim Georgia Tech and Todd Austin Michigan


In summary              Mohits           seminal contributions                to    secure        computer systems have had identifiable                              impact

on     industry         and       academic                           His      research                timely                                 well                        and
                                                     thinking                                   is               technologically                      grounded
                       have influence on
promises          to                                     the design        of secure computing                   systems of the future In                    my opinion
                                  would clearly earn him tenure
his    strong record                                                                      at   a top ten university                Mohit has        my unqualified
and strongest recommendation                                for promotion            to    Tenured        Associate Professor



Please      do not hesitate              to   contact     me if you have any questions




Sincerely




Moinuddin              K Qureshi
Professor of Electrical                   and Computer Engineering

Georgia       Institute           of Technology

Email moindieceeatechedu

Homepage httnmoincccgatechedui




Brief Bin of the         Letter      Writer Moinuddin                                                 of Electrical    and Computer
                                                                  Qureshi     is   a Professor                                            Engineering        at the   Georgia
Institute    of Technology           His      research   interests   include       computer       architecture        memory systems and quantum computing
Previously        he    was   a    research     staff   member 20072011              at    IBM       TJ Watson Research            Center where         he   developed       the

caching     algorithms for Power              7 processors     He holds more         than two dozen          US patents and has 40+ publications                 in flagship

architecture      conferences        His publications        have    received      more    than      7000 citations    including    the   unique   distinction    of having

four lead author         papers with          more   than   500   citations    each       He is a member of the           Hall     of Fame   for ISCA MICRO and
HPCA He was             the   Program      Chair of     MICRO 2015 and Selection                  Committee      Co Chair of Top Picks         2017 He is a recipient
of the    Intel
                  Faculty     Award      2012 NetApp    2012 and two awards and two honorable mentions
                                                               Faculty     Fellowship                                                                                   at   the

IEEE     MICRO Top Pick He received his PhD 2007 and MS 2003 from the University of Texas at Austin
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                                              UNIVERSITY OF ILLINOIS
                                               AT URBANACHAMPAIGN


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                                                                                              Josep

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                                                                                              torrella§illinoisedu

  August 9th 2018


  Prof Ahmed Tewfik

  Chair Department of Electrical and Computer Engineering
  School        of Electrical and Computer Engineering

  University          of Texas          at Austin




  Dear Prof Tewfik


  This       letter   is    in response       to your request            to    evaluate       Prof Mohit Tiwari who is being considered
                                  Associate Professor with tenure                                      Department of Electrical            and Computer
  for   promotion            to                                                             at the

  Engineering at the University                       of Texas      at Austin           I   know Prof           Tiwari since about         2010 when he
  was a graduate                 student     at   UC Santa Barbara with                      author award papers on security I have
                                                                                             first


  broadly        followed             his   work since then              I    have     seen him in professional conferences program

  committees                and       funding       meetings        I        have     read       some     of    his   papers      and     seen     him      give

  presentations


  Prof        Tiwari        is   one of       the   recognized           top       leaders       of his generation         in    the   area of computer

  architectures             for trustworthy         computing            His work           is   rigorous impactful and                significant     He has
  a track record of contributions                        that result in award                                                               and computer
                                                                                            papers in computer architecture

  security        His technical              assessments         and opinions               are typically          insightful    and balanced         He has
  significant              stature      in    the    academic            research           community              industry      and     federal      funding

  organizations               For these reasons              I   would strongly support giving                         him an Associate Professor

  position in my department at the University                                     of Illinois


  Since       arriving at             UT Austin       Prof Tiwaris research has blossomed                                 He     has produced         a large

  number of publications                     in the most competitive                  venues in our field which include conferences                             in

  computer            architecture           such   as    HPCA ASPLOS and MICRO                                     and   in    security   such as         CCS
  These conferences                   have acceptance            rates       of   1520 and their papers have high visibility                           among
  the   researchers              in   the community Moreover                         he has          received    multiple Award           Papers     in    these

  conferences which shows that his work is first                                     class



      will    mention one of his works to illustrate the novelty and                                       potential      impact of his      work          In his

  MICRO           2016 paper he analyzed                     how to design              effective        Hardware Malware Detectors                   HMD
  for   mobile systems                  HMDs        are   hardware           accelerators         based on machine learning classifiers that

  detect       when the software running on                       the    system has the characteristics                   of malware        eg unusual
  indirect       jumps or              repeated      calls   to    websites             To       design    better     HMDs        Prof Tiwari looked

  deeply into malware computation                           and developed a taxonomy of malware With his insights he

  developed           a tool that synthesized              malware to specifically find the breaking points of HMDs
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He then        developed            a    new     metric for quantifying                   HMD performance                       It    is    a metric that            tells   an

analyst       the    root cause           behind            a    malware        alert   as well as when                 the    HMD           fails       Further Prof
Tiwari        used        this    knowledge                and designed            better      HMDs            than    prior       work         His      tool       provides

insights       to    analysts       to   develop            better       ways     to extract     program features                    to    train   HMDs             Overall

       paper provides a lot of insights and help His tool was released                                                                       use
his                                                                                                                     for public




This       work was published                        in    the    International         Symposium on Microarchitecture                                    MICRO in
2016        MICRO          is    one of the very top venues                       in
                                                                                       computer architecture                   Papers         in such      forum have
a    lot   of visibility          The work was well received                             Further           I   understand            that   the    ideas    have been

transferred to researchers                      in    Qualcomm and that this work was the basis of a Qualcomm Faculty
Award that Prof Tiwari received


Prof Tiwari              will    continue       to do           well He has sensible and ambitious research plans They involve
                                  of the
a holistic          rethink                     field       of computer            security          and include          contributing              to    cutting      edge
topics       such as decoy paths and malware detectors                                         He will continue               to     publish in visible venues
and collaborate with industry



Prof Tiwari has                 visibility      that       is   much      higher than his level as Assistant Professor                                   He has served
in    the
             program committees of many top conferences                                          in       computer architecture                    and security              He
has        been     an     invited       speaker            at     multiple       venues        such           as    university           departments               research

organization of companies                            and by invitation             workshops              Further he has been associate                             editor   of

an    ACM journal and guest editor of a popular IEEE magazine

The        result   of all       this research             work and         service      is   that       Prof Tiwari is highly appreciated                             in the


community He                     has     received               many awards             including          the       Google          Qualcomm              and        Career

awards These               are outstanding                 accomplishments


Prof Tiwari has                  been able to raise an                    extraordinary         amount of research funds He has received

many grants                from the             federal           government            NSF DARPA                       and        industry         Google             SRC
Lockheed Martin Huawei                               Samsung Qualcomm                         and General            Dynamics               This    is
                                                                                                                                                         very unusual
and shows           his fine technical                and also          selling abilities



He has many PhD                     students              and already has graduated                       one He has a vibrant                       active         research

group I expect              that    he will continue                    to make    strong contributions                in the      years to        come


Overall           Prof       Tiwari        is    very            influential      in    the    area        of trustworthy                 and      secure       computer
architecture          thanks        to his      many contributions                     Given    that       the      general   area of security              is      and will

become         the    hottest       research              area of the next decade                    I   think      his future        looks       bright        I   strongly

recommend him for the promotion                                    to   Associate       Professor



Sincerely




           OSEP            TiNeJAS




                                                                                Page2 of 3
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Josep Torrellas
Saburo Muroga Professor of Computer Science

University    of Illinois     at Urbana     Champaign




SHORT BIO


Josep Torrellas        httpiacomacsuiucedujoseptorrellashtml                             is   the    Saburo     Muroga       Professor

of Computer Science           at   the    University     of Illinois    at   Urbana Champaign             UIUC         where    he has

been since 1992         He is Fellow       of IEEE     ACM       and AAAS He received                 the   2015 IEEE Computer

Society Technical         Achievement Award and                the     2017 UIUC Award              for   Excellence    in   Graduate

Student     Mentoring         He    has     been   the    Chair of       IEEE       Technical       Committee          on    Computer
Architecture        TCCA from 2005 to 2010 Prior to being at Illinois                                Torrellas    received      a PhD
from Stanford University


Torrellas         research   interests     are   computer      architectures         technologies         and   organizations        for

shared memory multiprocessors                    He has published many works in top conferences                         and journals

and received        over 10 Best Paper        Awards He has graduated                36 PhDs of which 13               are faculty   at

leading     universities       including      Cornell Washington                Georgia       Tech        and   USC     At     Illinois

Torrellas    is   the Director     of the Center for Programmable Extreme Scale Computing and was the

Director    of the     Illinois   Intel   Parallelism      Center       He is   a   member of the Computing                  Research

Association        CRA       Board of Directors and has served as a Council Member of its                                   Computing
Community Consortium               CCC




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From TorreIlas Josep        <torrellaPillinoisedu>

Sent Wednesday        August 15 2018 1000 AM
To Erengil Jac <jacerengilPutexasedu>
Cc Tewfik Ahmed H <tewfikaustinutexasedu>                    Josep TorreIlas <torreliacsuiucedu>

Subject    RE Promotion Materials Tiwari



Dear Jac    Ahmed

Here is the letter   It   was an easy one     Best regards



Josep



Josep Torrellas
Saburo Muroga Professor of Computer Science

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